      Case: 22-1864   Document: 80   Page: 1   Date Filed: 11/22/2022




                             No. 22-1864
                                 In the


United States Court of Appeals
                  For the Third Circuit
                           _______________

               Consumer Financial Protection Bureau,
                                         Plaintiff-Appellee,
                                v.

        National Collegiate Master Student Loan Trust, et al.,
                                           Defendants-Appellants.
                           _______________

           On Appeal from the United States District Court
          for the District of Delaware, Case No. 1:17-cv-1323
                      Honorable Stephanos Bibas
                             _______________

   JOINT APPENDIX – VOLUME III (pp. 475-573) (SEALED)
                    _______________

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Case: 22-1864   Document: 80   Page: 2   Date Filed: 11/22/2022




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          Case: 22-1864       Document: 80       Page: 3      Date Filed: 11/22/2022




                               TABLE OF CONTENTS
                                                                                           Page
Volume I (pp. 1-25)
Memorandum Opinion Denying Motion to Dismiss Amended
   Complaint (Dec. 13, 2021) (Doc. 380) .............................................. 1

Memorandum Opinion Certifying Questions for Interlocutory
   Appeal (Feb. 11, 2022) (Doc. 397) .................................................. 11

Order Certifying Questions for Interlocutory Appeal
     (Feb. 11, 2022) (Doc. 398) ............................................................... 20

Third Circuit Order Granting Petition for Permission to
     Appeal Under 28 U.S.C. § 1292(b)
     (Apr. 29, 2022) (Doc. 401) ............................................................... 21

Notice of Appeal (Apr. 29, 2022) (Doc. 402) ............................................ 24


Volume II (pp. 26-474)
District Court Docket Report, No. 1:17-cv-1323 .................................... 26

Complaint (Sept. 18, 2017) (Doc. 1) ........................................................ 77

Exhibits to Declaration re: Motion to Intervene filed by GSS
     Data Services, Inc. (Sept. 26, 2017) (Doc. 13)

       Exhibit A – Trust Agreement (Doc. 13-1)...................................... 93

       Exhibit B – Administration Agreement (Doc. 13-2) ................... 147

Order Granting Movants’ Motions to Intervene
     (Oct. 19, 2018) (Doc. 96) ............................................................... 163

Exhibit to Declaration in Support of Intervenors’ Consolidated
     Answering Brief to CFPB’s Motion to Approve Proposed
     Consent Judgment (Mar. 19, 2020) (Doc. 239)

       Exhibit 3 – Indenture (Doc. 239-1) .............................................. 164




                                                i
         Case: 22-1864       Document: 80       Page: 4      Date Filed: 11/22/2022




Memorandum Opinion Denying CFPB’s Motion to Approve
   Proposed Consent Judgment (May 31, 2020) (Doc. 272) ............ 303

Notice of Ratification filed by CFPB (July 17, 2020) (Doc. 308).......... 318

Exhibit to Declaration re: Opening Brief in Support of Motion
     to Dismiss filed by Ambac Assurance Corporation
     (July 17, 2020) (Doc. 310)

      Exhibit 1 – Special Servicing Agreement (Doc. 310-1) ............... 321

Opposition to Intervenors’ First Motions to Dismiss filed by CFPB
    (Aug. 17, 2020) (Doc. 320)

      Selected Excerpts, pp. i, 5-12 ....................................................... 356

Memorandum Opinion Denying Intervenors’ First Motions to
   Dismiss (Mar. 26, 2021) (Doc. 359) .............................................. 365

Order re: Memorandum Opinion Denying Intervenors’ First
     Motions to Dismiss (Mar. 26, 2021) (Doc. 360) ........................... 380

First Amended Complaint (Apr. 30, 2021) (Doc. 362).......................... 381

Opposition to Motion to Dismiss Amended Complaint filed by
    CFPB (June 11, 2021) (Doc. 368)

      Selected Excerpts, pp. i, 2-10 ....................................................... 403

Notice of Supplemental Authority filed by CFPB re: Collins v.
     Yellen (U.S.) (June 30, 2021) (Doc. 371)

      Selected Excerpts, pp. 1-3 ............................................................ 413

Response to Notice of Supplemental Authority filed by Ambac
     Assurance Corporation (July 1, 2021) (Doc. 372) ....................... 416

Second Notice of Supplemental Authority filed by CFPB
     (July 14, 2021) (Doc. 373)

      Selected Excerpts, pp. 1-3 ............................................................ 418



                                               ii
         Case: 22-1864        Document: 80       Page: 5      Date Filed: 11/22/2022




Response to Second Notice of Supplemental Authority filed by
     Ambac Assurance Corporation (July 15, 2021) (Doc. 374) ......... 421

Supplemental Letter Brief re: Oct. 13, 2021 Oral Order filed by
     CFPB (Oct. 27, 2021) (Doc. 377) .................................................. 423

Supplemental Letter Brief re: Oct. 13, 2021 Oral Order filed by
     Movants (Oct. 27, 2021) (Doc. 378) .............................................. 434

Petition for Permission to Appeal Under 28 U.S.C. § 1292(b),
      No. 22-8010 (filed Feb. 21, 2022) ................................................. 444


Volume III (pp. 475-573) – SEALED
Exhibit to Sealed Declaration re: Opening Brief in Support of
     Motion to Dismiss filed by Ambac Assurance
     Corporation (July 10, 2020) (Doc. 302)

       Exhibit 2 – Default Prevention and Collection Services
       Agreement (Doc. 302-2) ................................................................ 475




                                               iii
Case: 22-1864   Document: 80   Page: 6   Date Filed: 11/22/2022




          EXHIBIT 2




                         JA475
           Case: 22-1864        Document: 80          Page: 7          Date Filed: 11/22/2022



                                                                                  Execution Version



           DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT


         This Default Prevention and Collection Services Agreement (hereinafter "Agreement") is
entered into by and between First Marblehead Education Resources, Inc. ("FMER"), a Delaware
corporation with a principal place of business at 800 Boylston St., 34± Floor, Boston, MA 02199
(together with its successors and assigns, the "Special Servicer") and NCO Financial Systems,
Inc., a corporation organized under the laws of the Commonwealth of Pennsylvania having a
place of business at 507 Prudential Road, Horsham, PA 19044 (together with its successors and
assigns, "NCO"). This Agreement is executed as of March 1, 2009.
        WHEREAS, FMER as the initial Special Servicer currently provides administration
services to certain Delaware statutory trusts (the "Trusts") consisting of alternative student loans
("ASLs"), including the provision of default prevention and collection management services
pursuant to that certain Special Servicing Agreement entered into by and among FMER as
Special Servicer, U.S. Bank National Association ("U.S. Bank"), as the Back-Up Special
Servicer (in such capacity, the "Back-Up Special Servicer") and the Trusts party thereto and
dated as of March I, 2009 (the "Special Servicing Agreement");
        WHEREAS, NCO provides default prevention and collections services (the "Services")
to financial institutions;
        WHEREAS, the initial Special Servicer desires to arrange for the outsourcing of certain
default prevention and collections activities to NCO as hereinafter provided in the event that the
Back-Up Special Servicer becomes the Special Servicer under the Special Servicing Agreement
pursuant to Section 8 of the Special Servicing Agreement; and


         WHEREAS, NCO is willing to provide certain default prevention and collection
activities as herein provided in the event that the Back-Up Special Servicer becomes the Special
Servicer.
        NOW THEREFORE, in consideration of these presents and the covenants contained
herein the parties hereto hereby agree as follows:
                                    ARTICLE I DEFINITIONS
           1.1    Definitions
       "ASL" means an education-purpose loan made by a lender pursuant to the Program
Guidelines and now or formerly guaranteed by The Education Resources Institute, Inc.
("TERI"), and such other education loans as the parties may agree to in writing in the future.
           "ASL Lender" means the party that originally funded an ASL purchased by a Trust.
           "Attempt" means a left message for the borrower or, if applicable, and cosigner of ASL.
           "Borrower Data" has the meaning set forth in Section 7.1.
           "Claims Package" has the meaning set forth in Section 2.3.
           "Confidential Information" has the meaning set forth in Section 7.1.
           "Contact" means a telephonic discussion with the borrower and/or cosigner(s) of an ASL.



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                                              JA476
         Case: 22-1864            Document: 80          Page: 8        Date Filed: 11/22/2022




             "Dedicated Staff' has the meaning set forth in Section 2.10(b).
             "Default Collection Reports" means the reports set forth on Exhibit E attached hereto.
       "Default Collection Services" means NCO performed default collection services as set
forth on Exhibit D attached hereto, and oversight of Default Collectors under Default Collection
Agreement(s).
             "Default Prevention Reports" means the reports set forth on Exhibit C attached hereto.
       "Default Prevention Services" means the services described in Section 2.2 and Exhibit B
attached hereto.
       "Early Awareness Services" means the services described in Section 2.9 and Exhibit G
attached hereto.
        "Governmental Authority" means the federal government of the United States, any state
government, or any political subdivision of either, or any agency, court or body of the federal
government of the United States, of any state, or of any other political subdivision of either,
exercising executive, legislative, judicial, regulatory or administrative functions.
             "Guaranty Agreement" means the document by that name between each ASL Lender and
TERI.
      "Program Guidelines" means the document by that name included as a part of the
Guaranty Agreement.
        "Requirements of Law" means, with respect to any person, any certificate of
incorporation, articles of association and, as applicable, by-laws or other organizational or
governing documents of such person, and any law, ordinance, statute, rule, regulation, judgment,
order, decree, injunction, permit, issuance or other determination, finding, guidance or
recommendation of any Governmental Authority or final and binding determination of any
arbitrator applicable to or binding upon such person or to which such person is subject, whether
federal, state, county or local (including, if applicable, usury laws, the federal Truth-In-Lending
Act, the federal Fair Debt Collection Practices Act, the federal Equal Credit Opportunity Act, the
federal Fair Credit Reporting Act, the Gramm-Leach-Bliley Act, the Telephone Consumer
Protection Act, the Telemarketing and Consumer Fraud and Abuse Prevention Act, regulations
of the Board of Governors of the Federal Reserve System, and regulations of the Office of
Foreign Assets Control, each as amended from time to time).
        "Servicers" means the Pennsylvania Higher Education Association Agency, d/b/a
American Education Services; Nelnet, Inc., Edfinancial Services, LLC; ACS Education Services,
Inc., Chase Student Loan Servicing LLC (flea CFS SunTech Servicing LLC); and Great Lakes
Higher Education Servicing Corporation.
      "Services" means Default Collection Services, Default Prevention Services, Early
Awareness Services and Fraud Claims Review.
      "Servicing Guidelines" means the document by that name included as part of the
Guaranty Agreement.
       "Subservicers" means Special Servicer approved subservicers retained by NCO in
conformity with the requirements of Section 2.12 of this Agreement to perform part of the
Services.




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                                                JA477
         Case: 22-1864       Document: 80            Page: 9       Date Filed: 11/22/2022




                                   ARTICLE II - SERVICES
        2.1     Services Generally. Special Servicer hereby retains NCO to perform the Services
set forth herein in the event that, and only in the event that, Special Servicer (including for the
avoidance of doubt, U.S. Bank in its capacity as successor Special Servicer) notifies NCO in
writing that the Back-Up Special Servicer has assumed the duties of the Special Servicer
pursuant to Section 8 of the Special Servicing Agreement. The parties acknowledge and agree
that the foregoing reference to the Special Servicing Agreement is intended only as a reference to
the conditions under which performance of the Services under this Agreement will begin; it is
does not and shall not create duties or obligations for NCO under the Special Servicing
Agreement. The parties further agree that upon U.S. Bank assuming the duties of Special
Servicer under the Servicing Agreement, all references to "Special Servicer" in this Agreement
shall, unless otherwise provided or the context otherwise requires, be deemed to refer to U.S.
Bank acting in such capacity. The date of the beginning of the performance of services by NCO
referenced in the foregoing sentence shall be the "Effective Date" for purposes of this Agreement
(it being acknowledged that NCO shall commence performance of the Services set forth herein
immediately upon being notified of the assumption by the Back-Up Special Servicer of the duties
of the Special Servicer under the Special Servicing Agreement or such later date (if any) as shall
be specified in such written notice). In order for NCO to carry out its duties under this
Agreement with respect to the Services, as of the Effective Date, the initial Special Servicer shall
cause the Servicers to provide to NCO (a) consumer file data in the manner and form described
in Exhibit A (as amended from time to time by Special Servicer), and (b) view-only access to
borrower ASL accounts on the Servicers' systems. NCO shall use such data for the purposes of
performing the Services, risk modeling, providing reports as set forth in this Agreement,
forecasting and billing.
        2.2    Default Prevention Services. NCO shall perform Default Prevention Services in
conformity with those Default Prevention Services set forth in Exhibit B attached hereto. NCO
shall provide Dedicated Staff to make outbound calls related to accounts thirty (30) days or
greater past due referred by Special Servicer and receive inbound calls resulting from NCO's
efforts. NCO will also draft and mail letters and conduct other activities reasonably calculated to
perform the Services.
              (a)     NCO shall provide reports to Special Servicer with respect to the results of
Default Prevention Services performed by NCO with the frequency and having the content
described in Exhibit C ("Default Prevention Reports").
                (b)    NCO shall perform Default Prevention Services in order to maximize
"cures" of delinquent loans. "Cures" include: (i) incenting ASL borrowers who are thirty (30)
days past due but less than one hundred and eighty (180) days past due to become less than thirty
(30) days past due, and (ii) incenting borrowers who are one hundred and eighty (180) days past
due with respect to whom the appropriate Servicer has not yet submitted a Claims Package to
become less than thirty (30) days past due.
        2.3     Default Collection Services. NCO shall perform Default Collection Services in
conformity with those Default Collection Services set forth herein and in Exhibit D attached
hereto. NCO shall use Dedicated Staff to perform Default Collection Services. Special Servicer
shall cause the Servicers to provide to NCO all documents and information specified in the




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                                           JA478
         Case: 22-1864       Document: 80            Page: 10       Date Filed: 11/22/2022




Servicing Guidelines to make a claim under the Guaranty to TERI, other than: (i) original notes
and (ii) a loan assignment to TERI (the "Claims Package").
                 (a)   Generally.
                       (i)    Special Servicer shall review the Claims Package for conformity to
the Servicing Guidelines and Program Guidelines. Special Servicer shall return the Claims
Package to the Servicers for further collection efforts and/or cure by the Servicers as provided in
the Servicing Guidelines and Special Servicer's servicing agreement if it detects Servicer error as
prescribed in the Servicing Guidelines.
                      (ii)     NCO shall reconcile all cash collections with its reported results of
operations and transmit all cash receipts (net of the fees set forth on Exhibit H) weekly to Special
Servicer. NCO shall provide the Default Collection Reports set forth in Exhibit E. NCO shall
assign defaulted ASLs as needed to optimize collection.
                        (iii) From time to time Special Servicer may instruct NCO with respect
to collection costs, default interest rates and other adjustments to be made to account balances
submitted pursuant to Special Servicer's direction by Servicers to NCO with a Claims Package
("Default Charges"). Special Servicer represents and warrants that all such Default Charges
shall conform to all Requirements of Law. Any breach of the foregoing representation shall be
subject of indemnification by Special Servicer under Section 8. NCO shall have no
responsibility to attempt to collect any Default Charges, whether or not authorized by the ASL
documents, except as instructed by Special Servicer.
                 (b)   Collection and Credit Reporting Services.
                       (i)      NCO will use all reasonable and lawful efforts to collect the full
amount due on all accounts placed with it by Special Servicer for collection. Special Servicer
may place with NCO various First, Second and Third Placements, as defined in Exhibit D
attached hereto and incorporated herein. The full amount due on each account will consist of
principal; accrued interest; late fees, if any; and any collection costs and attorneys' fees awarded
by a court of competent jurisdiction pursuant to a final judgment and recoverable under the terms
of the loan agreement, as well as extrajudicial collection costs recoverable under applicable law.
NCO will keep full and accurate records of all borrower Contacts and other collection activity.
NCO may negotiate and revise any borrower's repayment schedule in any manner approved in
writing by an authorized representative or agent of Special Servicer. NCO may not reduce the
amount due on any account, or otherwise decrease the borrower's aggregate obligation on the
account, without specific prior written consent of an authorized representative or agent of Special
Servicer, except as expressly set forth in this Agreement.
                        (ii)   NCO will report the status of each post-default account whenever
placed to the three national credit reporting agencies currently known as Equifax, TransUnion
and Experian (f/k/a TRW), subject to the provisions of Article V. Reporting the status of an
account shall include reporting the status with respect to all co-debtors.
                       (iii) Special Servicer reserves the right to restrict or otherwise limit at
any time, from time to time, the manner or means to be used by NCO in collecting any account,
which restrictions may be communicated to NCO by Special Servicer orally or in writing, at
Special Servicer's sole discretion.




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                                            JA479
       Case: 22-1864        Document: 80             Page: 11       Date Filed: 11/22/2022




                 (c)     Source and Timi g of Fee Payments. Notwithstanding the fee provisions
set forth in Article III, fees due NCO for Default Collection Services, including costs and
expenses related to litigation, will be paid on a loan-by-loan basis out of funds held in the
Account (as defined in Section 2.6). Fees will be billed weekly and NCO may withdraw billed
fees from the Account at such time (i.e., weekly) as it forwards the Account balances to Special
Servicer.
        2.4     Litigation Management. As part of the Default Collection Services, NCO shall
administer collection litigation as described in this section and in Exhibit D attached hereto.
Special Servicer may also from time to time designate loans as to which assessment and recovery
of collection costs from the borrower in an extrajudicial context are allowed by applicable law,
by way of contract or otherwise. NCO will use all reasonable and lawful efforts to collect such
collection costs as directed by Special Servicer.
NCO may, with Special Servicer's prior written approval, forward accounts for litigation to an
attorney licensed to practice law in the applicable jurisdiction and acceptable to Special Servicer.
NCO will handle all routine communication with the attorney on Special Servicer's behalf and
will be responsible for monitoring the attorney's performance in litigating the case, collecting on
the accounts pre-judgment and collecting on any judgment or settlement. Except in the case
where there is no media availability, any decision regarding settlement, dismissal of the action,
or the removal of an attorney will require Special Servicer's written consent. Special Servicer
recognizes that back up media, sworn statements of account, affidavits and other documentation
may be required to pursue legal treatment on accounts placed with NCO. In the event that
documentation is required, Special Servicer will comply with NCO's request for media and
follow request procedures as agreed upon in work standards. If Special Servicer can not comply
with media or documentation requests within a fourteen (14) day period, NCO reserves the right
to dismiss any legal action, with our without prejudice and close and return the account back to
Special Servicer. In the event that lack of media or documentation results in liability for NCO or
Special Servicer, Special Servicer bears the burden of indemnification. At all times, Special
Servicer and not NCO will be the client of the collection attorney. Special Servicer agrees
promptly to provide all available documentation, written testimony, witnesses and other
reasonably necessary materials and assistance requested by NCO in support of such litigation.
               (a)    NCO shall be responsible for selecting and directly supervising collection
attorneys. NCO will submit lists of collection attorneys used by NCO to Special Servicer, and
Special Servicer may, at any time, prohibit the submission of new litigation files to an attorney
on its behalf.
              (b)      All collection attorneys shall be paid by NCO and Special Servicer shall
have no obligation to pay such attorneys.
                (c)     NCO will provide evidentiary support for collection attorneys, including
basic factual orientation, copies of documents, records of account balances, affidavits and
testimony, as reasonably required. Special Servicer will instruct Servicers to provide original
documents to NCO upon request from NCO. For this purpose, Special Servicer on behalf of the
Trusts hereby appoints NCO as keeper of the applicable Trust's records of all ASLs that are the
subject of NCO administration.




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                                            JA480
          Case: 22-1864           Document: 80       Page: 12      Date Filed: 11/22/2022




               (d)     NCO shall supervise the progress of collection litigation and review the
progress of their assigned litigation quarterly. Such review shall include the establishment and
prosecution of appropriate post-judgment enforcement, to the extent lawful.




                (f)     NCO shall promptly transmit to Special Servicer any pleadings or other
documents it receives relating to counterclaims naming Special Servicer or any Trust in
collection litigation. Upon request, NCO shall assist Special Servicer with respect to
management of counterclaims naming Special Servicer or any Trust as a party, including
management of local counsel in consultation with Special Servicer.
               (g)      All court costs and related expenses, including hourly billing charges,
incurred in connection with a legal proceeding shall be paid as set forth in Section 2.3(c). For
audit and reconciliation purposes, NCO shall itemize costs for each borrower and the amount and
purpose of each expense. Special Servicer will riot advance the pre-payment of such costs, and
will only reimburse costs that have actually been incurred. The attorney must receive Special
Servicer's or NCO's prior written approval before incurring any expense (other than a filing fee,
process server fee, or other court cost) in excess of $500.
                2.5   Special Accounts.
               (a)    In the event any debtor with respect to any ASL that is the subject of
Services becomes a debtor under the U.S. Bankruptcy Code, NCO shall immediately cease all
Services and submit the file to Special Servicer unless Special Servicer otherwise directs in
writing.
Special Servicer undertakes that it will not send to NCO accounts for collection on any
indebtedness that it has reason to believe are subject to any bankruptcy proceeding and that it
will indemnify and hold harmless NCO from any and all claims and legal actions asserted
against NCO, and all money damages and legal costs incurred by NCO, to the extent that the
same result solely from Special Servicer's failure to observe such requirement.
               (b)     In the event any debtor with respect to any ASL that is the subject of
Services is deceased, NCO may accept from the Servicers the documentation specified under
"Death Claim" under the Servicing Guidelines and may collect the ASL.
         2.6   Special Servicer Funds Account. NCO will credit all funds received from debtors
into an FDIC-insured trust fund account (the "Account") for Special Servicer in trust for the
benefit of each Trust, which will segregate said funds from NCO's own funds and from the funds
of all other NCO clients. Any interest earned on the Account will be forwarded to Special
Servicer twice annually at a time Special Servicer directs, or upon reasonable notice by Special
Servicer. For purposes of this Agreement and except as set forth in this Agreement, the funds in
the Account will be the sole property of Special Servicer in trust for each Trust, and NCO will
have no right to pay such funds to any person other than Special Servicer except as specifically
authorized in this Agreement. NCO will remit to Special Servicer on a weekly basis on a
specified day of every week (or at different periodic intervals chosen by Special Servicer), by




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                                                 6



                                            JA481
        Case: 22-1864          Document: 80           Page: 13      Date Filed: 11/22/2022




wire transfer to a Special Servicer-designated account, all funds in the Account representing
payments received by NCO for the previous week (or alternative periodic interval chosen by
Special Servicer), except fees owed to NCO for Default Collection Services (which shall be
payable to NCO as set forth in Section 2.3(c)). NCO will submit a report with such wire,
described more fully in Exhibit E attached hereto. Special Servicer will promptly notify NCO of
any payment that Special Servicer receives directly from a debtor whose account has been
assigned to NCO, and will promptly remit to NCO the fee due to NCO with respect to such
payment.
       2.7     Tax Reporting. NCO shall provide on Special Servicer's behalf all tax reporting
required under the federal Internal Revenue Code on defaulted ASLs serviced hereunder,
including but not limited to reporting required under sections 1098 and 1099 thereof.
             2.8   Early Awareness Services.
              (a)      NCO shall perform Early Awareness Services in conformity with those
Early Awareness Services set forth herein and in Exhibit G attached hereto. NCO shall use
Dedicated Staff to develop and carry out a "Borrower Repayment Education And Counseling"
program for borrowers about to enter repayment. The specific objective of this program is to
educate borrowers of upcoming payment requirements and advise borrowers, if authorized under
the circumstances, of the existence of deferment, forbearance and modified graduated
repayments ("MGRS") alternatives under applicable Program Guidelines, to reduce the number
and percentage of borrowers becoming subsequently delinquent in the repayment process.
                   (b)   The purpose of each borrower Contact will be to:
                         (i)     Remind borrowers of upcoming payment requirements.
                       (ii)  Get "commitment/promise" from borrowers that they are prepared
and intend to meet their payment requirements (for example, by signing up for ACH repayment).
                    (iii)        Identify borrowers who may have concerns about ability to meet
payment requirements.
                       (iv)    Advise borrowers, only if authorized under the circumstances, of
the existence of deferment, forbearance and modified graduated repayments MGRS alternatives
under existing Program Guidelines.
                (c)     NCO hereby acknowledges that (i) the Servicing Guidelines articulate the
specific circumstances under which NCO may advise borrowers of each of the deferment,
forbearance and MGRS alternatives; (ii) it is Special Servicer's objective to maximize the
number and percentage of borrowers entering repayment as scheduled, (iii) borrowers will be
advised of the deferment, forbearance and MGRS alternatives only in accordance with the
Servicing Guidelines, and (iii) nothing in this Agreement shall be construed to authorize NCO to
offer, provide or enroll borrowers in deferment, forbearance or MGRS alternatives except as set
forth in the Servicing Guidelines.
       2.10 Staffing. NCO represents and warrants the following with regard to all staff
providing the Services to Special Servicer:
               (a)    NCO's employees and/or agents are adequately trained to perform the
Services with reasonable diligence, in a professional manner, and in compliance with any and all
applicable laws and regulations and that NCO's Services will be in compliance with Federal,




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                                               JA482
           Case: 22-1864          Document: 80       Page: 14       Date Filed: 11/22/2022




state, and local laws, rules and regulations as now in effect and as amended from time-to-time to
the extent they are applicable to the subject matter of this Agreement.
              (b)      NCO shall provide staffing through its employees and other personnel to
Special Servicer (the "Dedicated Staff"). The Dedicated Staff shall only work on Special
Servicer ASLs and will perform the Services as directed by the Special Servicer.
                (c)      Except as provided Section 2.11 ("NCO Personnel") hereof, NCO shall be
responsible for all aspects of providing the Dedicated Staff to perform the Services, including
staffing selection, hiring, firing, supervision, and disciplinary procedures, and NCO shall be
responsible for all wages, salaries, benefits, workers compensation, unemployment compensation
and other amounts due to the Dedicated Staff as well as the withholding of applicable taxes,
FICA, and FUTA, provided, however, that nothing contained herein shall be deemed to limit
Special Servicer overall management and supervision of the Dedicated Staff and other NCO
personnel as more particularly described herein below.
              (d)     NCO shall provide the Dedicated Staff at levels mutually agreed upon by
Special Servicer and NCO.
               (e)     NCO is solely responsible for all aspects of training the Dedicated Staff to
perform the Services as required under this Agreement, including training in connection with the
Special Servicer's policies and procedures.
               (f)  NCO shall be responsible for providing all office and clerical supplies and
equipment (fax machines, headsets, copiers, copy paper, pens, forms, etc.) as well as workstation
computers, telecommunications all other equipment, materials and furniture necessary to perform
the Services.
              (g)     NCO will provide management personnel to support the Dedicated Staff
required under this Agreement.
                  2.11 NCO Personnel.
               (a)     NCO's employees are not eligible to participate in any of the employee
benefit or similar programs of Special Servicer. NCO shall inform all of its employees providing
Services pursuant to this Agreement that they will not be considered employees of Special
Servicer for any purpose, and that Special Servicer shall not be liable to any of them as an
employer for any claims or causes of action arising out of or relating to their assignment.
               (b)     Upon the request of Special Servicer for reasonable cause, NCO shall
immediately remove any of NCO's employees or Subservicers performing Services under this
Agreement at Special Servicer's premises and replace such employee or Subservicer as soon as
practicable. Upon the request of Special Servicer, NCO shall promptly, and after consultation
with Special Servicer, address any concerns or issues raised by Special Servicer regarding any of
NCO's employees or Subservicers performing Services under this Agreement at premises other
than Special Servicer premises, which may include, as appropriate, removing such employee or
Subservicer from the Special Servicer account.
                (c)    NCO shall comply and shall cause its employees and any Subservicers to
comply with all personnel, facility, safety and security rules and regulations and other
instructions of Special Servicer provided to NCO, its employees or Subservicers, as applicable,
in writing, when performing work at a Special Servicer facility, and shall conduct its work at




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                                            JA483
        Case: 22-1864       Document: 80             Page: 15      Date Filed: 11/22/2022




Special Servicer facilities in such a manner as to avoid endangering the safety, or interfering with
the responsibilities of, Special Servicer employees or customers. NCO understands that Special
Servicer operates under various laws and regulations that are unique to the security-sensitive
financial services industry. As such, persons engaged by NCO to provide Services under this
Agreement are held to a higher standard of conduct and scrutiny than in other industries or
business enterprises. NCO agrees that its employees and Subservicers providing Services
hereunder shall possess appropriate character, disposition and honesty.
                (d)      NCO shall not knowingly permit any of its employees or any Subservicer
to have access to the Confidential Information, premises, records or data of Special Servicer or
any Trust when such employee or Subservicer: (i) has been convicted of a crime or has agreed to
or entered into a pretrial diversion or similar program in connection with: (A) a dishonest act or
a breach of trust, as set forth in Section 19 of the Federal Deposit Insurance Act, 12 U.S.C.
1829(a); or (B) a felony; or (ii) uses illegal drugs. Notwithstanding anything in this Agreement
to the contrary, NCO shall conduct background checks on its employees and those of its
Subservicers who will have access (whether physical, remote, or otherwise and whether on or off
Special Servicer premises) to Confidential Information or Special Servicer facilities, equipment,
systems or data, Such background checks must include, at a minimum the following: (i) the
search of such person's social security number to verify the individual's identity and current and
previous addresses; (ii) a criminal background search of all court records in each venue of such
person's current and previous address over the past five (5) years; (iii) a minimum of one (1)
confirmed work reference prior to assignment at NCO; and (iv) the validation of United States
citizenship or certification to work in the United States, Additional requirements may be
specified by Special Servicer from time to time. NCO shall report to Special Servicer the results
of all background checks prior to such employee or Subservicer being granted such access or
performing Services hereunder.
                (e)     Unless this Agreement specifically provides otherwise, all Services must
be performed in the United States (or, with respect to borrowers who are residents of Canada, in
Canada) and all Confidential Information must be stored, maintained, accessed from, and utilized
only in the United States (or, with respect to borrower who are residents of Canada, in Canada).
In the event that NCO employs non-U.S. citizens to provide services hereunder, NCO shall
ensure that all such persons have and maintain appropriate visas to enable them to provide the
Services.
               (0      Special Servicer shall notify NCO of any act of dishonesty or breach of
trust committed against Special Servicer, which may involve an employee or Subservicer of
NCO of which Special Servicer becomes aware, and NCO shall notify Special Servicer if it
becomes aware of any such offense. Following such notice, at the request of Special Servicer
and to the extent permitted by law, NCO shall cooperate with investigations conducted by or on
behalf of Special Servicer.
              (g)     All employees and Subservicers of NCO performing Services or
supporting NCO activities under this Agreement, regardless of their location, shall be validated
by NCO to not be on any list published and maintained by the Government of the United States
of America of persons or entities with whom any U.S. person or entity is prohibited from
conducting business. Currently, the lists of such persons or entities can be found on the
following web sites:




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                                           JA484
           Case: 22-1864    Document: 80             Page: 16      Date Filed: 11/22/2022




                      i.     Denied Persons List on the Bureau of Industry and Security at
http://www.bis.doc.gLividplidefault.shtm.
                       ii.    The Specially Designated Nationals and Blocked Persons List of
the Office of Foreign Assets Control — Department of Treasury at
http:I/WWW.ustrcas.govloffices/enforcement/ofacisdniindex.html.
                        NCO shall conduct periodic reviews, no less frequently than quarterly, of
the lists mentioned above. NCO shall report to Special Servicer immediately if the name of any
NCO employee or Subservicer performing the Services matches with the name of any person
listed on any list published by the Government of the U.S. of persons or entities with whom any
U.S. person or entity is prohibited from doing business.
                (h)    Special Servicer shall provide notice to NCO of any changes in Dedicated
Staff levels by the 15th of every month for changes to be effective on theist of the following
month; provided that Special Servicer shall provide NCO with a minimum of thirty (30) days
advance notice of any change involving more than ten percent (10%) of the total Dedicated Staff.
        2.12 Subservicers. NCO shall not retain any Subservicer to provide Services under this
Agreement without first providing advance written notice to Special Servicer; provided,
however, NCO shall not permit any Subservicer to have access to Confidential Information,
including Borrower Data, without first providing to Special Servicer at least ten (10) days
advance written notice of the identity, qualifications, and general proposed activities of such
proposed Subservicer. Special Servicer may object to the selection of such proposed Subservicer
during said ten (10) day period, in which case NCO shall meet with Special Servicer to discuss
Special Servicer's objections and will not retain such Subservicer without Special Servicer's
written consent. If Special Servicer does not object within the then (10) day period, Special
Servicer shall be deemed to have approved such proposed Subservicer for all purposes disclosed
to Special Servicer in the applicable notice from NCO. Any consent by Special Servicer to the
engagement of a Subservicer under this Section 2.12 shall not relieve NCO of any of its
obligations under this Agreement. NCO shall be responsible for the performance or
nonperformance of its Subservicers as if such performance or nonperformance were that of
NCO. Notwithstanding the foregoing, the entities listed on Schedule 2.12 attached hereto shall
be deemed approved Subservicers hereunder.
                           ARTICLE III — FEES FOR SERVICES
         3.1    Fees for Services. In consideration of the Services, Special Servicer shall pay to
NCO the fees set forth in Exhibit H. NCO shall invoice Special Servicer monthly as of the last
date of each month. With the exception of fees due for Default Collection Services which are set
forth in Section 2.3(c) herein, invoices shall be due within thirty (30) days after invoice date.
NCO may submit invoices electronically in a mutually agreed format. Any amount not subject
to a bona fide dispute and unpaid more than thirty (30) days after invoice date shall be subject to
a late fee of one and one-half percent (1.5%) per month until paid in full. Monthly invoices shall
be accompanied by a loan level report in a format mutually acceptable to NCO and Special
Servicer enabling Special Servicer to reconcile the invoice with the services provided.
       3.2     Expenses. NCO will bear all its own expenses in connection with its services
hereunder. No thing or service costing more than one hundred dollars (S100.00) will be
purchased in regard to any account without prior written approval of an authorized representative




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                                           JA485
         Case: 22-1864       Document: 80            Page: 17        Date Filed: 11/22/2022




or agent of Special Servicer, except for required court costs which are paid by Special Servicer
as set forth in Section 2.3(c) herein.
                ARTICLE IV - REPRESENTATIONS AND WARRANTIES
       4.1     Representations and Warranties of Special Servicer. Special Servicer hereby
represents and warrants to NCO as follows:
               (a)     Organization. It is a national banking association organized, validly
existing and in good standing under the laws of the United States and has full power and
authority to conduct its business as it is presently being conducted.
                (b)     Authorization. It has all necessary corporate authority and has taken all
necessary corporate action to enter into this Agreement, to consummate the transactions
contemplated hereby and to perform its obligations hereunder. This Agreement has been duly
executed and delivered by Special Servicer and is a legal, valid and binding obligation of Special
Servicer, enforceable against it in accordance with its terms, except as the enforcement thereof
may be limited by applicable bankruptcy, insolvency, rearrangement, reorganization or similar
debtor relief legislation affecting the rights of creditors generally from time to time in effect and
by general principles of equity (regardless of whether such enforcement is sought in a proceeding
at law or in equity) and the discretion of the court before which any proceeding therefor may be
brought.
                (c)     Absence of Conflicts. Neither the execution and delivery of this
Agreement by Special Servicer nor the performance by Special Servicer of its obligations
hereunder will result in (i) a violation of the articles of association of Special Servicer, (ii) a
breach of, or a default under, any contract, agreement, instrument, lease, commitment, franchise,
license, permit or authorization to which Special Servicer is a party or by which it or its assets
are bound, which breach or default would have a material adverse effect on its business or
financial condition or its ability to consummate the transactions contemplated hereby, or (iii) a
violation by Special Servicer of any Requirements of Law, which violation would have a
material adverse effect on Special Servicer's business or financial condition or its ability to
consummate the transactions contemplated hereby.
                (d)     Consents and Approvals. Special Servicer has obtained any and all
consents, approvals or authorizations of, and made any and all declarations, filings or
registrations with, any Governmental Authority, or any other Person, required to be obtained or
made by Special Servicer in order to execute, deliver and perform its obligations under this
Agreement or consummate the transactions contemplated hereby, except where the failure to do
so would not have a material adverse effect on its business or financial condition or its ability to
consummate the transactions contemplated hereby. Special Servicer represents that it is fully
authorized and empowered to refer accounts to NCO for Services. Special Servicer represents
that any interest or additional charges added to any account by Special Servicer, or which Special
Servicer directs NCO to add, are authorized by contract or are otherwise authorized by law.
                (e)    Litigation. There is no action, order, writ, injunction, judgment or decree
outstanding or claim, suit, litigation, proceeding, labor dispute, arbitral action or investigation
pending, or to the actual knowledge of Special Servicer threatened, against or relating to Special
Servicer that would have a material adverse effect on this Agreement or on Special Servicer's
ability to consummate the transactions contemplated hereby.




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                                            JA486
        Case: 22-1864        Document: 80          Page: 18         Date Filed: 11/22/2022




                        Accounts. With respect to Default Collection Services, Special Servicer
undertakes that it will not send to NCO accounts for collection on any indebtedness that it has
reason to believe are subject to any bankruptcy proceeding and that it will indemnify and hold
harmless NCO from any and all claims and legal actions asserted against NCO, and all money
damages and legal costs incurred by NCO, to the extent that the same result solely from Special
Servicer's failure to observe such requirement
       4.2     Representations and Warranties of NCO. NCO hereby represents and warrants to
Special Servicer as follows:
               (a)     Organization. It is duly organized, validly existing and in good standing
under the laws of the Commonwealth of Pennsylvania, and has full corporate power and
authority to conduct its business as it is presently being conducted.
                 (b)    Authorization. It has all necessary corporate authority and has taken all
necessary corporate action to enter into this Agreement to consummate the transactions
contemplated hereby and to perform its obligations hereunder. This Agreement has been duly
executed and delivered by NCO and is a legal, valid and binding obligation of NCO, enforceable
against it in accordance with its terms, except as the enforcement thereof may be limited by
applicable bankruptcy, insolvency, rearrangement, reorganization or similar debtor relief
legislation affecting the rights of creditors generally from time to time in effect and by general
principles of equity (regardless of whether such enforcement is sought in a proceeding at law or
in equity) and the discretion of the court before which any proceeding therefor may be brought.
                (c)     Absence of Conflicts. Neither the execution and delivery of this
Agreement by NCO nor the performance by NCO of its obligations hereunder will result in (i) a
violation of the articles of incorporation or charter documents of NCO, (ii) a breach of, or a
default under any contract, agreement, instrument, lease, commitment, franchise, license, permit
or authorization to which NCO is a party or by which it or its assets are bound, which breach or
default would have a material adverse effect on its business or financial condition or its ability to
consummate the transactions contemplated hereby, or (iii) a violation by NCO of any
Requirements of Law, which violation would have a material adverse effect on NCO's business
or financial condition or its ability to consummate the transactions contemplated hereby.
               (d)      Consents and Approvals. NCO has obtained any and all consents,
approvals or authorizations of, and made any and all declarations, filings or registrations with,
any Governmental Authority, or any other person, required to be obtained or made by NCO in
order to execute, deliver and perform its obligations under this Agreement or consummate the
transactions contemplated hereby, except where the failure to do so would not have a material
adverse effect on its business or financial condition or its ability to consummate the transactions
contemplated hereby.
                (e)    Litigation. There is no action, order, writ, injunction, judgment or decree
outstanding or claim, suit, litigation, proceeding, labor dispute, arbitral action or investigation
pending, or to the actual knowledge of NCO threatened, against or relating to NCO that would
likely have a material adverse effect on this Agreement or on NCO's ability to consummate the
transactions contemplated hereby.
               (f)     Best Efforts. NCO will utilize its best efforts and competence in rendering
services and in performing its duties hereunder and shall not use any method prohibited by




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                                            JA487
        Case: 22-1864       Document: 80              Page: 19      Date Filed: 11/22/2022




federal, state or local laws, regulations or procedures, including but not limited to any applicable
consumer protection or bankruptcy laws, regulations or procedures in collecting the account
balances. . NCO has not, does not and will not represent, warrant, or guarantee the collections
or timing of any collections of any accounts assigned to it under this Agreement. Also, NCO
will not conduct its business in a manner calculated or reasonably expected to result in
unfavorable public opinion or notoriety to Special Servicer, Special Servicer or any Trust or to
result in litigation being threatened or instituted against Special Servicer, Special Servicer or any
Trust. NCO will promptly give oral and written notice to Special Servicer of any federal, state or
local administrative or court proceeding affecting NCO or any of its officers, agents, servants or
employees in the collection of Special Servicer's accounts.
                (g)    Legal Proceedings. In the event of any lawsuit in which counterclaims are
interposed by a debtor, or where a debtor shall make any other claim against Special Servicer or
any Trusts, the same shall be immediately referred by NCO to Special Servicer and Special
Servicer shall have the right to intercede and defend such action. No criminal proceedings, real
property executions, bailable attachments, commitment orders or other enforcement proceedings,
except for the issuance of a subpoena to examine the debtor and restraining notices, shall be
instituted by NCO without prior written approval of Special Servicer.


                ARTICLE V - GENERAL COVENANTS OF THE PARTIES
       5.1    Compliance With Requirements of Law. NCO and Special Servicer each shall
comply with all applicable Requirements of Law in performing its respective obligations under
this Agreement.
                (a)      Collection Practices. NCO warrants and represents that it has special
knowledge and skills necessary to perform collection services properly, and has trained its
employees to use such knowledge and skills in the performance of such services. NCO further
warrants and represents that its performance of its obligations hereunder, including but not
limited to its collection and credit reporting practices, will fully comply with all applicable
Requirements of Law, and any and all rules of conduct required by Special Servicer from time to
time. NCO shall keep itself fully informed regarding existing and pending legislation and
regulatory rule-making or other action relating to collection and credit reporting practices and
procedures.
               (b)     Licensing. NCO warrants that it will maintain in full force and effect all
licenses required under Applicable Law for the conduct of all activities contemplated by this
Agreement and comply with all Requirements of Law relative to its licenses. NCO will furnish
Special Servicer with copies of such licenses on request.
              (c)   Records. NCO warrants that it will maintain all records required of it
under any Requirements of Law. It will furnish copies of all such records to Special Servicer
upon request.
       5.2      Insurance, etc. NCO warrants that it will maintain all insurance, bonds, capital
reserves, and the like that may be required of it under any Requirements of Law. NCO will
provide Special Servicer with satisfactory evidence thereof upon request.
               (a)     Special Servicer will notify NCO of any facts known to it concerning a




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         Case: 22-1864       Document: 80             Page: 20       Date Filed: 11/22/2022




particular loan that may limit the collection activities that NCO can undertake with respect to
such loan, such as, without limitation, the fact that the borrower has notified Special Servicer that
he or she has retained counsel.
                (b)    NCO shall, at all times and at NCO's cost and expense, keep in full force
and effect the following insurance coverages with insurers that have ratings from A.M. Best of
not less than "A" or a comparable rating from another nationally recognized rating agency
reasonably acceptable to Special Servicer:
                        i.      Employee dishonesty coverage at a limit not less than $1,000,000
per occurrence, insuring against theft or misappropriation of money or Confidential Information
of any affiliate or subsidiary of Special Servicer or any Trust for which NCO may be held legally
liable;
                        ii.    Professional liability/errors and omissions liability coverage at a
limit not less than $1,000,000 per occurrence, extending to Special Servicer, any affiliate or
subsidiary of Special Servicer or any Trust as additional insureds, insuring against claims for loss
attributable to wrongful acts of NCO, including wrongful acts of NCO's employees, in the
performance of Services under this Agreement;
                        iii.    Commercial general liability coverage on an occurrence basis,
including bodily injury liability, property damage liability, personal injury liability, and
contractual liability coverages, extending to Special Servicer, any affiliate or subsidiary of
Special Servicer or any Trust as additional insureds, with respect to claims arising from NCO's
operations in connection with this Agreement, at a combined single limit not less than
$1,000,000 per occurrence and combined annual aggregate liability limit of not less than
$2,000,000;
                      iv.     Business automobile liability coverage for claims of bodily injury
or property damage arising from the operation of vehicles owned, leased, hired or borrowed by
NCO or on NCO's behalf in connection with Services performed under this Agreement, at a
combined single limit not less than $1,000,000 per occurrence;
                       v.       Workers' compensation coverage providing statutory benefits as
required in any and all jurisdictions where Services will be performed under this Agreement;
                        vi.     Employer's liability coverage, extending to Special Servicer, any
affiliate or subsidiary of Special Servicer or any Trust as additional insureds, at limits not less
than $1,000,000 per accident for injury by accident, and $1,000,000 per employee and in the
aggregate for injury by disease;
                         vii.     Umbrella or excess liability coverage, extending to Special
Servicer, any affiliate or subsidiary of Special Servicer or any Trust as additional insureds, at a
limit not less than $4,000,000 per occurrence, which is to apply in excess of the commercial
general liability, business automobile liability and employer's liability coverages identified in
subparts (iii), (iv) and (vi) of this Paragraph 23(a).
                 (c)    Evidence of Insurance. NCO shall provide Special Servicer with
certificates of insurance providing evidence of all these required coverages prior to the
commencement of Services under this Agreement, and thereafter upon the renewal or
replacement of any of the policies. Said certificates shall identify significant policy exclusions
that would have a bearing upon the Services provided under this Agreement.



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                                             JA489
        Case: 22-1864            Document: 80          Page: 21       Date Filed: 11/22/2022




                      ARTICLE VI - BOOKS AND RECORDS: AUDIT RIGHTS
        6.1      Maintenance of Books and Records. NCO will keep proper books and records
reflecting all of its business affairs and transactions so that its financial statements, consolidated
with its affiliates, are in accordance with GAAP. NCO shall maintain its books and records
relating to activities under this Agreement throughout the term hereof and thereafter for such
periods as are required under applicable Requirements of Law or NCO's policy, whichever is
longer.
               6.2   Audit Rights.
                (a)      Special Servicer shall have the right to review, inspect and audit, at
Special Servicer's expense, once each calendar year (or more than once in a calendar year in the
event that Special Servicer requires the review, inspection or audit in order to respond to a court
order, civil investigation demand or other government or regulatory agency inquiry), the books
and records of NCO related to: (i) NCO's activities hereunder or (ii) conformance with NCO's
obligations hereunder.
                (b)    No later than thirty (30) days prior to the commencement of any review,
inspection or audit, Special Servicer shall provide to NCO written notice of its intent to perform
a review, inspection or audit, which notice shall include in reasonable detail the scope thereof
and the supporting documentation to be requested. Within fifteen (15) days of receipt of any
such notice, NCO shall notify Special Servicer, in writing of any objections to the scope of the
review, inspection or audit or the supporting documentation requested, it being understood that
any objections of NCO must be based upon a reasonable and documented belief that such
review, inspection, audit or documentation is not reasonably related to NCO's obligations under
this Agreement or would require the disclosure of proprietary information (other than
information that is proprietary solely as a result of this Agreement). Special Servicer and NCO
shall cooperate in good faith to resolve objections with respect to any review, inspection or audit
proposed by Special Servicer and such review, inspection or audit shall not commence until such
objections are resolved. In the event the parties are not able to resolve such objections, the
matter shall be resolved in accordance with the procedures set forth in Section 11.2.
                (c)    Any review, inspection or audit to be performed by Special Servicer
pursuant to this Section 6.2 shall be conducted only during normal business hours and with
reasonable advance notice, using reasonable care not to cause damage and not to interrupt the
normal business operations of NCO.
                (d)     NCO will engage, at its sole expense, an unrelated American Institute of
Certified Public Accountants ("AICPA") certified public accounting firm acceptable to Special
Servicer to conduct reviews of NCO's general controls and practices associated with NCO's
facilities and Subservicers facilities engaged in providing Services, as well as the controls
associated with the services and the programs used to provide Services. The scope of the audit
shall include all such matters as NCO's auditor deems necessary or required to meet regulatory
compliance standards, including but not limited to an examination of the record keeping system
and other equipment and software used by NCO. Such reviews shall be performed at such
frequency and times as NCO shall determine, but shall be performed at least once annually.
Within thirty (30) days of its receipt by NCO, NCO shall provide Special Servicer with a copy of
each report and the related working papers submitted by NCO's independent accountants
regarding any of the matters set forth in this paragraph. All such reviews shall comply with




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                                             JA490
         Case: 22-1864          Document: 80          Page: 22       Date Filed: 11/22/2022




AICPA SAS-70 standards or equivalent thereof, and the reports obtained shall be of the type
generally referred to (depending on the publication) as either type "2" or "B", and shall include
an unqualified opinion on the operating effectiveness of NCO's controls. All such reviews shall
also comply with Security Standards Certification ISO 17799/BS7799 or equivalent thereof. If a
SAS 70 or equivalent audit reveals that the services provided by NCO do not cause NCO's
operations to meet the auditor's recommendation, then NCO shall promptly provide such further
services as are necessary to bring its operations into conformance with the auditor's
recommendations to such level and degree, at no cost to Special Servicer.
              6.3   Regulatory Agency Requirements.
                (a)     NCO understands and acknowledges that Special Servicer may be subject
to examination by any federal, state or local governmental or quasi-governmental officials with
regulatory authority over Special Servicer and its affiliates. NCO agrees to cooperate fully with
any examination or inquiry by any such officials or other regulatory body or agency. NCO
further acknowledges that Special Servicer, as a regulated financial institution, is required to
engage in ongoing oversight of its relationship with NCO, including, but not limited to,
reviewing NCO's compliance with privacy laws and regulations, insurance coverage, and
performance under this Agreement. NCO agrees to notify Special Servicer promptly in writing in
the event it experiences any material adverse change, including but not limited to, material
financial difficulty, other catastrophic event, material change in strategic goals, or significant
staffing changes relative to its obligations under this Agreement.
                (b)      Within thirty (30) days of its receipt, to the extent NCO is permitted to do
so, NCO shall provide Special Servicer with a copy of the results of any audit performed by a
federal, state or local regulator, but only to the extent such audit relates to compliance by NCO
with applicable law and to the Services performed by NCO for Special Servicer hereunder. If
such audit reveals that the Services provided by NCO do not cause NCO's operations to meet the
auditor's recommendation, then NCO shall provide such further Services as are necessary to
bring its operations into conformance with the auditor's recommendations to such level and
degree, at no cost to Special Servicer.
                               ARTICLE VII - CONFIDENTIALITY
        7.1     Confidentiality. NCO acknowledges and agrees that all information provided to
NCO by Special Servicer is considered confidential or proprietary and is provided to NCO solely
to enable NCO to perform the Services and related functions set forth in Article II of this
Agreement. For purposes of this Agreement, "Confidential Information" of Special Servicer
means all confidential or proprietary information and documentation and data (whether technical,
commercial or other in nature) of such party, whether or not marked as such and/or whether now
in existence or hereafter created including, without limitation all Borrower Data and any other
Trust data. For purposes of this Agreement, "Borrower Data" means any and all data and
information of any kind or nature provided to NCO by or on behalf of Special Servicer or arising
out of or in connection with this Agreement with respect or relating in any way to borrowers
individually or in the aggregate. NCO shall hold the Confidential Information of Special
Servicer in confidence and shall not disclose nor use such Confidential Information other than
for the purposes contemplated by this Agreement without prior written consent of Special
Servicer. Notwithstanding any provision in this Agreement to the contrary, NCO shall limit the
use and circulation of such information, even within its own organization, solely to the extent




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                                             JA491
        Case: 22-1864           Document: 80            Page: 23      Date Filed: 11/22/2022




necessary to perform its obligations under this Agreement. Confidential Information shall not
include information that: (i) has been disclosed in the public domain prior to the date hereof; (ii)
becomes, through no fault nor action of either party, hereafter disclosed in the public domain;
(iii) is now or comes into the possession of NCO without any obligation of confidentiality.
Special Servicer acknowledges that NCO and/or its affiliates may have legitimately obtained
Borrower Data through prior relationships and that such data is held under restrictions arising out
of such relationships and not under this Agreement. In addition, the substance of the
negotiations of this Agreement and the terms of this Agreement are Confidential Information
subject to the restrictions contained in this Agreement. NCO shall not be considered to have
breached its obligation by disclosing Confidential Information of the Special Servicer in
response to the order of any competent court or governmental agency; provided, however, that
upon receipt of such order, NCO shall promptly provide to the Special Servicer notice of such
request to enable the Special Servicer to seek an appropriate protection order or take other action
to assure the confidential handling of the Confidential Information. All such Confidential
Information shall remain the exclusive property of Special Servicer.
         7.2      Restricted Use. NCO agrees not to utilize any Confidential Information, unless it
is necessary to do so in order to fulfill an obligation under this Agreement. NCO also agrees that
it will not sell, disclose, transfer, or rent any Confidential Information to any third party nor will
it use any Confidential Information on behalf of any third party, without the express written
permission of Special Servicer. NCO shall provide all notices and perform all other activities
required of it to comply with the Gramm-Leach-Bliley Act and regulations promulgated
thereunder and any other applicable federal, state and local privacy laws in connection with the
Confidential Information received in connection with this Agreement.
        7.3      Injunctive Relief. NCO acknowledges that money damages may be both
incalculable and an insufficient remedy for any breach of this provision by NCO and that any such
breach may cause Special Servicer, the Trusts and others irreparable harm. Accordingly, NCO
agrees that in the event of any breach of this Article VII, Special Servicer or any Trust, in
addition to any other remedies at law or in equity that it may have, shall be entitled without
requirement of posting a bond or other security, to equitable relief, including injunctive relief and
specific performance without proof of actual damages.
              7.4   Information Protection and Security.
                (a)     NCO may receive or otherwise have access to Borrower Data in
connection with providing Services to Special Servicer pursuant to the terms of the Agreement.
NCO shall implement and maintain an appropriate security program for Borrower Data designed
to meet the following Objectives (defined below) of the Interagency Guidelines Establishing
Standards for Safeguarding Customer Information pursuant to the authority of Section 501(b) of
the Gramm-Leach-Bliley Act of 1999. "Objectives" means a program designed to (i) ensure the
security and confidentiality of Borrower Data; (ii) protect against any anticipated threats or
hazards to the security or integrity to Borrower Data, and (iii) protect against unauthorized
access to or use of Borrower Data that could result in substantial harm or inconvenience to any
Special Servicer or any borrower. NCO shall provide Special Servicer on or prior to the Effective
Date and thereafter, upon request, with a copy of its Information Security and Assurance Policy
and any updates or amendments thereto. NCO agrees that upon reasonable notice and at NCO's
convenience, Special Servicer or any agent or representative thereof may come to NCO's place
of business and review the specifics of NCO's security plan with NCO. It is understood and



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                                               JA492
         Case: 22-1864        Document: 80           Page: 24      Date Filed: 11/22/2022




agreed that NCO shall not be required to have a security program in place that implements every
security measure listed in each paragraph of Section III C of Appendix A to 12 CFR § 30
provided that NCO's security program is appropriate to address the level of risk and otherwise
meets the Objectives. Special Servicer, its internal and external auditors and regulatory agencies
("Auditors") shall be permitted, during normal business hours, to audit NCO's security program
upon provision of reasonable prior notice and provision of an agenda for the audit requirements.
NCO shall be subject to said audits as long as NCO continues to maintain, store or have access
to Borrower Data.
               (b)     NCO presently maintains and agrees it will continue to maintain
appropriate physical, electronic, procedural and technical safeguards to protect all Borrower Data
from unauthorized disclosure, misuse, alteration, destruction or other compromise that are
consistent with appropriate industry practices and no less stringent than those used to protect the
Confidential Information of NCO.
              (c)     As part of its information security program, NCO shall take appropriate
measures to properly dispose of Borrower Data. These measures will include, at a minimum:
                       i.      Burning, pulverizing or shredding of papers containing
                               Borrower Data so that the Borrower Data cannot practicably
                               be read or reconstructed;
                       ii.     Ensuring the destruction or erasure of electronic media
                               containing Borrower Data so that the Borrower Data cannot
                               practicably be read or reconstructed; and/or
                       iii.    Ensuring that any third party who performs the activities
                               described in (i) and (ii) on behalf of NCO above does so in
                               a manner consistent with this Section.
                 (d)    NCO shall ensure that it does not retain Confidential Information of
Special Servicer for longer than it needs such information to perform its obligations hereunder.
NCO's disposal policy shall require that such information is reviewed and destroyed on a routine
basis consistent with NCO's disposal policy. NCO shall, upon the reasonable request of Special
Servicer, provide to Special Servicer the certificate of destruction as prescribed by Special
Servicer. It is understood that information sent in an intangible or electronic format cannot be
removed, erased or otherwise deleted from archival systems (also known as "computer or system
back-ups") but that such information will continue to be protected under the confidentiality
requirements contained in this Agreement for as long as such information remains accessible
and/or vulnerable to unauthorized access use or disclosure. Notwithstanding anything to the
contrary contained herein, NCO may retain an archival copy of any document for its permanent
records to the extent required by applicable law or regulation of NCO's document retention
policy. The rights and obligations of the parties under this Agreement will survive any return or
destruction of Confidential Information.
               (e)      NCO shall have in place and follow a routine destruction policy for all
Confidential Information of Special Servicer (whether in electronic, paper or other form) related
to NCO's performance under this Agreement. No such materials will be retained longer than
such period as is set forth in NCO's policy period for retention unless mandated under this
Agreement or by applicable law.




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                                            JA493
         Case: 22-1864           Document: 80             Page: 25      Date Filed: 11/22/2022




         7.5     Security Breach. In the event NCO knows or reasonably believes that there has
 been any unauthorized acquisition of or access to data that compromises the security,
 confidentiality, or integrity of Borrower Data maintained by or for NCO (a "Breach"), NCO
 shall take the following actions:
                    (a)     Notify Special Servicer of such breach as soon as practicable;
                    (b)     Identify to Special Servicer, at no cost to Special Servicer, what specific
                            Borrower Data, by borrower and/or account number has or may have been
                            breached;
                    (c)     Monitor, or cause to be monitored at NCO's sole expense, any affected
                            accounts for any unusual activity for a period of 12 months from the
                            discovery of the breach;
                    (d)    Take such commercially reasonable measures, at the sole cost of NCO, as
                           may be requested by the Special Servicer to contain and control the
                           incident to prevent further unauthorized access;
                    (e)     Remedy the circumstances that permitted such breach to occur; and
                           Cooperate with Special Servicer as necessary to facilitate Special
                           Servicer's compliance with any applicable Federal or state law regarding
                           unauthorized access of Borrower Data.
                In addition to and not by way of limitation of any and all damages for which NCO
is or may become obligated under this Agreement to pay to owner (i.e., the applicable Trust),
NCO shall fully reimburse Special Servicer for the actual costs of mailing notices to individuals
whose data has or may have been breached, to the extent such breach is the result of NCO's
breach of this Agreement, NCO's failure to conform to applicable law, or NCO's negligence.
                    The obligations contained in this Section 7.5 shall survive the termination of this
Agreement.
                     ARTICLE VIII - INDEMNIFICATION AND EXCLUSION
              8.1   Indemnity.
               (a)     NCO shall defend, indemnify and hold harmless Special Servicer and the
applicable Trust, or any affiliate or subsidiary of Special Servicer or any Trust (each an "Special
Servicer Indemnified Party") from and against any and all damages arising out of or resulting
from third party claims relating to (i) the breach of any representation or warranty, covenant or
agreement of NCO contained in this Agreement; (ii) any inaccurate information or inaccurate
materials provided by NCO to Special Servicer in connection with providing the Services. In
addition, NCO shall reimburse Special Servicer for all costs incurred by Special Servicer
resulting from third party investigation of the acts and practices of NCO, including expenses
related to compliance with any third party subpoena or with any other discovery proceeding, if
such investigation is due to the negligent act of NCO or breach of this Agreement by NCO.
                (b)    NCO shall defend, indemnify and hold harmless each Special Servicer
Indemnified Party from and against all damages arising out of or resulting from any action by a
third party against such Special Servicer Indemnified Party that is based on any claim that any




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                                                JA494
          Case: 22-1864           Document: 80           Page: 26        Date Filed: 11/22/2022




intellectual property used in the performance of this Agreement infringes a patent, copyright, or
trademark or violates a trade secret or other proprietary right of any person or entity.
                (c)      Special Servicer shall defend, indemnify and hold harmless NCO or any
affiliate or subsidiary of NCO (each a "NCO Indemnified Party") from and against all damages
arising out of or resulting from any action by a third party against such NCO Indemnified Party
that is based on any claim resulting from (i) the breach of any representation or warranty,
covenant or agreement of Special Servicer contained in this Agreement; (ii) any information or
materials provided by Special Servicer to NCO for use in providing the Services; or (iii) the
nature or use of Special Servicer's products or services. In addition, Special Servicer shall
reimburse NCO for all costs incurred by NCO resulting from third party investigation of the acts
and practices of Special Servicer, its subsidiaries and affiliates, including expenses related to
compliance with any third party subpoena or with any other discovery proceeding.
                (d)     An indemnified party which intends to claim indemnification under
Section 8.1 shall promptly notify the indemnitor in writing of any action, claim or liability with
respect to which the indemnified party intends to claim such indemnification. The indemnified
party shall permit the indemnitor, at its discretion, to settle any such action, claim or liability and
agrees to the control of such defense or settlement by the indemnitor; provided, however, such
settlement does not adversely affect the indemnified party's rights hereunder or impose any
obligations on the indemnified party in addition to those set forth herein in order for it to exercise
such rights. No such action, claim or liability shall be settled without the prior written consent of
the indemnitor and the indemnitor shall not be responsible for any attorneys' fees or other costs
incurred other than as provided herein. The indemnified party shall cooperate fully with the
indemnitor and its legal representatives in the investigation and defense of any action, claim or
liability covered by this indemnification. The indemnified party shall have the right, but not the
obligation, to be represented by counsel of its selection and expense
                 (e)     This provision shall not be construed to limit the rights, obligations,
liabilities, claims or defenses of either party or any indemnified party which arise as a matter of
law or pursuant to any other provision of this Agreement.
               8.2   Exclusions from Liability.
                (a)     Except as provided in this Article VIII, in no event shall NCO or Special
Servicer be liable for consequential, incidental, punitive, special, or indirect damages.
               (b)   Except as otherwise provided herein, neither party's liability hereunder
shall exceed an amount equal to the service fees payable by Special Servicer to NCO in the
month immediately preceding the claim to which such liability relates, multiplied by twelve (12).
                (c)      The limitation of liability provisions of subsections 8.2(a) and 8.2(b) do
not apply to, liability that is the result of either party's breach of (i) the confidentiality, privacy, or
security obligations or provisions contained in this Agreement or (ii) such party's
indemnification obligations.
                 (d)   The limitation of liability provisions of subsections 8.2(a) and 8.2(b) also
do not apply to any third party claim against an indemnified party arising out of the indemnifying
party's failure to comply with the terms and conditions of this Agreement, if such claim results
in such indemnified party being liable for consequential, incidental, special or indirect damages




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                                                  JA495
          Case: 22-1864           Document: 80            Page: 27    Date Filed: 11/22/2022




to such third party. Such damages will be considered to be direct damages incurred by the
indemnified party.
      The obligations set forth in this Article VIII shall survive termination or expiration of this
Agreement.
                              ARTICLE IX - TERM AND TERMINATION
                9.1   Term of Agreement.
               (a)     The initial term of this Agreement shall commence as of the Effective
Date and shall continue in effect for a period of three (3) years, unless sooner terminated
pursuant to Section 9.2 (the "Initial Term").
                (b)     Upon conclusion of the Initial Term or any succeeding term, this
Agreement shall automatically renew for an additional, successive one (1) year term, unless
either party shall give a written notice of non-renewal to the other party not less than ninety (90)
days prior to the conclusion of such term.
       9.2     Termination for Cause. Either party may terminate this Agreement upon the
occurrence of any of the following events, by delivery of a written notice of termination to the
other party:
                  (a)    NCO shall file, or after the Effective Date, Special Servicer shall file, a
petition to take advantage of any applicable insolvency or reorganization statute; or shall file a
petition or answer seeking or shall consent to the appointment of a conservator or receiver or
liquidator in any insolvency, readjustment of debt, marshaling of assets and liabilities or similar
proceedings of or relating to such party or relating to all or substantially all of its property; or a
decree or order of a court or agency or supervisory authority having jurisdiction in the premises
for the appointment of a conservator or receiver or liquidator in any insolvency, readjustment of
debt, marshaling of assets and liabilities or similar proceedings, or the winding-up or liquidation
of its affairs, shall have been entered against such party, which decree or order entered against
such party shall have remained in force undischarged or unstayed for a period of sixty (60) days;
or such party shall be insolvent, admit in writing its inability to pay its debts generally as they
become due, make an assignment for the benefit of its creditors or voluntarily suspend payment
of its obligations; or
                (b)     Any other party shall fail to perform any of its obligations or shall breach
any of its representations, warranties or covenants in this Agreement, including without
limitation representations and warranties set forth in Article IV (Representations and
Warranties), covenants set forth in Article V (General Covenants), or Article VII
(Confidentiality), in any material respect and such failure or breach continues unremedied after
the expiration of thirty (30) days (or such shorter period that is reasonable depending on the
materiality of the failure or breach or the potential significance of its impact on the other party)
following written notice to such party specifying the nature of such failure or breach and stating
the intention of the terminating party to terminate this Agreement absent a cure of such failure or
breach within such thirty (30) day (or shorter) period.
                9.3   Termination of Specific Accounts.




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                                                JA496
          Case: 22-1864           Document: 80           Page: 28     Date Filed: 11/22/2022




               (a)     Special Servicer may terminate this Agreement with regards to individual
accounts at any time, and NCO shall close and return such accounts to Special Servicer
immediately.
               (b)      If a borrower should enter into bankruptcy voluntarily or involuntarily at
any time after his or her account is referred to NCO, NCO will immediately notify Special
Servicer and this Agreement will be deemed terminated as to such account unless Special
Servicer otherwise directs in writing
                (c)     With respect to default Collection Services, this Agreement shall terminate
automatically as to any account at six (6) months from the date the account was referred to NCO,
or from date of last payment, whichever is later, or nine (9) months on Third Placements, unless
at such time the account has been referred to an attorney for litigation and litigation is pending.
NCO will upon termination as to an account forthwith send to Special Servicer, at Special
Servicer's request and at NCO's expense all documentation on the account, including a full
record of all collection activities.
              9.4     Rights and Obligations Upon Notice of Termination.
                 (a)    Requirements Upon Termination. Upon the termination or expiration of
this Agreement, NCO shall cease all Services and subject to the data security provisions in
section 7.4 herein, return to Special Servicer or destroy all Confidential Information within thirty
(30) days from the date of termination or as otherwise mutually agreed upon by the parties in
writing. Notwithstanding the foregoing, NCO shall be permitted to retain certain files pursuant
to Section 6.1. If applicable, NCO shall also provide to Special Servicer a final reconciliation of
all amounts collected by Subservicers, collect all original files from Subservicers, and transmit
all such files to Special Senicer. NCO shall report to Special Servicer its record of all account
balances of all ASLs that were the subject of Default Collection Services at the time of
termination.
                (b)    Survival. The provisions of Sections 5.2, 9.4, Article VII, and Article VIII
shall survive the termination or expiration of this entire Agreement.
               (c)   Final Invoice. NCO shall send to Special Servicer a final invoice for
Services performed within thirty (30) days of termination of this Agreement.
                  ARTICLE X - DISASTER RECOVERY AND BUSINESS CONTINTUITY
         10.1    NCO shall maintain and shall test at least once annually plans to continue
business in the event of an interruption to its business or unavailability of any site from which
Services are being performed (the "Disaster Recovery/Business Continuity Plans"). NCO agrees
to maintain viable Disaster Recovery/Business Continuity Plans for the Services which includes,
among other things, provision for the remote storage of computer software and data, the
availability of a location for off-site computer services and procedures covering all of NCO's
facilities used in connection with the Services in order to insure continuance of Services in the
event of a disaster affecting any such NCO facility and storage of a complete system image tape
of both object code and source code for software at an off-site storage location designated by
NCO and disclosed to Special Servicer. In the event of a natural or other disaster beyond NCO's
control that interrupts NCO's performance of any such Services for any period, NCO shall
promptly respond to such disaster in accordance with the procedures contained in the Disaster
Recovery/Business Continuity Plans in order to resume performance of such Services.




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                                                JA497
          Case: 22-1864       Document: 80             Page: 29     Date Filed: 11/22/2022




       10.2 NCO shall annually test its Disaster Recovery/Business Continuity Plans and shall
update in a timely manner such Disaster Recovery/Business Continuity Plans. NCO shall
provide Special Servicer with a summary report of the results of such testing annually. If Special
Servicer requests, it shall be permitted to participate in NCO's testing of its Disaster
Recovery/Business Continuity Plans to the extent such test relates to Services provided to
Special Servicer.
       10.3 Prior to execution of this Agreement, NCO shall provide a copy of its Disaster
Recovery/Business Continuity Plans to Special Servicer (including in electronic form). Any
material changes to NCO's Disaster Recovery/Business Continuity Plans will be subject to
Special Servicer's prior written consent which shall not be unreasonably withheld and will
conform to reasonable commercial and industry standards for such plans. Special Servicer, or its
designated representative, shall be entitled to review such Disaster Recovery/Business
Continuity Plans annually during the term of this Agreement at NCO's corporate headquarters,
       10.4 Notwithstanding any provision in this Agreement to the contrary, NCO's Disaster
Recovery/Business Continuity Plans required under this Agreement must meet Special Servicer's
Recovery Time Objective ("RTO") and Recovery Point Objective ("RPO") for the business
function being serviced, as defined below, unless events or circumstances beyond NCO's control
prevent NCO from implementing its Disaster Recovery/Business Continuity Plans:
                Services will be available within a forty-eight (48) hour period following any
                outage/incident (RTO = 48 hours), with at least 99.99% preservation of data
                (RPO = 99.99) through the close of business on the day preceding the
                outage/incident.
        10.5 NCO shall, as soon as practicable, notify Special Servicer of any interruption to
NCO's business or unavailability of any site from which Services are being performed. As soon
as possible (and in no event more than twenty-four (24) hours) following any such interruption
or unavailability, NCO shall provide detailed information to Special Servicer concerning NCO's
implementation of its Disaster Recovery/Business Continuity Plans, the effectiveness of such
implementation, and the impact of the interruption or unavailability on the RTO, the RPO and
the performance standards set forth in Exhibits B, D and H.
                               ARTICLE XI - MISCELLANEOUS
        11.1 Notice Procedure: Addresses. All notices, demands and other communications
hereunder shall be in writing and shall be deemed to have been duly given and received at the
time delivered by hand, if personally delivered; when receipt is acknowledged, if mailed by
certified mail, postage prepaid, return receipt requested; the next business day after timely
delivery to the courier, if sent by overnight air courier guaranteeing next-day delivery; and when
received, if sent by any other means, as follows:


                If to initial Special Servicer:




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                                              JA498
         Case: 22-1864        Document: 80             Page: 30       Date Filed: 11/22/2022




                 First Marblehead Education Resources, Inc.
                 Attn: General Counsel, Corporate Law Department
                 800 Boylston St., 34th Floor
                 Boston, Massachusetts 02199
                 If to NCO:
                 NCO Financial Systems, Inc.
                 Attn: Joshua Gindin, Esq.
                 Executive Vice President and General Counsel
                 507 Prudential Road
                 Horsham, Pennsylvania 19044


       The persons or addresses to which mailings or deliveries shall be made may be changed
from time to time by notice given pursuant to the provisions of this Section 11.1.
        11.2 Mediation; Arbitration. Except in the case of a third party action, the parties
agree that any controversy or claim arising out of or related to this Agreement, including an
alleged breach hereof, shall first be settled through negotiation, if possible. If negotiation is not
successful, the parties agree to then try in good faith to settle such dispute by non-binding
mediation under the then current Commercial Mediation Rules of the American Arbitration
Association. In the event that such mediation does not resolve the dispute to the mutual
satisfaction of the parties, then the parties agree to settle such dispute by binding arbitration to be
held in Cincinnati, Ohio, in accordance with the then current Commercial Arbitration Rules of
the American Arbitration Association, and judgment upon the award rendered by the arbitrator(s)
may be entered in any court having jurisdiction thereof.
        11.3 Press Releases. No party shall issue any press release or other announcement
regarding the subject matter of this Agreement without the consent of the other party, which
consents shall not be unreasonably withheld, unless a party refuses to consent and the party
desiring to issue the release or other announcement is advised by its legal counsel that the press
release or other announcement is required in order to comply with Requirements of Law.
Notwithstanding the foregoing, the parties contemplate that a press release regarding the
execution of this Agreement may be executed, and the parties shall cooperate with respect to the
drafting of mutually acceptable language.
        11.4 Relationship of the Parties. The parties agree that in carrying out their
responsibilities pursuant to this Agreement they are in the position of independent contractors.
This Agreement is not intended to create, nor does it create and shall not be construed to create, a
relationship of partners or joint venturers, fiduciaries or any association for profit between and
among the parties or any of their respective affiliates.
        NCO acknowledges that it may not be the exclusive collector for Special Servicer and
that Special Servicer, in the exercise of its sole discretion, may submit the accounts to more than
one collector (but not the same account to different collectors) in a specific geographic location.
Special Servicer, in the exercise of its sole discretion, likewise may by oral or written notice,




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                                                JA499
         Case: 22-1864       Document: 80            Page: 31       Date Filed: 11/22/2022




require NCO to cease its collection efforts and return to Special Servicer any or all of the
accounts.
        11.5 Expenses. Except as is otherwise specifically provided in this Agreement, each
party shall pay its own costs and expenses in connection with this Agreement and the
transactions contemplated hereby, including but not by way of limitation, all regulatory fees,
attorneys' fees, accounting fees and other expenses.
        11.6 Successors and Assigns. All terms and provisions of this Agreement shall be
binding upon and shall inure to the benefit of Special Servicer and NCO, and each of their
respective permitted transferees, successors and assigns. Except as set forth in this Agreement,
no party may assign any of its rights or obligations under this Agreement (whether by operation
of law or otherwise) without the prior written consent of the other party; provided, however, that
no prior written consent of the other party is required in the event that (a) Special Servicer
experiences a merger or consolidation with or into or a reorganization between and among the
wholly-owned subsidiaries of its ultimate parent company, or (b) Special Servicer seeks to assign
this contract to any operating subsidiary. Nothing in this Agreement is intended to create or
grant any right, privilege or other benefit to or for any person or entity, other than the parties
hereto and their permitted transferees, successors or assigns.
                Notwithstanding the foregoing, the parties hereto acknowledge that U.S. Bank as
the Back-Up Special Servicer under the Special Servicing Agreement is an express third-party
beneficiary of this Agreement and that upon the Effective Date, the Back-Up Special Servicer as
successor Special Servicer under the Special Servicing Agreement shall become the "Special
Servicer" under this Agreement. It is further acknowledged and agreed that fees, expenses and
other amounts payable to NCO under this Agreement, including without limitation, indemnity
payments, shall be payable by the Trusts as provided in the Special Servicing Agreement. U.S.
Bank as Special Servicer shall not be personally liable for payment of any such indemnity,
indebtedness, fees or expenses (except to the extent it is reimbursed for same by each Trust).

        11.7 Multiple Counterparts. This Agreement may be executed in multiple
counterparts, each of which shall be deemed an original for all purposes and all of which shall be
deemed, collectively, one agreement, but in making proof hereof it shall not be necessary to
exhibit more than one such counterpart.
        11.8 Draftin . Each party acknowledges that its legal counsel participated in the
drafting of this Agreement. The parties hereby agree that the rule of construction that
ambiguities are to be resolved against the drafting party shall not be employed in the
interpretation of this Agreement to favor one party over any other.
        11.9 Captions. The captions, headings and arrangements used in this Agreement are
for convenience only and do not in any way affect, limit or amplify the terms and provisions
hereof.
        11.10 Entire Agreement; Amendments. The making, execution and delivery of this
Agreement by the parties have been induced by no representations, warranties, statements or
agreements other than those herein expressed. This Agreement embodies the entire
understanding of the parties, and there are no further or other agreements or understandings,
written or oral, in effect among the parties relating to the subject matter hereof. This Agreement
may be amended or modified only by a written instrument signed by each of the parties and,




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                                            JA500
           Case: 22-1864     Document: 80            Page: 32        Date Filed: 11/22/2022




prior to the Effective Date, with the consent of the Back-Up Special Servicer. None of the
parties shall be deemed to have waived any of its rights, powers or remedies under this
Agreement unless such waiver is approved in writing by an authorized representative of the
waiving party.
        11,11 Waivers. The waiver of any term hereof shall be binding only when committed to
writing and signed by the parties hereof. Failure by either party of this Agreement to insist upon
the strict performance of any term or condition hereunder or to exercise any right, power or
remedy available on a breach thereof, shall not constitute a waiver of any breach of such term,
covenant or condition. No waiver, whether express or implied, shall be construed as a waiver of
the same or any other term, condition or right or any other occasion.
        11.12 Severability. Whenever possible, each provision of this Agreement will be
interpreted in such manner as to be effective and valid under applicable Requirements of Law,
but if any provision of this Agreement is held to be prohibited by or invalid under applicable
Requirements of Law, such provision will be ineffective only to the extent of such prohibition or
invalidity, without invalidating the remainder of such provision or the remaining provisions of
this Agreement.
      11.13 GOVERNING LAW. THIS AGREEMENT SHALL BE GOVERNED BY, AND
CONSTRUED IN ACCORDANCE WITH, THE INTERNAL LAWS OF THE STATE OF
OHIO, WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF LAW
PROVISION OR RULE THAT WOULD CAUSE THE APPLICATION OF LAWS OF ANY
JURISDICTION OTHER THAN TO THOSE OF THE STATE OF OHIO. EACH PARTY
WAIVES ITS RIGHT TO A JURY TRIAL WITH RESPECT TO ANY ACTION OR CLAIM
ARISING OUT OF ANY DISPUTE IN CONNECTION WITH THIS AGREEMENT, ANY
RIGHTS OR OBLIGATIONS HEREUNDER OR THE PERFORMANCE OF ANY SUCH
RIGHTS OR OBLIGATIONS.
        11.14 Force Majeure. In the event that either party shall be prevented from performing
any of its obligations due under the terms of this Agreement by an act of God, acts of war, civil
riot, an act of State, strikes, or occurrence of any other event beyond the control of the parties
hereto, that party shall be excused from any further performance of the obligations and
undertakings set forth under the terms of this agreement with the exception of those obligations
described in Articles III, VII, VIII, X, and Sections 5.2, 11.2, and 9.4(b), and provided, further,
that NCO could not reasonably circumvent the failure orderly through the use of commercially
reasonable alternate services, unrevoked plans or other means. Notwithstanding any provision is
this Agreement to the contrary, a force majeure event shall obligate and require NCO to
commence its Disaster Recovery/Business Continuity Plan as set forth in Article X.
        11.15 Cooperation/Consents. The parties agree to cooperate with each other for the
purposes contemplated by this Agreement. NCO shall execute and deliver to Special Servicer at
any time such further documents, instruments andlor consents which Special Sewicer may
require in such form as Special Servicer may reasonably request to effectuate the performance of
the Services contemplated by this Agreement.


                              [Remainder of page intentionally left blank.]




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                                             JA501
     Case: 22-1864      Document: 80         Page: 33      Date Filed: 11/22/2022




IN WITNESS WHEREOF, the parties have executed and delivered this Agreement, as of the
day and year first above written, to be effective as of the Effective Date.


                          FIRST MARBLEHEAD EDUCATION RESOURCES, INC.


                          By:
                           Its:        ,1.-4,01-




                           NCO FINANCIAL SYSTEMS, INC.


                           By:
                           Its:




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Case: 22-1864         Document: 80              Page: 34          Date Filed: 11/22/2022




     IN WITNESS WHEREOF, the parties have executed and delivered this Agreement, as of the
     day and year first above written, to be effective as of the Effective Date.


                                FIRST MARBLEHEAD EDUCATION RESOURCES, INC.


                                By:
                                Its:


                                NCO FINANCIAL SYSTEMS, INC.


                                By: 611 t
                                Its: Ex .uti         President
                                Date: 3-10-09




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                                                27




                                        JA503
   Case: 22-1864          Document: 80            Page: 35   Date Filed: 11/22/2022




                                         Table of Exhibits


Exhibit A - Servicer File Data - Default Prevention
Exhibit B - Default Prevention Services
Exhibit C - Default Prevention Reports
Exhibit D - Default Collection Services
Exhibit E - Default Collection Reports
Exhibit F - Settlement Authority
Exhibit G - Early Awareness Services
Exhibit H - Fees to NCO




                                                 28




                                           JA504
    Case: 22-1864           Document: 80             Page: 36         Date Filed: 11/22/2022




               Exhibit A to Default Prevention and Collection Services Agreement
                                         Servicer Data File

                                Servicer Data to be Delivered to NCO

Data Frequency

The following data shall be delivered monthly, as of the end of each calendar month.

Data Form.at

The file layouts provide for "fixed-width" fields using the ASCII character set. Delimited data is
also acceptable, though we would need to agree to the delimiter.

lf comma-delimited fields are being submitted, then all text fields mu.st be enclosed in double quotes.

Data Transmission

Both files will need to be encrypted (PGP preferred) and delivered via FTP.

The filenames must include unique identifiers for servicer name, snapshot or transaction file category, and
contain a date-time-stamp.

Example filename for raw data file: X:XXXSD00.CSV_mmddyy_hhmmss

(XXXX = Client Abbreviation, SD= Snapshot Detail (Monthly Loan Snapshot), 00 = Tiebreaker,

.csv (filetype), _datestarnp)

Example filename for POP-encrypted data file: X:XXXTD00.CSV>PGP _ mmddyy_hhmmss

(XXXX =Client Abbreviation, TD= Transaction Detail (Monthly Loan Transaction), 00 = Tiebreaker,

.csv (filetype), pgp (encryption extension), _datestamp}


Snapshot Detail File Data

     Field Name        :                        Field Descr!Dtion                       !

CLUID                  i CommonHne Uniaue Identifier/ or other unioue loan identifer)
CUROWN                 1 Current Owner code
DEFDTBEG                 Date deferment beams
DEFDTEND                 Date deferment ends
DEFTYPCD                 Deferment tvoe code
DtSB1AMT                 Amount of first disbursement
DISB1DT                  Date of the first disbursement for the loan
ENROLLDTBEG            , Beoin of enrollment oeriod date




                                                   29




                                             JA505
  Case: 22-1864      Document: 80              Page: 37          Date Filed: 11/22/2022




   Field Name                             Field Descrllltion
ENROLLDTEND         Last dav of enrollment
EXPPAYOFFDT     i Exoected oavoff date
FIRSTPAYDUEDT       When the borrower's first oavment is due
FORBOTBEG           Date current forbearance beaan
                1 Date current forbearance ends
FORBDTEND
FORBTYPCD           Forbearance tvoe code
FULLDISB            Fullv disbursed loan indicator                             i
GRCDTBEG        1 Grace oeriod beam date
GRCDTEND            Grace period end date
INIREPTERM      ! Initial loan reoavment term
INSTL1AMT           Installment amount of loan reoavment schedule 1
INSTL2AMT           Installment amount of loan reoavment schedule 2
INSTL3AMT           Installment amount of loan reoavment schedule 3
INSTL4AMT           Installment amount of loan reoavment schedule 4
!NT1DTAPP           Aoolication date for interest tvoe code 1                  I
INT1DTBEG        I Effective beoin date for interest tvoe 1
INT10TEND        I Effective end date for interest tvoe code 1
INT1RATE             Interest rate for interest tvoe code 1
INT1TYPCD        i Interest tvoe code 1
INT2DTAPP           Aoolication date for interest tvoe code 2
INT2DTBEG            Effective beain date for interest tvoe 2
INT2OTEND            Effective end date for interest tvoe code 2
 INT2RATE            Interest rate for interest type code 2
 INT2TYPCD       1 Interest tvoe code 2

 INT3DTAPP        1 Application date for interest tvoe code 3


 INT3DTBEG       I Effective beCJn date for interest tvoe 3
 INT3DTEND           Effective end date for interest tvnf'l code 3
 tNT3RATE         ! Interest rate for interest tvpe code 3
 INT3TYPCD        I Interest tvoe code 3
 INT4DTAPP        I Aoolication date for interest tvoe code 4                  i
 INT4DTBEG        , Effective beoin date for interest tvoe 4                   !
 INT4DTEND        I Effective end date for interest tvoe code 4
 INT4RATE         : Interest rate for mterest type code 4
  INT4TYPCD       ! Interest type code 4
 !NTCAP FREQ          Interest caoitaHzation freQuencv {m number of months)
 LASTDISBAMT          Amount of last disbursement
  LASTDISBDT          Last Disbursement date
  LOANSEQID        1 Loan sequence number

  ORIGPRINAMT      l OriQmal amount of principal
  PGM                 Type of Loar                                                 I

  TIERSCEN            Prooram tier                                             I
                                                                                   I

  PGMYR               Prooram Year
  PNTSIGDT         i Date Prom Note Sionoo
  PNTYR               Prom Note Year                                           i
  REPDTBEG            Repayment begin date
  REPDTEND            Reoavment end date                                       i
  REPTERM1            Loan reoavrnent term 1                                       I




                                              30




                                      JA506
      Case: 22-1864     Document: 80                Page: 38        Date Filed: 11/22/2022




   Field Name                             Field Description                         I
REPTERM2           Loan reoavment term 2
REPTERM3           Loan repayment term 3
REPTERM4           Loan reoavment term 4
REPTYPCD           Tvoe of reoavment schedule disclosed
TERMDTBEG       I Loan term beoin date                                              !

TERMDTEND          Loan term end date
TIERPRICE           Tier once
TOTDISBAMT          Tota! amount disbursed for loan
TOTOTHRFEEAMT       Total amount of other fees for loan
DEFEROPTION         Current Loan Deferment ootion (I0/DF/DP/IM}
COMMONSEQ           Seauence for a Commonline aoolication
GUARAMT             Amount ouaranteed
INT1SPECCD          Special interest indicator for Interest type code 1
INT1SUBSCD          Subsidized interest elioibilitv code for interest type code 1
INT2SPECCD          Soecial interest indicator for interest tvoe code 2
INT2SUBSCO          Subsidized interest elioibilitv code for interest tvoe code 2
INT3SPECCD          Soecial interest indicator for interest tvoe code 3
INT3SUBSCO          Subsidized Interest eligibilitv code for interest tvoe code 3   '
INT4SPECCO          Soecial interest indicator for interest type code 4             I
INT4SUBSCD       : Subsidized interest elioibilitv code for interest tvoe code 4
LOANDTADD        . Effective loan add date
LOANDTSLD        I Date the Loan was sold                                           I
LOANOWNACCNR        The loan owners account number corresoondinQ to the loan
MLN              . Master Loan Note
MLNSEQltJ        ' Master Loan Note Seauence Number
MPNAPPTYPCD         Code for master orom note aoalication tvoe
MPNDTEXP            Date master orom note eimires
MPNTYPCD             Code for twe of master orom note
REGCATCD             R0aulatorv cateoorv code for Interest Rate
REPDISCDT         ; Date reoavment disclosure sent
TOTINSAMT         i Total amount of loan insurance oremIums
TOTORGFEEAMT         Total amount of loan orioination fees
BADDR1               Borrower's street address line 1
BADDR2            I Borrower's street address tine 2
BADOR3               Booower's street address line 3
BBIRTH            I Borrower's birth date                                           I
BCITY             i Borrower's citv loost office) address
BCRDSRE           ! Borrower Credit ratina score
BFIRST               Borrower's first name
BFOREIGNCT        I Borrower's Fore1an countrv address
BFOREIGNST         1 Borrower's Foreion state address

BLAST                Borrower's last name
SMID              ! Borrower's middle initial
BSSN                 Borrower Social Securttv Number
BSTATE               Borrower's state code
BSUFFIX              Borrower's last name suffix
BZIP               i Borrower's zip code




                                               31




                                         JA507
   Case: 22-1864          Document: 80          Page: 39        Date Filed: 11/22/2022




    Fie!d Name       i                        Field Description                 i
                                                                                I
CADOR1              Cosioner's street address line 1                            i

CADOR2              Cosianer's street address line 2
CADDR3              Cosioner's street address line 3
CBIRTH              Cosianer's birth date                                       i
CCITY           , Cosioner's citv toast office) address
CCRDSRE         i Cosioner Credit ratina score
CFIRST          i Cosioner's first name
CFOREIGNCT      I Cosioner's Foreion countrv address
CFOREIGNST      i Cosigner's Foreign state address
CLAST           ! Cosigner's last name
CMID                Cosigner's middle name                                      I

COBORRIND           Coborrower indicator
COMAKEIND           Comaker indicator
COSIGN IND          Cosianer indicator
CSSN            , CosiQner Social SecuritV Number
CSTATE          I Cosioner's state code
CSUFFIX          r Cosioner's tast name suffix

CZIP                Cosioner's zlo code
ENDORSINO           Endorser indicator
BACCID              Borrower Account ID
                 . Borrower's address indicator                                 l
BAODIND
BADDRDTCHG           Date of last chance to borrower's address information
CADORDTCHG           Date of last chanoe to cosianer's address information
CADORINO             Cosioner's address indicator
SACCID            i Student Account ID
ACA.DGRDL VL      i Academic Grade Level
SFIRST            • Student's first name
SLAST                Student's last name
SMID                 Student's middle name                                      '
SSSN                 Student's social securitY number
SSUFFIX           I Student's last name suffix                                  i
GUARCD               Guarantor code                                                 i
GUARREFID         I Guarantor reference identification number (ALE ID number)   '
LENDERID           l Lender Deoartment of Education code
OWNERBOND          : Owner bond issue identifier
OWNERCD            ! Owner code
OWNSHONM           I Institution short name
 GUARSCLCD         I Guarantor reporting code for school                            l
 CURSCLID            Identifier of the school currently enrolled in
                                                                                    '
 CURSCLNM          I Name of the current school
 CURSCLPROPIND       Current school proprietary school indicator
 CURSCLST          I Current school state mail cooe                                 i

 CURSCLTYPCD       1 Current school type code
 ORIGSCUD          , Orioinat scnool identifier                                     i
 ORIGSCLNM         I Name of the oriamating school                                  I
 ORIGSCLPROPIND • Oriciinal school oroor1etarv school 1nd1cator                     l
 ORIGSCLST         i Or,ciinal school state mail code                               i




                                                32




                                        JA508
   Case: 22-1864             Document: 80            Page: 40          Date Filed: 11/22/2022




                    I
    Field Name      I                           Field Oescrintlon
ORIGSCLTYPCD          Oriainal school tVDe code
CAPDTAPLD             Date the last caoitalization was aoolied
CURINSTAMT            Current installment amount
CURINTAMT             Current end of month borrower interest amount
CUROTHRAMT            Current end of month "other charaes~ amount
CURPRINAMT            Current end of month orincioal amount                               I

CYCLESTATCD           loan life cvcle status code
CYCLESUBCD          ! loan life cvcle sub status code
DELODTBEG             Date condition occurred - dellnauencv for installment
DELODTENO              End of delinouencv for installment date
DELQINTOTBEG           Date condition occurred • delinouencv for interest
DELQINTOTEND           End of deiinouencv for interest date
                                                                                          I
INICLMDTPO             Date initial claim oaid
INICLMOTREJ            Claim reiectlon/return actual posted date
INICLMDTRESUB          Date initial claim resubmitted
INlCLMOTSUB         1
                       Date initial claim submitted
INICLMREASCD           Reason code for the claim/oreciaim
LOANSUBSTATCD          Loan Sub-status used for reoorting
NXTINSTDTOUE           Date the next installment bill is due
PREClMDTSUB            Date oreclaim submitted
                                                                                          !
TOTCAPINTAMT           Total amount of interest caooed                                    i
ZEROBALCD              An attribute to reoort zero balance reason code                    l
 ZEROBALDTAPLD         A attribute for date zero balance aoolied
 ZEROBALDTEFF        1 A attribute for date zero balance effective                        !
 ZEROBALSUBCD        l An attribute to reoort zero balance sub-reason code
 AVGDAYBALAMT        ! AveraM dallv balance amount
 LASTPMTOT             Date of the last borrower oavment
 PREVINTAMT            Amount of previous month borrower interest
 PREVPRINAMT           Amount of previous month principal
 SUPClMDTPD          1 Date suoolemental claim oaid

 SUPClMDTRESUB       i Date sunnlemental claim submitted
 CREATEOATE          i Creation date for this record                                      I




Transaction Detail File


Field Name
                        !'
                        l
                            Old Field
                             Name       I                     Field DeseriDtion
TRANI □                 i TRANID      ! Uniaue Transaction ID
RPTMTHBEG               1 RPTMTHBG    ! First dav of reoortino oeriod
RPTMTHEND               i RPTMTHED : Last dav of reoortino oertod
FINATYRPCD              1 FINATYRP    l Financial activitv transaction reoort l!ne code
CLUID                   1 LOANID      I Uniaue Loan Identifier
BSSN                    l BSSN        I Borrower Social Security Number
LOANSEQID               I SEQ           Loan s~uence number
OWNERCD                 I OWNER         Owner code
OWNERBOND                 BONDISS       Owner bond issue identifier




                                                    33




                                             JA509
   Case: 22-1864           Document: 80           Page: 41          Date Filed: 11/22/2022




                          Old Fleld
Field Name           Name                                  Field Description
PGM               PROGRAM           Current loan orooram beino disolaved
GUARREFIO         GUARREF         i Guarantor reference ID number
FATDTAPL        I FATAPL          • Date financial activity transaction applied
FATDTEFF        I FATEFF          I Date financial activity transaction effect
CSHADVCD          CSHADV            Financial Activitv transaction cashiadv code
FATPRECLMFEEAMT : FTPCLFEE          Amount of oreclaim fee financial activity transaction
                                    Amount non-subsidized borrower interest financial
FATNSIAMT               FTNSI       activitv transaction
FATLTEFEEAMT            FTLTEFEE    Amount of late fee financial activitv transaction
FATCURPRIAMT            FTCURPRI    Amount of current orinc1oal financial activitv transaction
FATTYPCD              I FATTYP    ; Financial activitv transaction tvne code
FATSUBTYPCD             FATSUBTYP I Financial activitv transaction subtvoe code
                                  I Indicates this is the reapplied financial actMty of a prior,
FATRAPIND             I FATRAP    , now inactive financial activity transaction




For purposes of early awareness services, the Servicer shall also send a monthly file of borrowers
who will enter repayment within the upcoming 60 days.




                                                  34




                                          JA510
    Case: 22-1864            Document: 80         Page: 42        Date Filed: 11/22/2022



                                                                               Execution Version


                 Exhibit B to Default Prevention and Collection Senices Agreement
                                    Default Prevention Services


Work Description
NCO shall provide Dedicated Staff to make outbound calls related to accounts 30 days or greater
past due referred by Special Servicer and receive inbound calls resulting from NCO's efforts.
NCO will also draft and mail letters and conduct other activities reasonably calculated to perfonn
the Services.
Hours of Operation/Staffmg
    1. NCO agrees to maintain the following hours of operation for this engagement:
                        Monday- Thursday: 8:00 AM - 10:00 PM EST
                        Friday: 8:00 AM - 5:00 PM EST
                        Saturday/ Sunday: Four hour shift between 9:00 AM - 9:00 PM EST
    2. Holidays - NCO and Special Servicer mutually recognize the following holidays:
           a. New Years Day
           b. Easter Sunday
           C.    Labor Day
            d. 4th of July
            e. Memorial Day
            f.   Thanksgiving Day
            g. Christmas Day
Telephone Attempts/ Account Intensity
    I. NCO will Attempt to Contact the customer through a oombination of automated and
       manual calls to resolve tbe delinquency on the assigned account, in compliance with state
       and federal law.
    2. NCO '"'ill Attempt to Contact each account by making day, evening and weekend
       Attempts at both home and business numbers provided for both the primary debtor and
       cosigner if applicable.
    3. NCO agrees to schedule associates assigned to Special Servicer's portfolio such that a
       minimum of 65% of all Attempts are made during prime time hours, which for this
       engagement will be defined as:
                    8:00AM -11:00AM M-F local to the debtor
                    5:00PM - 9:00PM M-Th local to the debtor
                    Saturday and Sunday
    4. NCO will Attempt to Contact both the borrower and cosigner (if applicable) on each
       account provided to NCO for collections a minimum of five (5) times on a monthly basis.




                                           JA511
   Case: 22-1864          Document: 80           Page: 43        Date Filed: 11/22/2022




   5. 550 accounts per seat target
Key Performance Indicators
   I. NCO and Special Servicer mutually agree that the following KPI' metrics will be used as
      a means of measuring A gent'Departmental productivity:
           a. Portfolio value
           b. Average # horrowers per FTE
           c. Total Peak Hours to Total Hours worked(%)
           d. Total Right Party Contacts to Total Borrowers(%)
           e. Total Promises to Pay to Total Right Party Contacts(%)
           f. Total Promises to Pay to Total Borrowers(%)
           g. Total Cured (S)
           h. Total Borrowers Cured(#)
Performance Scorecatd and Reviews
There will be a periodic scorecard produced to review NCO's performance. In addition, there
will be at a minimum a quarterly review that will take place at either the place of business of
NCO, place of business of Special Servicer or via telephone conference as agreed by the parties.
The quarterly review will be focused on the performance of NCO in the previous quarter and
discuss how performance can be improved and important updates as it relates to Special
Servicer's business and portfolios.




                                                2




                                         JA512
    Case: 22-1864          Document: 80         Page: 44        Date Filed: 11/22/2022



                                                                             Execution Version


              Exhibit C to Default Prevention and Collection Services Agreement

                                  Default Prevention Reports


Monthly Flow Report showing trend analysis and roll rate showing accounts in defennent, grace.
and repayment by JO.day increments from current through 120 days past due.




                                         JA513
   Case: 22-1864           Document: 80           Page: 45          Date Filed: 11/22/2022



                                                                                  Execution Version


              Exhibit D to Default Prevention and Collection Services Agreement
                                   Default Collection Services


DEFINITJONS
Post-Default Accounts:
       First Placement Accounts: Accounts that have not been subject to previous collection
       efforts on Special Servicer's behalf by any other entity other than Special Servicer's staff.
       Second Placement Accounts: Accounts that, prior to transfer to NCO, have been worked
       by one other collection agency.
       1bird Placement Accounts: Accounts that, prior to transfer to NCO, have been worked
       by two other collection agencies.
Litigation Accounts: Accounts that have been authorized by Special Servicer for Litigation as
provided in Section l of the Agreement.
POST DEFAULT ML"NIMUM WORK ST AND ARDS
        Within Twenty-Four (24) hours of placement, NCO shall scrub file against bankruptcy
notification data base, either on-line or batch process, before collection effort is pursued. The
account should be immediately closed and returned with no collection effort if a bankruptcy "hit"
is returned, UNLESS the bankruptcy discharge was issued prior to loan origination or the
bankruptcy was dismissed.
       Credit Bw-eau reports or credit headers shall be pulled on all accounts within two (2)
business days of placement.
•       A validation notice as outlined in the Fair Debt Collection Practices Act (FDCPA) shall
be sent within twenty-four (24) hours of placement.
      Within five (5) business days the first phone Attempts shall be made by NCO to both the
borrower and co-borrower.
        In the event Contact is made within the first five (5) business days of placement, a
promise to pay or a commitment should be made to pay the balance in full. settle the balance in
full within the !,'llidelines provided by Special Servicer or payment sufficient for the account to
he considered for eligibility in a repurchase program as determined by Special Servicer (the
"Repurchase Program")
      Within the first thirty (30) days of placement, if NCO detennines it has a valid phone
number. four (4) Attempts per week shall be made during strategic hours of the work day. A
message should not be left if another Contact will be completed on the same day.
       Within the first thirty (30) days of placement, if NCO detennines it does not have a valid
phone number, the account shall be statused as a skip account and skip tracing efforts are to
commence no later than forty-eight (48) hours after determining the number is invalid.
       Continued Attempts after the first thirty (30) days shall continue at the rate of one(])
time per week.
        Skip Tracing Activities after thirty (30) days or until Contact or closure:




                                           JA514
    Case: 22-1864            Document: 80           Page: 46         Date Filed: 11/22/2022




Minimally, all available skip tracing tools shall be utilized and efforts Attempted three (3) times
per month or until borrower is located or the accowit(s) is closoo. Skip tracing tools may include
but are not limited to:
•Nearby and same last name
•credit Bureau
•Property Verification
*University and/or College directoryiregistration
*Internet on-line services
*Voter Registration data bases
*Directory Assistance
All possible telephone numbers found should be Attempted within 24 hours, if legal to do so, to
determine validity.
        Borrowers who do not qualify or who cannot reasonably afford amortized payments
under the Repurchase Program guidelines should be placed in a temporary reasonable and
affordable partial payment arrangement. The payment arrangement should be reviewed every
four (4) months to determine if the borrower can afford a higher payment, can pay the loan
balance or can settle the loan wider the Special Servicer settlement guidelines.
       In addition to account closure in accordance with the terms of the attached Agreement,
accounts shall also be closed ifthere is a thirty (30) day work gap. Work is defined as an
Attempt to Contact, a skip Attempt or some fonn of activity in an attempt to resolve the account.
LITIGATION MINIMUM WORK STA:.~DARDS
         Within Twenty-Four (24) hours of placement or authorization to litigate, NCO shall scrub
the file against bankruptcy notification data base, either on-line or batch process, before
collection effort is pursued. The account should be immediately closed and returned with no
collection effort ifa bankruptcy "hit'' is returned, UNLESS the bankruptcy discharge was issued
prior to loan origination or the bankruptcy was dismissed.
        Credit Bureau reports or credit headers shall be pulled by NCO on all accounts within
five (5) business days of placement or authorization.
•       A validation notice as outlined in the Fair Debt Collection Practices Act (FDCPA) shall
be sent by NCO within two (2) business days of placement or authorization. Upon outsourcing
to local counsel, Attorney may also send an additional validation notice if appropriate.
       Within five (5) business days the first phone Attempts shall be made by NCO to both the
 borrower and co-borrower.
         ln the event Contact is made, a promise to pay or a commitment should be made to pay
 the balance in full, settle the balance in full within the guidelines provided by Special Servicer or
 payment sufficient for the account to be considered for eligibility in the Repurchase Program..
          From the date of placement or authorization until the account is either outsourced to local
 counsel or has satisfactory payment arrangements made as described above, if NCO determines
 it has a valid phone number, NCO shall make phone Attempts at the rate of four (4) times per




                                                   2




                                            JA515
      Case: 22-1864           Document: 80           Page: 47         Date Filed: 11/22/2022




week at different times of the day, including at least two evening (e.g., after 5 p.m. debtor's time)
or weekend Attempts. Attempts will be made on both the borrower and co-borrower.
       Within the first thirty (30) days of placement or authorization, if NCO determines it does
not have a valid phone number, the account shall be statused as a skip and skip tracing efforts are
to commence no later than forty-eight (48) hours after determining the number is invalid.
•          Skip Tracing Activities after thirty (30) days or until Contact or closure:
Minimally, all available skip tracing tools shall be utilized and efforts Attempted three {3) times
per month or until borrower is iocated or the account(s) is closed. Skip tracing tools may include
but are not limited to:
*Nearby and same last name
*Credit Bureau
*Property Verification
*University andJor College directory/registration
"'lnternet on-line services
•voter Registration data bases
*Directory Assistance
* Local professional licensing authority
         Borrowers who do not qualify or who cannot reasonably afford amortized payments
under the Repurchase Program guidelines should be placed in a temporary reasonable and
affordable panial payment arrangement. The payment arrangement should be reviewed every
four ( 4) months to determine if the borrower can afford a higher payment, can pay the loan
balance or can settle the loan under the Special Servicer settlement guidelines.
           Any Broken Commitment:
           Litigation should be pursued immediately if there is a broken commitment.
           Broken Payment Commitment:
           Litigation should be pursued immediately if there is a broken commitment
           Returned (NSF) Item:
           All efforts should be made to resolve the issue and reinstate payments. If unable to
           resolve within reasonable period oftime, litigation should be pursued.
           Once the account(s) is outsourced to local counsel. Attorney (and NCO if appropriate)
    will continue diligent collection efforts in concert with the legal proceedings.
           Attorney and NCO must track the progress of the suit and assure all service is made in
    accordance with applicable iaws, all deadlines are met and seek default judgments whenever
    appropriate.
           Attorney must make NCO immediately aware, and NCO will make Special Servicer
    immediately aware, of any and all counterclaims or defenses filed by borrowers in response to
    the Complaint.




                                                      3




                                              JA516
    Case: 22-1864          Document: 80           Page: 48         Date Filed: 11/22/2022




        If available, Attorney (and NCO if appropriate) shall make the borrower aware of his/her
options under the Repurchase Program. Only after it is determined that the borrower cannot or
will not make the payments needed to become eligible for consideration in the Repurchase
Program, should payment arrangements be established after the suit has been filed and the
Attorney shall pursue a stipulated judgment when appropriate to protect Special Servicer's
interests in the event the arrangement is not paid as agreed.
       If a witness is needed to provide testimony or other evidence at a trial or other hearing,
whether live or telephonic, the Attorney shall submit a "Witness Request Form" provided by
Special Servicer to NCO and NCO shall in turn submit said "Witness Request Form" to Special
Servicer no later than fifteen (15) days prior to the scheduled hearing.
        Attorney shall submit any judgment received, and complete the "Judgment Form"
provided by Special Servicer within five (5) days ofreceipt to NCO. NCO v.rill in tum provide
both the judgment and the HJudgment Form" to Special Servicer within five (5) days of receipt
All fields on the "Judgment Form" must be completed in their entirety by Attorney.
        Attorney (and NCO if appropriate) must pursue collection efforts through appropriate
legal means available (e.g., wage garnishments, liens, etc.) once judgment is entered. At least
one (1) Attempt to secure post-judgment collection shall be made by Attorney (or NCO if
appropriate) per month. These efforts may include, but are not limited to. phone contact,
attempts to locate attachable assets such as bank accounts, property searches and employment
searches.
•       Special Servicer may, at its sole discretion, close any account and have it returned at any
time. For each account closed, NCO shall submit a closing statement which shall include
borrower name, social security number, Special Servicer account number, amount of funds
expended, any funds remaining, closing balance, payments received and any judgment
information entered. Any funds remaining shall be forwarded to Special Servicer within thirty
(30) business days of closure. The litigation closing statement requirements are separate and
distinct from the systemic "closed report" filed each month by NCO.
•       Special Servicer will not pay a non-contingent suit fee or any other up-front fee to NCO
or Attorney unless Special Servicer has provided its prior express written agreement to pay such
fees,
        NCO agrees to provide regular case status reports to Special Servicer at no greater than
quarterly intervals as directed by Special Servicer.
       NCO agrees to immediately provide copies of all correspondence and pleadings
generated in connection with a contested matter (contested matter being defined as any civil
action where the defendant has filed an answer or other pleading or motion).
        Attorney agrees to file a Motion for Summary Judgment in all cases unless prohibited
from doing so by local rules of court or Special Servicer and Attorney otherwise mutually ahrree
that Attorney should not file such a Motion.
REMITT Ai'ICE PROCESS
The following work standards related to remittance processes are applicable to all types of
placements.




                                                  4




                                           JA517
  Case: 22-1864           Document: 80           Page: 49         Date Filed: 11/22/2022




        Remittances shall be processed on a weekly basis, whether by electronic wire or by check
and have a remittance statement submitted. All remittance statements are to contain: borrower
name, Special Servicer account number(s), placement type (e.g., first, second, third or litigation),
commission rate. payment amount, commission amount, payment date, application of funds (i.e.,
costs, principal, interest, etc.), and balance after payment applied.
        Any payment that does not result in good funds is to be posted immediately and included
in the most current weekly remittance report as with any other pa:,,ment information.
       NCO shall submit net remittances of all monies collected. NCO shall maintain copies of
each invoice paid on each account.
       NCO shall maintain copies of all pa)'ment documents for a minimum of three years.
SETTLEMENT PROCESS
Subject to any contrary account~specific instructions from Special Servicer, the following work
standards related to settlement processes are applicable to all types of placements.




                                                  5




                                         JA518
    Case: 22-1864          Document: 80           Page: 50         Date Filed: 11/22/2022



                                                                                Execution Version


               Exhibit E to Default Prevention and Collection Services Agreement

                                   Default Collection R;ports



NCO shall produce status and reconciliation reports to Special Servicer as follows.
      a.      NCO will report the status of all accounts on a monthly basis, itemized by
borrower Social Security number and additional identifying data, including but not limited to
placement type (as defined in Exhibit D).
       b.     NCO will report to Special Servicer, on a monthly basis, in a format acceptable to
Special Servicer, the recovery percentage for all loans by each placement segment A
"placement segment'' is defined as the number of loans placed with NCO in a given month, day,
and year. Accounts shall be identified in this report by placement type.
        c.     Within twenty-four (24) hours of each placement of accounts by Special Servicer
to NCO, NCO will submit to Special Servicer, for reconciliation purposes, a written report
outlining each account and the dollar value thereof, as well as the total nwnber of accounts and
the aggregate dollar amount for each placement of accounts made by Special Servicer to NCO.
NCO shall, on the same day of each placement, acknowledge both the total number of accounts
placed and the aggregate balance thereof in writing. Accounts shall be identified in this report
by placement type.
       d.     ~CO will report to Special Servicer for reconciliation purposes the aggregate
number and aggregate current balance of all accounts, whenever placed, which are active with
NCO. Accounts shall be identified in this report by placement type. This report will be
submitted annually within thirty (30) days following the end of Special Servicer's fiscal year.
        e.      NCO will report to Special Servicer, on a weekly basis (or an alternative periodic
interval chosen by Special Servicer), the payments received by NCO for reconciliation by
Special Servicer of the remittance outlined in Section 2.6. Such report shall include, but not be
limited to, borrower name, account number(s), placement type, corresponding commission rate,
payment amount and commission amount
The foregoing reports are not exclusive of any other reasonable requests for information that
Special Servicer may have from time to time.




                                          JA519
  Case: 22-1864         Document: 80         Page: 51        Date Filed: 11/22/2022



                                                                           Execurion Version




              Exhibit F to Default Prevention and Collection Services Agreement

                                    Settlement Authority


None at time of execution




                                       JA520
    Case: 22-1864          Document: 80          Page: 52        Date Filed: 11/22/2022



                                                                               Execution. Version


              Exhibit G to Default Prevention and Collection Services Agreement

                                   Early Awareness Services


        1.     NCO shall develop and carry out a "Borrower Repayment Education And
Counseling" program for borrowers about to enter repayment. NCO shall use its "propensity to
pay" model that for prioritizing and segmenting accounts and will perform early awareness
service for accounts within the bottom 50% of propensity to pay scores. The specific objective of
this program is to educate borrowers of upcoming payment requirements and advise borrowers,
if authorized under the circumstances, of the existence of deferment, forbearance and modified
graduated repayments ("MGRS") alternatives under applicable Program Guidelines, to reduce
the number and percentage of borrowers becoming subsequently delinquent in the repayment
process.

       2.     At the beginning of the program, NCO shall receive from Special Servicer an
estimated monthly volume of 5,000 to 7,000 borrower accounts (approximately 40% of
borrowers entering repayment) that are 30-45 days prior to entering repayment. Variances of
plus/minus 10 percent of the estimated monthly volume will be considered as within the target
range of accounts to be placed. If mutually agreed by Special Servicer and NCO, Special
Servicer may elect to send additional monthly placement volume to be worked by NCO.

        3.     It is estimated that 70% of the borrower accounts will have cosigners.

        4.     The ''work period" shall be 30 days from date of placement.

        5.      NCO and Special Servicer will work cooperatively with the Trusts' primary
servicer, American Education Services ("AES.,), to establish whether NCO will comact
borrowers "as NCO,'' "on behalf of the owner of your loan'' or "on behalf of AES,'' or such other
designation as the parties may agree the distinction being a function of the nature of the
relationship established, which is not under the control of either Special Servicer or NCO. NCO
will not hold itself out "as" AES.

      6.      On accounts with cosigners, NCO will Attempt to contact both the primary
borrower and cosigner,

       7.     NCO shall initially conduct this program in its NCO facility, which offers low
domestic U.S. labor costs, and thus advantages this project.

       8.     NCO may at its sole discretion decide to expand or move this program to another
NCO facility. Such a move shall not have an impact on the fees paid to NCO by or the service
hereunder provided to or on behalf of Special Servicer pursuant to this Agreement

        9.      Upon receiving and loading each monthly placement from Special Servicer, NCO
shall use the following contact methodology ("'waterfall approach") in an effort to maximize the
contact rate of the Trusts' borrowers:




                                          JA521
   Case: 22-1864          Document: 80           Page: 53        Date Filed: 11/22/2022




              a.      Send an email to all borrowers and cosigners for whom NCO has received
an email address on the placement file. The content of the email, to be jointly developed by
Special Servicer and NCO, will be approximately as follows:

                    i.      Congratulate borrowers (or cosigners on behalfof the borrowers)
on graduating and presumed entrance / re-entrance into working world.

                 ii.       Alert borrowers that they will be contacted shortly to discuss the
upcoming repayment status.

                   111.       Encourage borrower in the meanwhile to call in to NCO's inbound
800 number set up specifically for this program to speak with a loan counselor standing by with
important information.

              b.      Immediately begin calling campaigns:

                      1.        NCO loan counselors will Attempt to contact all borrowers on the
Spe.cial Servicer data file for whom NCO has received "good" contact information. NCO loan
counselors will skip-trace all "bad" numbers. \Vhere good number(s) are subsequently obtained,
NCO will update Special Servicer (and/or AES) records.

                      ii.      NCO shall make several Attempts to contact each borrower using
the telephone numben; provided by Special Servicer over the first ten business days at different
times of day (if directed by Special Servicer). Periodically, depending on the number of
borrowers remaining to be contacted. NCO may conduct outbound calling efforts on Saturdays,
as appropriate.

                    111.      If a borrower is contacted and a counseling session is conducted
there may be no need to send a letter (see "Letter Campaigns"), although a follow-up email with
appropriate Special Servicer collateral material may be desirable.

                   iv.       If a borrower is not contacted, then NCO may send a letter (see
·'Letter Campaigns") with similar information to the email.

                   v.       NCO loan counselors will continue attempting to contact the
borrower throughout the work period (using best contact methodology-Le. varying times. days
of week-including, as noted above, Saturdays-etc.)

               c.      Letter campai!:,rns

                     i.       In an effort to measure the effectiveness of various letter
campaigns, at Special Servicer's direction NCO will split the monthly account placements into
two groups and apply a different letter strategy to each. At any time Special Servicer can direct
NCO to change the percentage of accounts going to either group or to stop the multiple strategy
approach entirely and apply only one strategy to all accounts.




                                             JA522
    Case: 22-1864          Document: 80          Page: 54         Date Filed: 11/22/2022




                              l.    Group I: NCO will mail letters to all borrowers in Group I
immediately upon receipt of the account placement.

                             2.      Group 2: NCO will mail letters to all borrowers in Group 2
who have not yet been contacted after an initial attempt period of l 0 business days.

All mailings will have an address correction request included and, where change of address is
noted, Special Servicer files will be updated.

       10.    NCO Hours of Operation

                       a.     NCO will set hours of operation to give the best opportunity to
optimize contact rate of the Trusts' borrowers and to be consistent with and fully compliant with
all requirements of law and regulation.

         11.    Prior to initiating any contact with borrowers, NCO will work in conjunction with
Special Servicer to develop appropriate scripting for phone contacts, with such scripting
reflecting the brand look and feel that Special SetVicer wishes to convey. This scripting will be
articulated in the Statement of Work Amendment, separate from this Agreement and will
incorporate among other aspects, the circumstances under which NCO shall be authorized to
advise borrowers of the existence of deferment, forbearance and MGRS alternatives under
applicable Program Guidelines.

NCO anticipates that the call will be conducted in approximately the following manner:
               a.     Validate that we are speaking with the right party.

               b.      Introduce ourselves as a loan counselor calling from NCO (or on behalf
of) AES in reference to their private student 1oans held by the Trusts. Special Servicer will
provide the loan holder information to NCO so NCO can use this infonnation in the scripting.

              c.    Explain the purpose of the call is to remind borrower of upcoming
repayment requirements and to gauge borrower's preparedness and intent to meet upcoming
requirements.

               d.      Receive payment commitment from borrowers.

               e.      Attempt to set borrower up on automatic debit program.

                    L        If allowed by AES, NCO will use web-based technology to enable
the borrower complete and electronically sign an automatic debit fomt.

                      ii.      If a web•enabled process is not allowed by AES, NCO will either
email the borrower the appropriate form or direct the borrower to AES's web site
www.asessuccess.on! where the form is available online. The borrower will then be required to
print, sign and return the form either to NCO to be forwarded on to AES or to AES directly.




                                          JA523
   Case: 22-1864          Document: 80         Page: 55         Date Filed: 11/22/2022




               f.     Ask several brief probing questions that will capture important borrower
information to be used when constructing the post-pilot full-scale implementation program.

      12.     Toe following steps will be included in the Borrower Repayment Education And
Counseling Program:

NCO will document "results codes" to track key data. In addition to tracking contacts,
commitments and other operational metrics, NCO will be able to quantify (and subsequently
analyze) responses to key qualitative questions.

Sample of potential questions:

              ls borrower prepared to meet repayment requirements?
              ls borrower already employed?
              What is starting income?
              Does borrower have concerns over upcoming repayment requirements?
              What are concerns? (no job, not enough income, percent of disposable income
              going to debt service, etc.)
              Does borrower have other private loans? (dollar ranges, lenders) Probe for future
              private loan consolidation opportunities. (In the aggregate, NCO will be able to
              perform analysis for Special Servicer showing borrowers according to balances
              held by a listing of other lenders-this is important information for assessing
              potential risk of prepayment through third•party consolidation ofTrust loans).
              Status ofFFELP loans and repayment plans

        13.    NCO shall develop and submit to Special Servicer, frequency to be determined in
consultation with Special Servicer, management reports with key program performance
indicators.

        14.     NCO and Special Servicer will conduct meetings every, frequency to be
determined in consultation with Special Servicer, to review the management reports and have a
qualitative discussion about the program.

        15.    NCO will supply its proprietary contact system and all necessary supporting
inbound and outbound telephony, data networking. email, and secure web•based applications
required to support the program, activities, and reporting described herein. All NCO technology
used in the program shall be provided at no additional cost. All technology and related systems
and applications may be audited by Special Servicer at any time during regular business hours.




                                        JA524
    Case: 22-1864         Document: 80          Page: 56         Date Filed: 11/22/2022


                                                                              Execution Version


              Exhibit H to Default Prevention and Collection Services Agreement




Early Awareness:

For loans that are referred to the Early Awareness vendor for pre•call and letters and ACH
enrollment 60 days prior to 1st payment due date:

$20 per borrower Contact and $0.51 (fifty-one cents) per letter sent, which may be adjusted
for increases implemented by the United States Postal Service, cent for cent.

Default Prevention:

For loans that roll at 31 days from servicer to NCO Default Prevention Collectors and to be
managed up until 180 days past due or lender mandated charge off date, including loans in
Claims Review:

$4600 per seat ($4600 per seat fee shall be increased by 3% each year on the anniversary of
the Effective Date without further action by the parties) and $0.51 (fifty-one cents) per
letter sent, which may be adjusted for increases implemented by the United States Postal
Service, cent for cent.

The per seat default prevention fee above shall be subject to an annual incentive payment,
calculated as follows:

For each 30-day delinquency period (i.e., 31-60, 61-90, etc.), the percentage of loans that
were in one delinquency period and progressed from that period to the next delinquency
period (the ..flow rate") shall be calculated for each of the three prior 12-month intervals.
The baseline now rate for each delinquency period for each 12-month interval shall be:
(0.70 x the flow rate for the immediately preceding 12 months)-;- (0.15 x the flow rate for
each of the prior two 12-month intervals).

For each delinquency period in the 12 months under consideration for incentive payment:
(a) if the flow rate is more than 2.0% less than the baseline flow rate (e.g., less than 18% on
a baseline flow rate of 20°/o), then an incentive of 12% shall be paid for each seat dedicated
to default prevention in that delinquency period;
(b) if the flow rate is equal to or less than the baseline flow rate, but more than 2.0% less
than the baseline now rate (e.g., equal to or more than 18¾ and less than 20% on a
baseline flow rate of 20%), then an incentive of 6% shall be paid for each ,eat dedicated to
default prevention in that delinquency period; and
(c) if the flow rate is greater than the baseline flow rate, no incentive shall he paid.




                                         JA525
  Case: 22-1864            Document: 80           Page: 57         Date Filed: 11/22/2022




For purposes of the above incentive calculations, flow rates shall be rounded to the nearest
whole number (i.e., rounded down for 0-4 tenths of a percentage and rounded up for 5-9
tenths of a percentage).

Post Default Collections (including probate recoveries):

NCO to utilize Default Collectors for all of post default collections prior to litigation

25% (30 11/e for recalled defaulted accounts recalled from other agencies following the
Effecdve Date)

Litigation:

NCO to manage Default Collectors' attorney network for accounts referred to litigation:

35%




                                          JA526
Case: 22-1864   Document: 80   Page: 58   Date Filed: 11/22/2022




                         JA527
              Case: 22-1864       Document: 80        Page: 59         Date Filed: 11/22/2022




     FIRST AMENDMENT TO DEFAULT PREVENTION AND COLLECTION SERVICES
                              AGREEMENT
        This First Amendrr,ent to Default Prevention and Collection Services Agreement (hereinafter
"Amendment") is entered into by and between First Marblehead Education Resources, Inc. ("FMER"), a
Delaware corporation with a principal place of business at 800 Boylston St., 34th Floor, Doston, MA
02199 (together with its successors and assigns, the "Special Servicer") and NCO Financial Systems, Inc.,
a corporation organized under the laws of the Commonwealth of Pennsylvania having a place of business
at 507 Prudential Road, Horsham, PA 19044 (together with its successors and assigns, "!\CO"), and
amends that certain Default Prevention and Collection Services Agreement entered into by and between
FMER aml NCO and dated as of March 1, 2009 (the '·Agreement"). This Amendrnen~ is executed as of
May 1, 2009.
       NO\V THEREFORE. in consideration of the mutual promises contained herein and other good
and valuable consideration, the receipt and sufficiency of which are hereby acknowledged by the parties,
it is hereby agreed as follows:

1.    Restatement of Reeitals. Special Servicer and NCO hereby amend and restate the recitals to the
Agreement by deleting them in their entirety and replacing them with the following:
        "WHEREAS, FMER as the initial Special Servicer currently provides administration services to
certain Delaware statutory trusts (the "Kon-Ambac Trusts") consisting of alternative student loans
("AS Ls"), including the provision of default prevention and collection management services pursuant to
that certain Special Servicing Agreement entered into by and among FMER as Special Servicer, U.S.
Dank National Association ("U.S. Bank"), (in such capacity, the "Back-Up Special Servicer") and the
Non-Ambac Trusts party thereto and dated as of March L 2009 (the "Non-Ambac Special Servicing
Agreement"); and
        WHEREAS, FMER entered into an additional agreement to serve as the initial Special Servicer to
provide administration services to certain additional Delaware statutory trusts consisting of alternative
student loans ("AS Ls") (the "Ambac Trusts", together with the Non-Ambac Trusts, referred to in this
Agreement as the "Trusts'') in which Ambac Assurance Corporation ("Ambac") is a credit facility
provider, including the provision of default prevention and collection management services pursuant to
that certain Special Servicing Agreement entered into by and among F~1ER as Special Servicer, U.S.
Bank National Association ("U.S. Bank") (in such capacity, the "Back-Up Special Servicer"), Ambac,
and the Ambac Trusts party thereto and dated as of May 1, 2009, and any successor agreement thereto
entered into by and among Hv1ER, U.S. Bank, Ambac, and the Ambac Trusts (the "Ambac Trusts Special
Servicing Agreement") (together with the Non-Ambac Special Servicing Agreement, the "Special
Servicing Agreements"); and
        WHEREAS, NCO provides default prevention and collections services (the "Services'') to
financial institutions; and
        WHEREAS, the initial Spceial Servicer and NCO desire to arrange for the outsourcing of certain
default prevention and collections activities to NCO for the Trusts in the event that the I3ack-L:p Special
Servicer becomes the Special Servicer under either or both of the Special Servicing Agreements pursuant
to Section 8 of either or both of the Special Servicing Agreements; and

        WHEREAS, NCO is willing to provide certain default prevention and collection activities as
herein provided in the event that the Back-Up Special Servicer becomes the Special Servicer."

2.      Restatement of Services Generally. Section 2, I of the Agreement is hereby amended and restated
to read as follows:
      I   I




                                               JA528
        Case: 22-1864          Document: 80           Page: 60         Date Filed: 11/22/2022




       "Special Servicer hereby retains NCO to perform the Services set forth herein in the event that,
        and only in the event that, Special Servicer (including for the avoidance of doubt, U.S. Bank in its
       capacity as successor Special Servicer) notifies NCO in writing that the Back-Up Special Servicer
       has assumed the duties of the Special Servicer pursuant to Section 8 of either or both of the
       Special Servicing Agreements. The parties acknowledge and agree that the foregoing reference to
       the Special Servicing Agreements is intended only as a reference to the conditions under which
       performance of the Services under this Agreement will begin; it is does not and shall not create
       duties or obligations for NCO under either of the Special Servicing Agreements. The parties
       further agree that upon U.S. Bank assuming the duties of Special Servicer under the Servicing
       Agreement, all references to "Special Servicer" in this Agreement shall, unless otherwise provided
       or the context otherwise requires, be deemed to refer to U.S. Bank acting in such capacity. The
       date of the beginning of the performance of services by NCO referenced in the foregoing sentence
       shall be the "Effective Date" for purposes of this Agreement (it being acknowledged that NCO
       shall commence performance of the Services set forth herein immediately upon being notified of
       the assumption by the Back-Up Special Servicer of the duties of the Special Servicer under either
       or both of the Special Servicing Agreements or such later date (if any) as shall be specified in such
       \Vritten notice). In order for NCO to carry out its duties under this Agreement with respect to the
       Services, as of the Effective Date, the initial Si_:ccial Servicer shall cause the Servicers to provide
       to NCO (a) consumer file data in the manner and form described in Exhibit A (as amended from
       time to time by Special Servicer), and (b) view-only access to borrower ASL accounts on the
       Serviccrs' systems. NCO shall use such data for the purposes of performing the Services, risk
       modeling, providing reports as set forth in this Agreement, forecasting and billing."

3.     Successors and Assigns. Special Servicer and NCO hereby amend the references to the "Special
Servicing Agreement'' in Section 11.6 of the Agreement to instead be references to the "Special Servicing
Agreements''.

4.   Full Force and Effect. This Amendment amends the Agreement only as expressly set forth in this
Amendment. As arnended herein, the Agreement remains in full force and effect according to its terms.

5.    Counterparts. This Amendment may be executed in multiple counterparts, each of which sha:I be
deemed an original, but all of which together shall constitute one and the same document.
IN WITNESS WHEREOF, the parties have executed and delivered this Agreement, as of the day and
year first above written, to be effective as of 1\,1ay 1, 2009.


                      FIRST MARBLEHEAD EDUCATION RESOURCES, INC.


                      By:
                      Its:




                                               JA529
  Case: 22-1864               Document: 80              Page: 61            Date Filed: 11/22/2022




                                       SECOND A.1\IENDMENT TO
              DEFAULT PREVENTION A.1\/D COLLECTION SERVICES AGREEMENT

        This Second Amendment to Default Prevention and Collection Services Agreement fthis
"Amendment") is entered into      and between First Marblehead Education Resources, Inc. ("FMER"), a
Delaware corponition with a p1inc1pal place of business at 800 Boylston St.. 341h Floor, Boston. MA
02199 (together with its successors and assigns, the '"Special Servicer") and NCO Financial Systems, Inc.,
a corporation organized under the laws of \he- Commonwealth of Pennsylvania having a place of business
at 507 Prudential Road, Horsham, PA 19044 (together with it& successors and assigns, "NCO"), and
arneuds that certain Default Prevention and Collection Services Agreement entered into by and between
FMER and NCO and daled as of March 1, 2009, as amended by that certain First Amendment to Default
Prevent1on and Collection Services Agreement entered into by a..'ld between ThfER and NCO and dated as
of May l, 2009 (as amended, restated, supplemented or otherwise modifie-0 thrnugh the date hert-<.lf, the
"Agreemenf'). This Amendment is executed as ofJune 15, 2012.

        NOW, THEREFORE, in consideration of the premises set forth above, and other good aud
valuable con.sideratic,n, the receipt ,md sufficiency of which arc hereby acknowledged, the parties hereto
hereby agree as follows:

         l.     ~=~..,_,,=,,,.. All capitalized tenns in this Amendment shall have the same meanings
      to them in the Agreement, Jnless otl1erwise expressly stated herein.

         2.      Amendm<entLQf the bgreemqg. The Ag:recmem is hereby amended in the following
respects:

      2. i    'DH: Agreement is amended by deleting e;;ich and every refen,'1u:e therein to "Early
Awareness Serv1ces.''

        2.2     Section l. I Clf the Agreement is omended by deleting the definition of "Early Awareness
Services." Section 1.1 of the Agreement is further amended by inserting the following definitions:

                 ""Claims Package" means a credit agreement or promissory note."

        2J     Tbc third senlcncc of Section 2.1 of the Agreement is amended by deleting the phrase
"Servicing Agreement" and insertmg "Special Servicing Agreements" in lieu thereof.

         2.4     Section 2.3 of the Agreement is amec.ded by deleting the third sentence in its entirety and
the fol!owi11g shall be inserted in lieu thereof:

                 "'Special Service. s11all ea'JSC the Servicers to provide to NCO all documents and
                 infom1ation specified in the Servicing Agreements an<l/or Servicing Guldeiines."

        2.5       Section 2.3(a)(i) of the Agreement is hereby deleted in its t:lltirety   anc the following shall
be inserted in lieu thereof:

                 "[Reserved]"

          2.6      The first sentence of Section 2.J(a)(i)(iii) of the Agreement is amended by deleting the
phrase "with a c:airni. Package" so that the first sentence of Section 2.3{a)(iii) of the Agreement reads, m
its en1irety, as follows:




                                               JA530
  Case: 22-1864             Document: 80             Page: 62           Date Filed: 11/22/2022




                "From time to time Special Servicer may instruct NCO with respect to colJection costs,
                default interest rates and other adjustments to be made to account balances submitted
                pursuant to Special Servicer's direction by Servicers to NCO ("Default Charges'').''

        2. 7     Section 2.4 ,1f the Agreement is amended by deleting the third sentence in the second
paragraph in its entirety.

         2.8      Section 2.4(e) of the Agreement is hereby deleted in its entirety and the following shall
be inser1ed in lieu thereof:

                "Se~Jement authority given to NCO is described in Exhibit D attached hereto. Special
                Servicer agrees to designate a business contact with authority to review and approve
                collection settlement proposals with NCO.''

        2.9       Section 2.8 of the Agreement is hereby deleted in its entirety and the following shall be
inserted in lieu thereof:

                "(Reserved]"

        2.10    Article II of the Agreement is amended by inser.ing a new Section 2.9 in between Section
2.8 and Section 2.10 as follows:

                "2.9    [Reserved]"

         2.11    Section 4.1 la) of the Agreement is amended by deleting the phrase "a national banking
association organized, validly existing and in gt)l)d standing under the laws of the United States" aud
inserting "a corporation duly organized, validly existing and m good stnnding under the Jaws of the Stale
of Delaware" in lieu thereof.
         2.12    Section 5.2(b)(vii) is amended by deleting the phrnse "Paragraph 23(a)" and inserting
'"Section 5.2(b)" ill beu thereof

        2.13      Section 9.1 of the Agreement is hereby deleted in its entirety and the following. shall be
inserted in lieu thei·eof:

                ''(a)   The initial tenn of this Agreement shall c0mmence ns of the Effective Date and
                shall continue in effect for a period of one(]) year, unless sooner tem1inated pursuant to
                Section 9.2 (the "Initial Term'}

                (b)     Cpon conclusion of the Initial Tenn or any succeeding term, this Agreement
                shall automatically renew for an additional, successive one (I) year term, unless (i) either
                pa1ty shall give written notice of non-renewal to the other party not less than ninety (90)
                days prior to the conclusion of such tem1 or (1i) sooner tem1inated pursuant to Section
                9.2.

                (c)   Upon conc1us1on of the Initial Tenn, Special Servicer may tenninate this
                Agreement at auy time by providing thirty (30) days prior written notice to NCO.

        2.14    Section I 1.6 of the Agreement is amended by deleting the first paragraph in its entirety
and the fol!owing shall be inserted in lieu thereof:

                "All terms and provisions of this Agreement shall be binding upon and shall inure to the
                benefit of Special Servicer and NCO, and each of their respective permitted transferees,
                successors and assigns. ~CO may not assign any of its rights or obligations under th1s


                                                     2




                                             JA531
   Case: 22-1864                Document: 80               Page: 63           Date Filed: 11/22/2022




                    Agre~ent (whether by operation of law or othenvise} without the prior written consent
                    of Special Servicer. Special Servicer may assign imy of its rights or obligations under
                    this Agreement (whether by operation of law or otherwise) without the prior written
                    consent o[ NCO. Nothing in this Agreement is intended to create or grant any 1igh:,
                    privilege or other benefit to or for any person or entity, other than the parties hereto and
                    their pennitted transferees, successors or assigns."

        2.15    The Table of Exhibits to the Agreement is amended by deleting such table m its entirety
and the following shall be inserted ln lieu thereof:

                    "Exhibit A Servicer File Dlita - Default Prcvcntrnr,
                    Exhibit B • Default Prevention Services
                    Exhibit C Defaull Preve:1tion Reports
                    Exhibit D - Default Collection Scn,iccs
                    Exhibit E Default C0Uect1on Reports
                    Exhibit F Bankruptcy Services
                    Exhibit G - [Reserved]
                    Exhibit II - Fees to NCO
                    Exhibit I - Trnsts"

            2. 16   Exhibit A to the r\greement is amended by deleting the last sentence on Exhibit A in its
eutirety.

        2. l 7  Exhibit B to the Agreement is hereby deleted and replaced in its entirety with the fonn of
Exhibit B attached to Lhis Amendment

            :U8     Exhibi: C to the Agreement is amended by deleting "120'' an<l inserting "180" in lieu
ther<:!o[

        2.19    Exhibit D to the Agreemeni       1s   hereby deleted and replaced in its entirety with the form of
Exhibit D attached to this Amendment

        2.20     Exhibit F to the Agreement is hereby deleted and replaced in its entirety with the fonn of
Exhibit F attached to this Amendment

            2.21    Exhibit G to the Ag:reement 1s hereby deleted in its entirety and the following shall be
mserted in lieu thereof:

                    "[Rcse:ved]"

        2.22    Exhibit If tc the Agreement is hereby deleted and replaced in its entirety wit11 the form of
Exhibit H attached to this Amendment.

        2.23     TI1e Agreement is hereby amended by inserting. a new Exhibit I in the form of Exhibit I
attached to this A.'llendtuent

       3,      Effect of Amendment This Amendment shall be efft:et1ve as of lhe date first set fonh
above. Except as expressly arnen<letl in this Amendment, all tenns and prov1Sions ccmtained i.n the
Agreement shall continue in foll force and eflect without modification.

       4,       !YlJllllllli:..1.cQ\![lls;Illitill This Amendment may be executed in multiple counterparts, eru;h
of which sbaU be deemed a;1 original for all purposes and all of which shall be deemed, colleciively, one
agreement, bur in making proof hereof it shall not be necessary to exhibit more than one such counterpart.



                                                           3




                                                 JA532
  Case: 22-1864            Document: 80             Page: 64            Date Filed: 11/22/2022




Delivery of ar:. executed counterpart of this Amendment by facsimile or pdf eleccronic transmission shall
be deemed as effective as delivery of an originally executed counterpart.

       5.       QOVERJ,UNG LAW, THIS A,"vfENDMENT SHALL BE GOVERNED BY, AND
CONSTRUED n-l ACCORDANCE WITH, THE INTERJ'l'AL LAWS OF THE STATE OF OHIO,
WITHOliT GIVING EFFECT TO .f\...i-,ry CHOICE OR CONFLICT OF LAW PROVISION OR RULE
THAT WOULD CAUSE THE APPLICATION OF LAWS OF A.,1'.JY JURISDICTION OTHER THAN
TO THOSE OF nm STATE OF OHIO. EACH PARTY WAIVES ITS RIGHT TO A JURY TRIAL
WITH RESPECT TO AN'Y ACTION OR Cl.AIM ARISING OUT OF A."l\i'Y DISPl}TE IN
CON};'ECTIO'.'-i WITH THIS AGREEMENT, ANY RIGHTS OR OBLIGATIONS HEREUNDER OR
THE PERFORMANCE OF ANY SCCH RIGITTS OR OBLIGATIONS.
                              [Remainder   or page intentionally left blank]




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                                            JA533
  Case: 22-1864             Document: 80            Page: 65          Date Filed: 11/22/2022




        IN \VITl'\ESS \\'HEREOF, the parties hereto have caused tlus First i\mendment to rhe Default
Prevention and Collection Services Agreement to be executed as of the date first written above,



                                                FfRST MARBLEHEAD EDUCATION RESOURCES,
                                                INC,




                                                NCO HNANCIAL SYSTEv1S, rNC.


                                                By: ___ , _ _ _ _ _ _ _ _ _ _ _ _ __
                                                Name: John R. SchwRb
                                                Title: Executive Vice President




                                            JA534
Case: 22-1864           Document: 80            Page: 66          Date Filed: 11/22/2022




        IN WITNESS WHEREOF, the pa1ties hereto have caused this First Amendment to the Default
Prevention and Collection Services Agreement to be executed as of the date tu;t written above.



                                           FJRST MARBLEHEAD EDUCATION RESOURCES,
                                           INC.


                                           By: _ _ _ _ _ _ _ _ _ _ _ __
                                           Name: Seth Gdber
                                           Title: President




                                           B
                                           Na                 :vab
                                           Ti              1ice President




                                       JA535
              Case: 22-1864   Document: 80       Page: 67       Date Filed: 11/22/2022
                                                                         EXECUTION VERSION


                              THIRD AMENDMENT TO
             DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT

         This Third Amendment to Default Prevention and Collection Services Agreement (this
"Amendment") is entered into as of June 21, 2012, by and between U.S. Bank National
Association, as successor Special Servicer, a national banking association with a principal place
of business at 60 Livingston Avenue, Mailcode: EP-MN-WSJD, St. Paul MN 55107 (together
with its successors and assigns, the "Successor Special Servicer") and NCO Financial Systems,
Inc., a corporation organized under the laws of the Commonwealth of Pennsylvania having a
place of business at 507 Prudential Road, Horsham, PA 19044 (together with its successors and
assigns, "NCO"), and amends that certain Default Prevention and Collection Services Agreement
entered into by and between First Marblehead Education Resources, Inc. ("FMER"), the initial
Special Servicer, and NCO and dated as of March 1, 2009 (the "Original Agreement"), as
amended by that certain First Amendment to Default Prevention and Collection Services
Agreement entered into by and between FMER and NCO and dated as of May 1, 2009 (the "First
Amendment") and by that certain Second Amendment to Default Prevention and Collection
Services Agreement entered into by and between FMER and NCO and dated as of June 15, 2012
(the "Second Amendment" and, together with the Original Agreement and the First Amendment,
the "NCO Agreement"; and the NCO Agreement, as supplemented and amended by this
Amendment and as same may be further amended from time to time pursuant to Section 11.10,
the "Agreement").

        WHEREAS, pursuant to that certain (i) Special Servicing Agreement dated as of
March 1, 2009 (the "March SSA") by and among FMER as special servicer, U.S. Bank
National Association as back-up special servicer (in such capacity the "Back-Up Special
Servicer") and each of the Trusts listed on Schedule A to the March SSA and (ii) Special
Servicing Agreement dated as of May 1, 2009 (together with the March SSA, the "Special
Servicing Agreements") by and among FMER as special servicer, U.S. Bank as back-up
special servicer, Ambac Assurance Corporation ("Ambac") and each of the Trusts listed on
Schedule A to the May SSA, the Trusts appointed FMER as the initial Special Servicer and
U.S. Bank as the Back-Up Special Servicer for the purposes of providing default prevention,
collection and other special services duties to the Trusts identified in the Special Servicing
Agreements (collectively, the "Trusts" and individually, a "Trust") in accordance with the
terms of the Special Servicing Agreements.

         WHEREAS, pursuant to the Special Servicing Agreements, FMER as initial Special
Servicer arranged for the outsourcing to NCO of certain default prevention and collection
activities of the Special Servicer under the Special Servicing Agreements in the event that U.S.
Bank became the successor Special Servicer under the Special Servicing Agreements;

       WHEREAS, as of June 21, 2012, the Successor Special Servicer assumed the duties of
the Special Servicer under the Special Servicing Agreements and FMER notified NCO of such
assumption;

       WHEREAS, pursuant to the NCO Agreement, upon being notified of the assumption by
U.S. Bank as Back-up Special Servicer of the duties of the Special Servicer under the Special

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                                           JA536
                Case: 22-1864     Document: 80       Page: 68      Date Filed: 11/22/2022




Servicing Agreements, NCO shall begin performance of the Services specified in the NCO
Agreement;

             WHEREAS, June 21, 2012, is the "Effective Date" for purposes of the Agreement;

        WHEREAS, the Successor Special Servicer and NCO wish to amend the Agreement to
update, expand and confirm the services, including, without limitation, collection and
enforcement services, to be provided by NCO thereunder.

       WHEREAS, pursuant to that certain Special SubServicing Agreement dated September 7,
2012, between the Successor Special Servicer and Turnstile Capital Management, L.L.C. a
wholly owned subsidiary of Goal Structured Solutions, Inc. as the Special SubServicer (the
"Special SubServicing Agreement") the Successor Special Servicer has appointed Turnstile as its
sub-servicer (in such capacity, the "Special Sub Servicer") for purposes of performing the Special
Services required to be performed under the Special Servicing Agreements (other than the
Special Services to be performed by NCO under the Agreement);

       WHEREAS, as part of the Special Services to be performed by it, the Special
SubServicer will be responsible for global portfolio strategy and oversight of NCO's
performance under the Agreement as more fully set forth in the Agreement;

        NOW THEREFORE, in consideration of the premises set forth above, and other good
and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
parties hereto hereby agree as follows:

      1.     Defined Terms. All capitalized terms in this Amendment shall have the same
meaning given to them in the Agreement, unless otherwise expressly stated herein.

       2.      Amendments of the Agreement. The Agreement is hereby amended in the
following respects:

       2.1       The first line of the first paragraph of the Agreement is amended by replacing the
parenthetical, ''(hereinafter "Agreement")" with "(such agreement, as same may be amended
from time to time in accordance with Section 1 L 10, the "Agreement")".

       2.2    Section 1.1 of the Agreement is amended by deleting and replacing the defined
terms "Services" and "Subservicers" with the following as applicable:

                          ""Services" means Default Collection Services, Default Prevention
                   Services, Fraud Claims Review, Bankruptcy and Probate Services, and Collection
                   Agency Management Services and the Other Services.

                           "Subservicers" means those subservicers (including for the avoidance of
                   doubt, an OCA) retained by NCO in conformity with the requirements of Section
                   2.12 of this Agreement to perform any of the Services (other than Collection
                   Agency Management Services and Other Services)."

14101092.7                                      2



                                               JA537
             Case: 22-1864      Document: 80          Page: 69       Date Filed: 11/22/2022




       2.3     The Agreement is further amended by inserting (in alphabetical order, as
appropriate) the following defined terms to Section 1.1 thereof:

                          ""Bankruptcy and Probate Services" means those services generally
                   described in Section 2.5 and in Exhibit F attached hereto.

                          "Collection Agency Management Services" means the management,
                   oversight and monitoring of Subservicers retained by NCO pursuant to Section
                   2.12 of the Agreement.

                          ''Fraud Claim Review" means those services described generally in
                   Exhibit F hereto.

                          ''OCA" means a collection agency retained by NCO to perform any of the
                   Services (other than Collection Agency Management Services), which, for the
                   avoidance of doubt, may be NCO as a servicer.

                          "Operating Guidelines" shall have the meaning ascribed to such term in
                   Section 2.1.

                           "Other Services" means the accounting, reporting and record management
                   services and portfolio strategy services to be performed by NCO as generally
                   described in Sections 2.1 Band 2. IC.

                          '·Special Servicer Account" means the Special Servicer designated account
                   or accounts to which NCO will remit weekly (or at different intervals) funds in
                   the Account (defined in Section 2.6) representing payments received by NCO
                   (except fees owed to NCO for Default Collection Services.)"

             2.4   Section 2.1 of the Agreement is amended by:

             (a)   adding the following sentence to the end of the first paragraph in Section 2.1:

                          "NCO directly and/or through its Subservicers shall perform the Services
                          in accordance with this Agreement, including, without limitation, the
                          Exhibits attached hereto and incorporated herein by this reference, and in
                          conformity with the terms and conditions set forth in the NCSLT
                          Operating Guidelines attached hereto as Exhibit G (as same may be
                          updated from time to time pursuant to provisions of Section 11.10, the
                          "Operating Guidelines")."

             (b)   adding the following new Sections immediately following the end of Section 2.1:

                           "2. lA Collection Agency Management and Oversight Services. (a) For
                   each ASL subject to this Agreement, NCO shall perfonn or cause its SubServicers
                   to perform, the Services required for such ASL, in each case, in accordance with

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                                               JA538
            Case: 22-1864      Document: 80         Page: 70        Date Filed: 11/22/2022




                 the terms of this Agreement and the Exhibits attached hereto (including, without
                 limitation, the Operating Guidelines). NCO shall supervise, monitor and oversee
                 the obligations of, and performance by, Subservicers retained by it to service and
                 administer the particular AS Ls subject to this Agreement with the goal of
                 maximizing the collection of amounts payable on the ASLs. NCO shall oversee
                 and consult with its Subservicers from time-to-time as necessary or desirable to
                 ensure compliance with the terms of this Agreement (including, without
                 limitation, the Exhibits attached hereto). Without limiting the generality of the
                 foregoing, NCO shall take such actions as it deems reasonably necessary or
                 appropriate, but in conformity with the Operating Guidelines and this Agreement,
                 to:

                 (i)     With respect to Delinquent Loans, transfer all collection activities from
                         the applicable Servicer for a Trust to a Subservicer selected by NCO
                         (which may for the avoidance of doubt, include NCO as subservicer) for
                         the enforcement and collection of such ASLs; provided that NCO shall
                         not be required to transfer such collection activities if GSS Data Services
                         ("GSS") is the Administrator for the Trusts and GSS notifies NCO that it
                         has determined that collections would not be maximized on such
                         Delinquent Loans if the collection activities were transferred to
                         S ubservicers;

                 (ii)    With respect to Defaulted Loans, in its sole discretion, transfer all
                         collection activities to NCO directly or to an OCA, provided that NCO
                         shall not be required to transfer such collection activities if GSS is the
                         Administrator and GSS determines that it is likely that collections would
                         not be maximized on such Defaulted Loans if the collection activities were
                         transferred to NCO or the OCA, as applicable;

                 (iii)   Replace any Subservicer who is deemed to be deficient or negligent in
                         performing the applicable duties outlined in this Agreement or the related
                         subservicing agreement with NCO;

                 (iv)    Remit or cause each Subservicer to remit net collections received on
                         Defaulted Loans to the Special Servicer Account;

                 (v)     With respect to Defaulted Loans that are over 180 days delinquent, cause
                         the Subservicer to (a) roll or reassign accounts from 180 days delinquent
                         into a default recovery queue for collection efforts and (b) remit weekly
                         (or at such other agreed intervals) to the Special Servicer Account for the
                         receipt of collections from a Subservicer for the benefit of the respective
                         Trusts as their interest may appear, cash collected on all Defaulted Loans
                         serviced by such Subservicer for the Trusts; and

                 (ix)    Review claim packages prepared by a Servicer for a Trust with respect to
                         Defaulted Loans to confirm, on the basis of such review, that (a) Servicer

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                                             JA539
             Case: 22-1864      Document: 80         Page: 71        Date Filed: 11/22/2022




                           has complied with applicable servicing guidelines and (b) the loan
                           originator has complied with applicable program guidelines and return the
                           claim packages to the Servicers for further collection efforts and/or cure
                           by the Servicers as provided in the applicable servicing guidelines if it
                           detects Servicer error.

                           (b)     NCO shall provide the Collection Agency Management Services in
                   substantially the same manner and of the same quality and standards as it
                   generally performs comparable services for itself and others in accordance with
                   all customary and usual servicing practices and procedures with a view to
                   maximize the value of the ASLs subject to this Agreement and without regard to
                   NCO's right to receive compensation for its services hereunder.

                           2.lB Record Management, Accounting and Reporting Services. NCO
                   shall perform the following record management and reporting services:

                   (i)     Establish and maintain a system ofrecord for purposes of monitoring and
                           tracking by Trust any ASL subject to the Agreement and in connection
                           therewith, receive data, reports and other information from the applicable
                           Trust's Servicers and from the Subservicers, including, without limitation,
                           as to payments and other amounts collected with respect to Delinquent
                           Loans and Defaulted Loans and update the system of record to reflect such
                           information and data;

                   (ii)    Provide monthly reports to the Special SubServicer and the Administrator
                           for each Trust in form and substance reasonably satisfactory to the Special
                           SubServicer and the Administrator (which as of the date hereof shall be in
                           the form of Exhibit A hereto);

                   (iii)   Perform (a) periodic audits of Subservicers for compliance and
                           performance reviews in accordance with the Operating Guidelines, (b)
                           provide oversight of the activities of a Subservicer with regard to account
                           management, litigation assistance, bankruptcy, probate and/or settlement
                           strategies, (c) report results of audits and oversight to the Special
                           SubServicer and (d) reconcile and/or resolve any discrepancies or issues;
                           and

                   (iv)    Establish and maintain an account or accounts, which may be the Account,
                           in trust for the benefit of the Indenture Trustee and the Trusts for the
                           deposit by a Subservicer of net collections on all Defaulted Loans serviced
                           by such Subservicer for the respective Trusts and in connection therewith
                           preparing or causing to be prepared such control agreement or agreements
                           as may be necessary or desirable to maintain and preserve the lien and
                           security interest therein of the Indenture Trustee under the respective
                           Indentures.



14101092 7                                       5




                                               JA540
             Case: 22-1864        Document: 80         Page: 72        Date Filed: 11/22/2022




                           2.1 C Global Portfolio Strategv Services. NCO agrees to meet from time
                   to time with Special SubServicer and/or Special Servicer, as applicable, to review
                   strategy with respect to the Student Loan Portfolios subject to this Agreement and
                   performance of the Services and related functions, including, without limitation,
                   the performance and market share of the Subservicers (including without
                   limitation the OCAs), across all segments consistent with the Operating
                   Guidelines. NCO shall perform the Services consistent with the terms of the
                   Agreement and the Operating Guidelines. NCO will have no authority to, and
                   agrees that it will not, make any changes to the procedures and operations set
                   forth in this Agreement and/or the Operating Guidelines without the written
                   consent of the Special Servicer and/or the Special SubServicer pursuant to Section
                   11.10."

                          2.1 D Outsourcing. For avoidance of doubt, the Services to be provided
                   by NCO in accordance with Section 2.1 A, 2.1 B, 2.1 C and, except as may
                   otherwise be agreed by the Special SubServicer, 2.1 D shall be performed directly
                   by NCO.

      2.5    The first paragraph of Section 2.3 and Section 2.J(a) of the Agreement are hereby
amended and restated as follows:

                           "2.3   Default Collection Services. NCO shall perform Default
                   Collection Services in conformity with those Default Collection Services set forth
                   herein and in Exhibit D attached hereto and in conformity with the Operating
                   Guidelines. N'CO shall use Dedicated Staff to perform Default Collection
                   Services. Special Servicer shall cause the Servicers to provide to NCO all
                   documents and information specified in the Servicing Agreements and/or
                   Servicing Guidelines.

                    (a)    Generally.

                          (i)   NCO shall review the Claims Package for conformity to the Servicing
                                Guidelines and Program Guidelines. NCO shall return the Claims
                                Package to the Servicers for further collection efforts and/or cure by
                                the Servicers as provided in the Servicing Guidelines and Special
                                Servicer's servicing agreement if it detects Servicer error as prescribed
                                in the Servicing Guidelines.

                          (ii) NCO shall reconcile all cash collections with its reported results of
                               operations and transmit all cash receipts (net of the fees set forth on
                               Exhibit H) weekly (or at such other agreed intervals) to Special
                               Servicer. NCO sha!J provide the Default Collection Reports set forth
                               in Exhibit E. NCO shall assign defaulted AS Ls as needed to optimize
                               collection."

             2.6   Section 2.J(b) (iii)of the Agreement is hereby amended and restated as follows:

!4101092 7                                         6




                                                JA541
            Case: 22-1864       Document: 80         Page: 73      Date Filed: 11/22/2022




                          "(iii) Special Servicer reserves the right to restrict or otherwise limit at
                  any time, from time to time, the manner or means to be used by NCO in collecting
                  any account, which restrictions may be communicated to NCO by Special
                  Servicer orally or in writing, at Special Servicer's sole discretion. However, for
                  so long as NCO's collection practices conform to the terms of this Agreement, the
                  Operating Guidelines and applicable law, Special Servicer shall not exercise such
                  right."

        2. 7   Section 2.4 of the Agreement is hereby amended by adding the following new
clauses (h) and (i) at the end of the second paragraph thereof:
                           "(h) Notwithstanding anything herein to the contrary, effective as of the
                  date of the Third Amendment, NCO shall administer, manage and oversee
                  collection litigation consistent with the terms of this Agreement, including
                  without limitation, Exhibit D hereto and the Operating Guidelines and, except as
                  contemplated in the Operating Guidelines. no further approval, consent or
                  direction of the Special Servicer shall be required with respect to management of
                  litigation relating to ASLs.

                         (i)     The Special Servicer shall execute and deliver to NCO one or more
                 powers of attorney appointing NCO as the attorney-in-fact and a custodian of
                 records for the Special Servicer for the purpose of executing on behalf of the
                 Special Servicer such affidavits, documents and instruments as may be required to
                 be delivered in connection with the performance of the Services. Notwithstanding
                 anything contained herein to the contrary, neither NCO nor any Subservicer shall,
                 without the Special Servicer's written consent: (i) hire or procure counsel to
                 represent the applicable Trust or Special Servicer without indicating its
                 representative capacity or (ii) prepare, execute or deliver any filings, fonns,
                 affidavits, pleading or other documents on behalf of aTrust or the Special Servicer
                 without indicating its representative capacity. "

       2.8        Section 2.5 of the Agreement is hereby amended and restated in its entirety as
follows:
                         "2.5    Special Accounts.

                         (a)    Notwithstanding anything to the contrary in the NCO Agreement,
                 NCO shall be responsible for servicing any ASL for which the related borrower or
                 guarantor is subject to bankruptcy proceedings as generally described in Exhibit
                 E, including without limitation, the filing of Proofs of Claim and monitoring of
                 same by NCO's Bankruptcy Division. NCO shall also be responsible for fraud
                 processes as generally described in Exhibit F.

                        (b)     In the event any debtor with respect to an ASL that is the subject of
                 Services is deceased, NCO will accept from the Servicers the documentation

141010927                                       7




                                             JA542
            Case: 22-1864        Document: 80        Page: 74        Date Filed: 11/22/2022




                   specified under "Death Claim" under the Servicing Guidelines and will collect the
                   ASL. NCO will otherwise perform in accordance with the terms generally
                   identified under the heading 'Probate Servicing' under Exhibit F."

        2.9     The fourth sentence of Section 2.6 of the Agreement is hereby amended and
restated to read as follows: "NCO will remit on a daily basis (or at different periodic intervals
chosen by Special Servicer), by wire transfer to the respective Trusts' collection accounts (as
identified by the Special Servicer to NCO), all funds in the Account representing payments
received by NCO for the prior day (or alternative periodic basis chosen by the Special Servicer),
except fees owed to NCO for Default Collection Services (which shall be payable to NCO as set
forth in Section 2.3( c )."

            2.10   Section 2.12 of the Agreement is amended and restated as follows:
                            '2.12 Subservicers. NCO may retain Subservicers to provide Services
                   (other than the Other Services) under this Agreement. All Subservicers shall be
                   licensed collection agents and other legally authorized persons who meet the
                   eligibility criteria of an OCA as set forth in Section 6 OCA Eligibility and
                   Network Design of the Operating Guidelines. NCO shall ensure that each
                   Subservicer maintains adequate records and procedures with respect to the
                   services provided by it and otherwise complies with the applicable terms of this
                   Agreement. NCO shall not permit any Subservicer to have access to Confidential
                   Information, including Borrower Data, without first ensuring that such
                   Subservicer has adequate policies and procedures in place, consistent with this
                   Agreement, to safeguard Confidential Information, including borrower data. The
                   retention of a Subservicer shall not relieve NCO of any of its obligations under
                   this Agreement. NCO shall be responsible for the performance or
                   nonperformance of its Subservicers as if such performance or nonperformance
                   were that of NCO. '
            2.11   Section 4.1 of the Agreement is hereby amended as follows:
                           (a)      Section 4. l(a) of the Agreement is amended by deleting the phrase
                   "a corporation duly organized, validly existing and in good standing under the
                   laws of the State of Delaware" and replacing such phrase with "a national banking
                   association organized, validly existing and in good standing under the laws of the
                   C nited States".

                          (b)     Section 4.1 (t) of the Agreement is hereby deleted.

       2.12        Section 4.2(g) of the Agreement is hereby amended by adding the following to the
end thereof:
                          "(g)    Legal Proceedings. In the event of any lawsuit in which
                   counterclaims are interposed by a debtor, or where a debtor or other third party
                   shall make any other claim against Special Servicer or any Trusts, the same shall
                   be immediately referred by NCO to Special SubServicer and Special Servicer and

141010927                                        8




                                              JA543
             Case: 22-1864        Document: 80         Page: 75        Date Filed: 11/22/2022




                     Special Servicer shall have the right to intercede and defend such action. No
                     criminal proceedings, real property executions, bailable attachments, commitment
                     orders or other enforcement proceedings, except for the issuance of a subpoena to
                     examine the debtor and restraining notices, shall be instituted by NCO without
                     prior written approval of Special Subservicer."

       2.13 Section 8.1 (a) of the Agreement is hereby amended by adding after the term
"Special Servicer" wherever it appears in such clause (a) the following phrase: "and its
subservicers (including for avoidance of doubt, the Special SubServicer)".


       2.14 Section 9 .4 of the Agreement is hereby amended by adding the following new
subsection (d) at the end thereof:
                      "(d)    Servicing Transition. For a period of not less than 120 days following the
             notice of nonrenewal or notice of termination under Section 9.1 or Section 9.2, as
             applicable, NCO agrees to cooperate and use its commercially reasonable efforts to
             facilitate the orderly transfer of its responsibilities and rights under this Agreement to a
             successor, including without limitation, by providing the Special Servicer, its designee or
             such successor reasonable access, during normal business hours and upon reasonable
             prior notice, to all files, systems and employees of NCO then used in the provision of the
             Services, provided NCO may request any such party to comply with customary
             procedures designed to protect the confidentiality and security of any borrower
             information. Without limiting the generality of the foregoing, NCO agrees to notify its
             Subservicers, its collection agents and other appropriate parties of the transfer of the
             servicing functions and provide (or cause its Subservicers and agents to provide) to the
             successor all documents and records in electronic or other form reasonably requested by
             the Special Servicer or its designee to enable the successor to assume the servicing
             functions performed by NCO under this Agreement (including, without limitation,
             information relating to Delinquent Loans and Defaulted Loans) and shall transfer (and
             cause any collection agent to transfer) to the Indenture Trustee for deposit into the
             Collection Account for the benefit of each Trust net collections received by it with
             respect to the Defaulted Loans. NCO shall be entitled to reimbursement for its
             expenses incurred in performing its obligations hereunder subject to the terms and
             conditions of the SSAs, including, without limitation, the reimbursement limits set
             forth therein."

       2.15         Section 11.1 of the Agreement is hereby amended and replaced in its entirety as
follows:

                            '11.1 t-.'otice Procedure: Addresses. All notices, demands and other
                    communications hereunder shall be in writing and shall be deemed to have been
                    duly given and received at the time delivered by hand, if personally delivered;

14101092 7                                         9




                                                JA544
             Case: 22-1864       Document: 80              Page: 76    Date Filed: 11/22/2022




                    when receipt is acknowledged, if mailed by certified mail, postage prepaid, return
                    receipt requested; the next business day after timely delivery to the courier, if sent
                    by overnight air courier guaranteeing next-day delivery; and when received, if
                    sent by any other means, as follows:

                            If to Special Servicer:

                           U.S. Bank National Association
                           Attn: Brian Tri
                           60 Livingston Avenue
                           Mailcode: EP-MN-WS3D
                           St. Paul MN 55107
                           with a copy to the Special SubServicer:

                           If to the Special SubServicer:

                           Turnstile Capital Management, LLC
                           401 West A Street, Suite 1JOO
                           San Diego, California 92101
                           Attn: Alan Amico

                           Ifto NCO:

                           NCO Financial Systems, Inc.
                           Attn: Thomas Arnst.
                           Executive Vice President and Chief Administrative Officer
                           507 Prudential Road
                           Horsham, Pennsylvania 19044

                    The persons or addresses to which mailings or deliveries shall be made may be
                    changed from time to time by notice given pursuant to the provisions of this
                    Section l l. 1.'

             2.16   Section 11.10 of the Agreement is hereby amended and replaced as follows:

                            "11.10 Entire Agreement; Amendments.          The making, execution and
                    delivery of this Agreement by the parties have been induced by no
                    representations, warranties, statements or agreements other than those herein
                    expressed. This Agreement (and the exhibits hereto) and the letter agreement
                    dated as of September 7, 2012, among NCO, the Special Servicer and the Special
                    Subservicer regarding the Fee Agreement with Respect to Special Services
                    embodies the entire understanding of the parties, and there are no further or other
                    agreements or understandings, wTitten or oral, in effect among the parties relating
                    to the subject matter hereof. This Agreement and the exhibits hereto (including,
                    for the avoidance of doubt, the Operating Guidelines) may be amended or
                    modified only by a written instrument signed by NCO, the Special Servicer and

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                                                JA545
           Case: 22-1864       Document: 80         Page: 77        Date Filed: 11/22/2022




                the Special Subservicer; provided however that the Operating Guidelines may be
                amended with notice to but without the written consent of the Special Servicer if
                the purpose of such amendment or modification is to correct any mistake,
                eliminate any inconsistency, cure any ambiguity or deal with any matter not
                covered (i.e., to give effect to the intent of the parties). None of the parties shall
                be deemed to have waived any of its rights, powers or remedies under this
                Agreement unless such waiver is approved in writing by an authorized
                representative of the waiving party.

        2.16 The Table of Exhibits to the Agreement is amended by deleting such table in its
entirety and the following shall be inserted in lieu thereof:

                       "Exhibit A - Summary Reports
                       Exhibit B - Default Prevention Services
                       Exhibit C - Default Prevention Reports
                       Exhibit D - Default Collection Services
                       Exhibit E - Default Collection Reports
                       Exhibit F Non-Traditional Collection Services
                       Exhibit G - Operating Guidelines
                       Exhibit H - Fees to NCO
                       Exhibit I Trusts"

       2.17 Exhibit A to the Agreement is deleted and replaced in its entirety with the form of
Exhibit A attached to this Amendment.

       2.18 Exhibit F to the Agreement is hereby deleted and replaced in its entirety with the
form of Exhibit F attached to this Amendment.

       2.19 Exhibit G to the Agreement is hereby deleted and replaced in its entirety with the
form of Exhibit G attached to this Amendment.

       2.20 Exhibit H to the Agreement is hereby deleted and replaced in its entirety with the
form of Exhibit H attached to this Amendment.


        3.       Special SubServicer. NCO acknowledges that it has been notified that the
Successor Special Servicer has appointed the Special SubServicer as its subervicer pursuant to
the terms of the Special SubServicing Agreement, with full power and authority to act in its
stead, for all purposes of the Agreement (including, for the avoidance of doubt, this
Amendment.)

           4.   Cooperation.

        (a) NCO acknowledges that FMER as the initial Special Servicer has agreed to cooperate
with the Successor Special Servicer, its agents and subservicers to facilitate the orderly transfer
of duties to the Successor Special Servicer, its subservicers and agents, including, for such
purposes, KCO. As part of such agreement, FMER has agreed that the cooperation period

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                                            JA546
            Case: 22-1864    Document: 80         Page: 78       Date Filed: 11/22/2022




contemplated under the Special Servicing Agreements will continue until November 30, 2012.
The parties hereto acknowledges that it is a mutual goal to have a smooth transition and to enable
the Successor Special Servicer through NCO and the Special Subservicer to perform all of the
Special Services required under the Special Servicing Agreements without any assistance from
FMER or the Successor Special Servicer as soon as possible. To this end, NCO agrees to
continue to use reasonable efforts to cooperate with FMER, the Special SubServicer and the
Successor Special Servicer to effect such transfer as expeditiously as possible. NCO
acknowledges that a plan for such transition has been developed, including, without limitation,
the Operating Guidelines.

        (b) KCO acknowledges that the Successor Special Servicer intends to assign and
subservice it's special servicing duties as successor Special Servicer under the Special Servicing
Agreements (collectively, the "SSA Duties") to the Special Subservicer and NCO pursuant to the
tenns of the Agreement and the Special Subservicing Agreement, respectively. As such, NCO,
the Successor Special Servicer and the Special Subservicer shall each cooperate in good faith
with one another to implement the assumption of such SSA Duties as are to be performed by
each of NCO and the Special Subservicer, respectively, pursuant to the terms of the NCO
Agreement and the Special Subservcing Agreement, as applicable. For avoidance of doubt, the
Successor Special Servicer hereby acknowledges and agrees that the Special Servicer's
obligations under Section 8.1 of the Agreement are not being assigned to NCO or TCM, it being
understood that such obligations remain with the Successor Special Servicer in its capacity as
successor Special Servicer under the Agreement, subject to (for the avoidance of doubt) the
provisions of Section 11.6 of the Agreement.

        5.      Effect of Amendment. This Amendment shall be effective as of the date first set
forth above. Except as expressly amended by this Amendment, all terms and provisions
contained in the Agreement shall continue in full force and effect, without modification. All
references in the Agreement to the Agreement shall be deemed to mean the Agreement as
modified hereby. This Amendment shall not constitute a novation of the Agreement, but shall
constitute an amendment thereof. The parties hereto agree to be bound by the tenns and
conditions of the Agreement, as amended by this Amendment, as though such tenns and
conditions were set forth therein. This Amendment may not be amended or otherwise modified
except as provided in the Agreement. The failure or unenforceability of any provision hereof
shall not affect the other provisions of this Amendment or the Agreement.

        6.     Multiple Counterparts. This Amendment may be executed in multiple
counterparts, each of which shall be deemed an original for all purposes and all of which shall be
deemed, collectively, one agreement, but in making proof hereof it shall not be necessary to
exhibit more than one such counterpart. Delivery of an executed counterpart of this Amendment
by facsimile or pdf electronic transmission shall be deemed as effective as delivery of an
originally executed counterpart.




141010927                                    12




                                           JA547
             Case: 22-1864   Document: 80    Page: 79   Date Filed: 11/22/2022




      7.    GOVERNING LAW, THIS A~fENDMENT SHALL BE GOVERNED BY,
AND CONSTRUED IN ACCORDAJ.'l"CE WITH, THE INTE&'JAL LAWS OF THE STATE OF
OHIO, WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF LAW PROVISION
OR RULE IHAT WOULD CAUSE THE APPLICATION OF LAWS OF ANY JURISDICTION
OTHER THAJ.'J'TOTHOSEOF THE STATE OF OHIO. EACH PARTY WAIVES ITS RIGHT
TO A JURY TRIAL WITH RESPECT TO ANY ACTION OR CLAIM ARISING OUT OF
ANY DISPUTE IN CON'NECTION Vv1TH THIS AGREEtvlENT. ANY RIGHTS OR
OBLIGATIONS HEREUNDER OR THE PERFORMANCE OF ANY SUCH RIGHTS OR
OBLIGATIONS.
                     [Remainderof page intentionally left blank]




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                                      JA548
   Case: 22-1864          Document: 80            Page: 80           Date Filed: 11/22/2022




       IN WITNESS WHEREOF, the parties hereto have caused this Third Amendment to the
Default Prevention and Collection Services Agreement to be executed as of the date first written
above.

                                            U.S. BANK NATIONAL ASSOCIATION,
                                            as Successor Special Servicer under the
                                            Special Serv · · g ~cements

                                            By:   -----'..::::.,.~=-_,.....,.M!C-__,:x......_ __
                                            Name:            :E,:a D. i(aplan
                                            Title:   &n Ce>r Vi~ frtj/(U,n f
                                            NCO FINANCIAL SYSTEMS, INC.

                                            By: - - - - - - - - - - - -
                                            Name:
                                            Title:




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                                          JA549
  Case: 22-1864          Document: 80            Page: 81       Date Filed: 11/22/2022




       IN WITNESS WHEREOF, the parties hereto have caused this Third Amendment to the
Default Prevention and Collection Services Agreement to be executed as of the date first written
above.

                                             U.S. BANK NATIONAL ASSOCIATION,
                                             as Successor Special Servicer under the
                                             Special Servicing Agreements

                                            By:------------
                                            Name:
                                            Title:

                                            NCO FINANCIAL SYSTEMS, INC.

                                            By:
                                                           "'
                                                    G.!l-.b~
                                            Name: Alan B. Superfine
                                            Title: Vice President




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                                        JA550
             Case: 22-1864   Document: 80   Page: 82   Date Filed: 11/22/2022




                                       EXHIBIT A
                                    JSEE ATTACHED)




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                                      JA551
                Case: 22-1864              Document: 80                 Page: 83               Date Filed: 11/22/2022



                                                              Exhibit A • Summary Reports


                                                    Defaulted Prlncipal and Interest RoH Forward


                                             er:lmlul                 l.!!SmS              TQtalP and!         fw          Jotat Balances

Beginning Balance                             1,000,000.00                50,000.00            1,050,000.00                   1,050,000.00
New Act/11/ty Transaction:
New Defaults Added to svstem                    100,000.00                 5,000.00             105,000.00                      105,000.00
Default Reversals                                (5,000.00)               (1,000.00)             (6,000.00)                      (6,000.00l
Transfers In                                     12,000.00                 1,000.00              13,000.00                       13,000.00
Transfers Out                                   (12,000.00)               (1,000.00)            (13,000.00)                     (13,000.00

Cash Transacticn!f:
Borrower Payments                               (25,000.00)               (2,000.00)             (27,000.001    9,000.00        (18,000.00
Settlements                                      (3,000.00)                     .                 (3,000.00)                     (3,000.00:

Non-Cash Tranmctlans:
Capitalized interest                              5,000.00                (5,000.00)                   .                               .
Judgements                                        2,000.00                (2,500.00)                (500.00)                       (500.00)
Settlements                                      (5,000.00)               (1,000.00)              (6,000.00)                     (6,000.00]
Loans RemO\/ed / Closed                         (10,000.00)               (1,000.00)             (11,000.00)                    (11,000.00]
Adjustments / Other                                 500.00                  (S00.00)                   .                               .
Accrued Interest                                                           2,000.00               2,000.00                        2,000.00


C..kulated Ending Balance                     1,059,500.00                44,000.00            1,103,500.00     9,000.00      1,112,500.00
System Ending Balance                         1,067,500.00                51,000.00            1,118,500.00     9,000.00      1,127,500.00
Variance                                       8,000.00                7,000.00                  15,000.00                       15,000.00
Suaaortlno documentation and remediation needed for all variance items



                                                     N- Loans Added to Syscem Rec;ondUatlon

New Loans Added to svstem                       99,000.00
Loans Defaulted at Servicer                    107,000.00
Variance                                       {8,000.00)
Supl}Oftina documentation and remediation needed for al/ variance items



                                                              C.llsh Receipts Reconclllatlan

Borrower Payments - Principal                   (25,000.00)
Borrower Payments• Interest                      (2,000.00)
Settlements• Principal                           (3,000.00)
Settlements - Interest                                  .
Commissions                                       5,000.00
Recovered Costs                                   2,500.00
Litigation                                        1,000.00
Other Fees                                          500.00
Total Cash Receipts                             (Zl,000.00)

Actual Cash Receipts                            {18,000.00)
Variance                                       (3,000.00)
Suooortina documentation and remediation r.eeded for all variance items




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              Case: 22-1864       Document: 80                   Page: 84            Date Filed: 11/22/2022


                                                        Exhibit A• Data Elements
Transact/an Detail Fite
Transaction 10                Unique transaction identifier
LoanlD                        Unique loan identifier
SSN                           Borrower SSN
Loan Sequence
Entity                        Short name of the trust
Lender Code                   Changed from owrier code
Transaction Date
Effective Date                Effective date of transaction, could occur in prior periods
Transaction code              Transaction code which ties to activity in the above reports
Transaction Description       ties to the above descriptions
Principal Amount
Interest amount
Fee amount
Report period

Snapshot Data
LoanlD
SSN
Loan Sequence
Entity                        Short name of the trust
Lender Code                   Changed from owner code
Current principal
Current interest
Current fees
Charge off amount
Charge off interest
Interest Rate                 Base+ Margin
Margin Rate                   Spread
Base Rate                     Benchmark Rate
Default date
Current status                skip, litigation, regular collections, dispute, etc.
Current OCA
Cum, Gross Collections
Placement date
Report period




                                                       JA553
             Case: 22-1864        Document: 80         Page: 85        Date Filed: 11/22/2022




                                     EXHIBIT F:
                            NON-TRADITIONAL COLLECTION SERVICES

Bankruptcv Servicing:

In the event any debtor with respect to any ASL that is the subject of Services becomes a debtor
under the U.S. Bankruptcy Code, NCO shall assign the account to its internal Bankruptcy
Processing Unit. NCO will provide the following services;

               I.   Timely file proofs of claim ("Proofs of Claim") (as required or permitted by the
                    Bankruptcy Code) on behalf of NCT in Chapter 11, 12, 13 and Chapter 7 asset
                    cases, on accounts placed.

              II.   Proof of Claims will be monitored and appended when necessary to ensure the
                    proper payment and receipt of notices from the Bankruptcy Court

             III.   Shall process all Proceeds which are received from Trustees in all bankruptcy
                    cases in which it has filed Proofs of Claim in compliance with the Agreement.

These services will be provided on accounts that qualify as outlined below
         I.    Account balance is greater than or equal to $175.00

              II.   Debt should not be past the Statute of Limitations

             m.     Bankruptcy Case is within the Bar Date at the time of placement

Probate Servicing:

In the event any debtor with respect to any ASL that is the subject of Services becomes deceased,
collection efforts will continue from the non-deceased co-maker. If there is no surviving co-
maker, NCO shall assign the account to its internal Deceased and Probate collections Unit.
Provided the account balance is at least $175.00, the following services will be provided, as
deemed necessary based on NCO's industry experience.

               I.   Conduct a search for an open and viable estate

              IL    If a viable estate is identified a claim will be filed on behalf of NCT in
                    compliance with NCO's established business model.

             III.   Monitor the claim to ensure the proper payments are made

             IV.    If no estate is found, NCO will attempt to identify the Personal Representative as
                    defined by law to detennine if a repayment option is available




14101092 7




                                                JA554
             Case: 22-1864        Document: 80        Page: 86       Date Filed: 11/22/2022




Fraud Claims Review:
In the event any debtor with respect to any ASL that is the subject of Services alleges that they
are the victim of Fraud or Identity Theft, the claim will be handled as follows;

   I.        Either NCO or its Subservicer will forward a copy of a fraud affidavit to the consumer.

  IL         Once the Fraud affidavit is completed and returned by the borrower, it will be
             investigated by an internal team at NCO.

 III.        NCO will either validate the claim as true and close the account appropriately QI respond
             to the consumer with evidence as to why the claim was denied




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                                               JA555
             Case: 22-1864   Document: 80         Page: 87        Date Filed: 11/22/2022




                                           EXHIBIT G

                               OPERATING GUIDELINES
                         NCSLT Operating Guidelines, version 8/31/12

Definitions:

Base Period: The historical cohort(s) used to determine baseline performance.

Cash Cure Rate: The percentage obtained from the fraction having total Cash Cures as the
numerator and total Cures as the denominator.

Cash Cure. Any Cure which has occurred through a payment received from the borrower.

Cure: An account has been cured if (i) an ASL that is at least thirty (30) days past due but less
than one hundred and eighty (180) days past due becomes less than thirty (30) days past due and
( ii) an ASL that is at least one hundred and eighty (180) days past due with respect to whom the
appropriate Servicer has not yet submitted a Claims Package becomes less than thirty (30) days
past due.

Early Pre- Default: Loans that are 31-60 days past due

Goal: Turnstile Capital Management, LLC, a wholly owned subsidiary of Goal Structured
Solutions, Inc.

!nitiaf Period: The period of time which begins on the Transition Date and ends 90 days later.

!ndexed Cure Rate: The percentage obtained from the fraction having Cures during the Base
Period as the numerator and Total Delinquent Accounts during the Base Period as the
denominator.

Indexed Cash Cure Rate: The percentage obtained from the fraction having Cash Cures during
the Base Period as the numerator and Total Delinquent Accounts during the Base Period as the
denominator.

Indexed Liquidation Rate: The percentage obtained from the fraction having gross recoveries
during the Base Period as the numerator and total placements during the Base Period as the
denominator.

Liquidation Rate: The percentage obtained from the fraction having gross recoveries for the Base
period as the numerator and total placements for the Base Period as the denominator.

Litigation Accounts: Loans that have been identified for litigation according to the Litigation
Criteria




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                                           JA556
            Case: 22-1864    Document: 80         Page: 88        Date Filed: 11/22/2022




Litigation Criteria: As of the Transition Date, accounts with a current balance of greater than
$1,000, a borrower who does not reside in Puerto Rico or any country outside of the United
States, is collectable under the statute of limitations, and been placed in the Primary, Secondary,
and Tertiary post-default Segment will be submitted for collections. Litigation Criteria can be
changed at NCO's discretion provided, however, that any material changes will be discussed in a
Quarterly Business Review prior to being implemented.

1Uarket Share: The percentage obtained from the fraction with outstanding principal and interest
at a given agency in a given segment as the numerator and total principal and interest within that
segment as the denominator.

NCO Agreement: The Default Services and Collection Services Agreement dated March 1, 2009
and amended on June 15, 2012 and September 7, 2012 between NCO Financial Systems (NCO),
First Marblehead Education Resources and U.S. Bank.

Performance Progression Plan (PPP) A document that is created by NCO and agreed to by an
OCA which identifies areas of sub-par performance by an OCA, steps which will be taken to
improve performance and address NCO' s concerns, and defines how and when performance
improvements will be measured.

Pre-default: Any account which is less than 180 days delinquent.

Primary Pre-Default.· Loans that are 61-120 days past due.

Primary Post-Default: Loans that have been placed at 1 OCA including the current OCA.

OCA: A third party collection agency retained by NCO to perform any of the Services (other
than Collection Agency Management Services), and NCO.

Secondary Pre-Default: Loans that are 121-180 days past due.

Secondary Post-Default: Loans that have been placed at 2 OCAs including the current OCA

Scorecard Requirements: An internal scorecard developed by NCO which measures call quality
based upon length and disposition of calls, FDCPA compliance, and other factors.

Settlement Loans: Loans that are being fully retired at less than face value per a pre-determined
agreement with the borrower.

Settlement Percentage: The percentage obtained from the fraction with gross dollars collected on
Settlement Loans as the numerator and the total principal and interest on same Settlement Loans
as the denominator.

Segment: A functional area. Pre-default consists of Early, Primary, and Secondary. Post-default
consists of Primary, Secondary, Tertiary, Warehouse, Litigation and others to be created.



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                                           JA557
                Case: 22-1864       Document: 80        Page: 89       Date Filed: 11/22/2022




Services: The defined services in the NCO Agreement.

Six Month Batch Roll up: The sum of the last six monthly vintages which have moved into a post-
default status.

Special Subservicing Agreement: The agreement dated September 7, 2012 between U.S. Bank
National Association (U.S. Bank) and Goal.

Tertiary· Loans that have been worked by a total of 3 OCAs including the current OCA

Total Delinquent Accounts: The total principal and interest of all accounts which have been
placed at an OCA for pre-default collection activity.

Transition Date: October 15 th 2012 or such other date on which NCO assumes all operational
duties previously performed by First Marblehead Education Resources.

Warehouse: Loans that have been through Primary Post-Default, Secondary Post-Default and
Tertiary Post-Default and do not meet the Litigation Criteria

Section] : Market share limitations:


                a. Pre-default: each OCA will have no more than 70% Market Share in a given
                   Segment. Once total staffing levels for pre-default services are <8 FTE in any
                   Segment, the market share limitation shall no longer apply.
                b. Post-default: each OCA will have no more than 70% Market Share in a given
                   Segment. Market share limitations will not apply to loans in the Warehouse Segment
                   or loans in a litigation status.
                c. Segment Generally: As an account moves to different post-default Segments, the
                   OC A responsible for collecting on the account must change. For example, an account
                   placed at an OCA responsible for primary collections could not be placed at the same
                   OCA for secondary collections. This limitation shall not apply to loans which move
                   into the Warehouse Segment or into a litigation status,

Section 2: OCA Performance Measurement:


                a.   Pre-default: Each OCA's perfonnance in each Segment will be measured against
                     both the Indexed Cure Rate and Indexed Cash Cure Rate. Should any OCA's cure
                     rate be less than 80% of the Indexed Cure Rate or Indexed Cash Cure Rate for 3
                     consecutive months, the OCA will be placed on a Performance Progression Plan. If
                     the cure rate does not return to at least 80% of the Indexed Cure Rate within the
                     timeframe established in the Performance Progression Plan, the OCA will be eligible
                     for a market share reduction as described in Section 3 d.



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                                                  JA558
            Case: 22-1864        Document: 80        Page: 90        Date Filed: 11/22/2022




            b.   Post-default: Each OCA's performance in each Segment will be measured against
                 the Indexed Liquidation Rate. Should any OCA's Liquidation Rate be less than 80%
                 of the Indexed Liquidation Rate for 3 consecutive months, the OCA ·will be place on
                 a Performance Progression Plan. If the Liquidation Rate does not return to at least
                 80% of the indexed Liquidation Rate within the timeframe established in the
                 Performance Progression Plan, the OCA will be eligible for a market share reduction
                 as described in Section 3d.
            c.   New OCAs: As new OCAs are introduced into a segment there will be insufficient
                 performance data to calculate the metrics used to measure OCA performance. For
                 this reason, OCAs with less than 3 months of pre-default performance history or 6
                 months of post-default performance history will be excluded from the Indexed Cure
                 Rate. Performance of new OCAs will be included in the Quarterly Business Review.

Section 3: Market share allocation and adiustments:

            a. Initial Period
                  i.    All market share allocations, adjustments, and measurements defined herein
                        will not apply to the Initial Period
                 ll.    During the Initial Period, Market Share allocated to NCO will not exceed the
                        following limitations:
                              • Pre-Default- 35%
                              • Post-Default Primary Placement -25% of the current month
                                placements and 12.5% in aggregate
                              • Post-Default Secondary Placement -40% of the current month
                                placements and 30% in aggregate
                              • Post-Default Tertiary Placements -50% of the current month
                                placements and 40% in aggregate
                              • Aggregate Post-Default Market Share 45%

            b. Minimum Performance Standards Pre-Default: In order to be eligible for Market
               Share increases, an OCA working pre-default accounts must maintain the following
               requirements:
                      • Cash Cure Rate - Early must be at least 72%
                      • Cash Cure Rate - Primary must be at least 70%
                      • Cash Cure Rate - Secondary must be at least 60%
                      • Call quality - Calls must both be made in a timely manner and satisfy the
                          Scorecard Requirements.

            Failure to meet all minimum thresholds for 3 consecutive months would make the OCA
            eligible for a market share reduction. Additionally each OCA must perform to the
            standards established in their contract. Evaluation of OCAs will incorporate operational



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                                               JA559
               Case: 22-1864        Document: 80         Page: 91        Date Filed: 11/22/2022




               feedback from NCO including the timeliness and accuracy of reporting, placement and
               recall of accounts, and litigation monitoring.

               c. Minimum Performance Standards - Post Defaults: In order to be eligible for market
                  share increases, an OCA working post-default accounts must maintain the following
                  requirements:
                          • Settlement Percentage, Primary - The average rate must be at least 80%
                             \\<ith no individual settlements below 65%
                          • Settlement Percentage, Secondary - The average rate must be at least
                             65% with no individual settlements below 50%
                          • Settlement Percentage, Tertiary- The average rate must be at least 55%
                             with no individual settlements below 40%
                          • Settlement Percentage - Warehouse must be at least 55% with no
                             individual settlements below 45%
                          • Call quality- Calls must both be provided in a timely manner and satisfy
                             the Scorecard Requirements. 3 consecutive months would make the OCA
                             eligible for a market share reduction.

               Failure to meet all minimum thresholds for 3 consecutive months would make the OCA
               eligible for a market share reduction. Additionally each OCA must perform to the
               standards established in their contract. Evaluation of OCAs will incorporate operational
               feedback from NCO including the timeliness and accuracy of reporting, placement and
               recall of accounts, and litigation monitoring.

               d. Market share adjustments:
                     1.  Up to 10% of market share in any segment can be allocated at NCO's
                         discretion to new OCAs and for testing purposes at any time.
                    ii.  Any OCA which fails to meet the minimum performance standards defined
                        herein will be eligible for a reduction in Market Share of up to 15%.
                  iii.    Any OCA which exceeds the performance standards defined herein shall be
                         eligible for an increase in Market Share of up to 15%.
                   1v.  Upon the creation of a new Segment, the initial allocation to any OCA will
                        not be subject to the limitations in established in Section d ii and iii, provided
                         that the total market share allocated to any OCA does not exceed [70%]. No
                        new Segment shall be created without the consent of all parties to this
                        agreement.
                    v.  Market share adjustments will generally occur in conjunction with a QBR,
                        however NCO has the right to make market share adjustments at any time if
                        circumstances warrant.




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                                                  JA560
               Case: 22-1864            Document: 80         Page: 92      Date Filed: 11/22/2022




       Section 4 - Quarterly Business Review:

       Goal will be responsible for scheduling the Quarterly Business Review (QBR) as provided
       for in the Special Subservicing Agreement. Each QBR will discuss the following items:

                    •     NCO adherence to the Operating Guidelines
                    •      Staffing levels by segment and corresponding ACRs
                    •      SSA reimbursement limits, projections, and staffing changes
                    •      Prior quarter OCA performance and operational changes
                               o Hire/ fire of OCAs
                               o Market Share adjustments
                               a Inventory changes
                    •     Portfolio reporting - actual vs. forecast
                              o Delinquency rate
                              o Forbearance rate
                              o Default rate
                    •     Quality and Compliance Report
                    •     Pending legislation (both debtors and others)
                    •     Review of NCO pre and post-default performance (as performing in the OCA
                          capacity)
                    •     Strategy review
                    •     Such other matters designated by Goal or NCO

       Section 5 - OCA Management:

               a.       NCO will perform a QBR with any OCA who receives >$125k in quarterly
                        compensation and provide the associated documentation to Goal. For agencies
                        receiving more than $250k in quarterly revenue, NCO will conduct a site visit at
                        least once per year in conjunction with a regularly scheduled OCA Audit.
               b.       Goal will be responsible for monitoring and auditing the performance of NCO in its
                        capacity as an OCA in conjunction with the QBR and as specified in the Special
                        Subservicing Agreement.

      Section 6 - OCA Eligibility and Network Design:

      NCO will be responsible for the selection of new OCAs for potential inclusion into the
      NCSLT network design. NCO will perform all necessary due diligence, including a site
      visit.




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                                                      JA561
             Case: 22-1864        Document: 80         Page: 93        Date Filed: 11/22/2022




      Any new OCA must meet the following criteria prior to being added to the OCA network:

                •   Performed work in either student loan or consumer bank card asset classes within
                    last year
                •   Actively licensed in all states.where they \Viii be performing collections activities.
                •   Have a recent SAS 70, Type II or equivalent that can be provided; PCI
                    Certification
               •    ls in good financial standing and is able to provide two years of audited financials
               •    Pass a basic background check of their company and principals
               •    FDCPA training program, as well as a dedicated Quality Assurance team that
                    monitors

     Any addition of an OCA is subject to the notice and consent requirements established in
     Section 2.12 of the NCO agreement, it being understood that no consent will be unreasonably
     withheld so long as the above criteria have been met.

     Section 7 - Updates and Revisions to the Operating Guidelines

     Any proposed changes or revisions to the Operating Guidelines will be discussed during a
     Quarterly Business Review. Changes to the Operating Guidelines will be effective with the
     written consent of NCO, Goal, and U.S. Bank.




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                                                JA562
            Case: 22-1864    Document: 80         Page: 94       Date Filed: 11/22/2022




                               EXHIBITH
       TO DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT
                                 FEES

Default Prevention:
For loans that roll at 31 + days from servicer to NCO Default Prevention Collectors and to be
managed up until 180 days pa'it due or lender mandated charge off date, including loans in
Claims Review:
Pricing
$5,000.00 per month for each pre-approved NCO FTE. An "FTE" is the equivalent of 147
production hours in a month.
Initial Staffing Ratios
     • The number of FTEs dedicated by NCO for this engagement shall be as mutually agreed.
     • Any increase or decrease to staffing levels will be communicated in writing at least
         fifteen days ( 15) prior to the month in which the change shall be effective.
Perfonnance Incentive
NCO \Vil! be further compensated based on reaching and/or exceeding agreed upon "Cure Rate"
goals outlined below. The incentive compensation will be a% of the base rate billed in the same
month for each stage.
Ble ow num bers are a we1g  ' hted average ~or a given month :
                                                                                      Secondary
   Bonus based on billed                 Early               Primary            60 Day Replacement
  amount for number of 30 Day Evaluation 60 Day Evaluation                            Evaluation
      reps in each sta2e             (31-60 DPD)          {61-120 DPD)             (121-180 DPD)
            All*
 Tier 1 = 3%                            52.00%                56.00%                    16.00%
 Tier2 = 7%                             54.00%                58.00%                    18.00%
 Tier 3 = 13¾                           56.00%                61.00%                    20.00%
                                    $12,000 for top       $12,000 for top
                                       agency*               agency*           $6,000 for top agency*
 Bonus structure                    (details below)       (details below)           (details below)




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                                           JA563
             Case: 22-1864    Document: 80          Page: 95        Date Filed: 11/22/2022




     Cash Cure Percentages
     NCO is expected to maintain the below percentage of cures attributable to cash resolution (as
     opposed to MGRS, Forbearance, and the Reduced Payment Program). Falling below this
     ratio will cause NCO to be ineligible for the "top agency bonus" for the period as well as
     . I'1g1'bl e tior vo1ume increases,
     me                       .          bot h d escn'b e d more full1y be1ow.
                      Early                            Primary                        Secondary
        30 Day Evaluation (31-60           60 Day Evaluation (61-120             60 Day Replacement
                      DPD)                               DPD)                  Evaluation (121-180 DPD)
                       72%                                70%                            60%

     •1\CO will compete for a "top agency bonus" each month. A weighted average will be
      compared on the initial 30 day evaluation (31-60 DPD), the 60 day evaluation (61-120
      DPD) and the Replacement 60 day evaluation ( 121-180 DPD). The agency with the best
      cure rate for each of these evaluations will earn a $12,000, $12,000 and $6,000 "top
      agency bonus," respectively.
   • NCO cure rates will be measured to two decimal points, and in the event of a tie will
      reven to the agency with the highest Cash Cure Percentage.
   • NCO must achieve a minimum of a Tier l performance level to be eligible for the "top
      agency bonus."
   • NCO must not fall below the targeted Cash Cure Percentage to be eligible for the "top
      agency bonus."
   • If the top agency falls below the Cash Cure Percentage goal, the next best agency will
      inherit the "top agency bonus" provided they have not fallen below their Cash Cure
      Percentage target and have achieved at least Tier l performance.
Volume Increase Opportunity
Monthly, 31 + DPD volume may be reallocated as follows:
   • NCO will be ranked based on 31 + day evaluations within a given month, and may be
      given an increase of volume placed at 31 + DPD for the following month based on
      that rank. Conversely, poorer performing agencies may realize a decrease in volume
      for the following month based on their rank.
   • NCO may not fall below Cash Cure Percentage targets listed above to qualify for any
      volume increases.
   • NCO will be notified of monthly results and how they will impact the FTE counts
      outlined above.




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                                             JA564
            Case: 22-1864    Document: 80         Page: 96       Date Filed: 11/22/2022




Post Default Collections (including probate recoveries):
NCO to utilize Default Collectors for all of post default collections prior to litigation.
a.    Payments on First Placements
        NCO shall receive a fee equal to twenty percent (20%) of all amounts collected directly
        from the Borrower(s) on each account.
b.    Payments on Second Placements
        NCO shall receive a fee equal to twenty-nine percent (29%) of all amounts collected
        directly from the Borrower(s) on each account.
c.    Payments on Third Placements
        NCO shall receive a fee equal to thirty-three (33%) of all amounts collected directly
        from the Borrower(s) on each account.
d.    Accounts in Litigation
        Amounts collected on accounts referred by NCO to an attorney for formal legal
        proceedings \1\-111 be deposited into the account, and NCO will be entitled to a fee on any
        such amount equal to thirty percent (30%) of all amounts collected by the attorney from
        the borrower.
e.    Warehouse Placements.
        NCO shall receive a fee equal to forty percent (40%) of all amounts collected direclty
        from Borrowers on each account.




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                                           JA565
            Case: 22-1864   Document: 80   Page: 97         Date Filed: 11/22/2022




                                      EXHIBIT C

                               NCSLT Operating Guidelines




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                                      JA566
             Case: 22-1864   Document: 80         Page: 98        Date Filed: 11/22/2022




                                           EXHIBIT C

                                OPERA TING GUIDELINES
                         NCSL T Operating Guidelines, version 8/31/12

Definitions:

Base Period: The historical cohort(s) used to determine baseline performance.

Cash Cure Rate: The percentage obtained from the fraction having total Cash Cures as the
numerator and total Cures as the denominator.

Cash Cure: Any Cure which has occurred through a payment received from the borrower.

Cure: An account has been cured if (i) an ASL that is at least thirty (30) days past due but less
than one hundred and eighty (180) days past due becomes less than thirty (30) days past due and
(ii) an ASL that is at least one hundred and eighty ( 180) days past due with respect to whom the
appropriate Servicer has not yet submitted a Claims Package becomes less than thirty (30) days
past due.

Early Pre- Default: Loans that are 31-60 days past due

Goal: Turnstile Capital Management. LLC a wholly owned subsidiary of Goal Structured
Solutions, Inc.

Initial Period· The period of time which begins on the Transition Date and ends 90 days later.

Indexed Cure Rate: The percentage obtained from the fraction having Cures during the Base
Period as the numerator and Total Delinquent Accounts during the Base Period as the
denominator.

Indexed Cash Cure Rate: The percentage obtained from the fraction having Cash Cures during
the Base Period as the numerator and Total Delinquent Accounts during the Base Period as the
denominator.

Indexed Liquidation Rate: The percentage obtained from the fraction having gross recoveries
during the Base Period as the numerator and total placements during the Base Period as the
denominator.

Liquidation Rate: The percentage obtained from the fraction having gross recoveries for the Base
period as the numerator and total placements for the Base Period as the denominator.

Litigation Accounts: Loans that have been identified for litigation according to the Litigation
Criteria




14101092 7




                                           JA567
            Case: 22-1864    Document: 80        Page: 99        Date Filed: 11/22/2022




Litigation Criteria: As of the Transition Date, accounts with a current balance of greater than
51,000, a borrower who does not reside in Puerto Rico or any country outside of the United
States, is collectable under the statute of limitations, and been placed in the Primary, Secondary,
and Tertiary post-default Segment will be submitted for collections. Litigation Criteria can be
changed at NCO's discretion provided. ho\vever, that any material changes will be discussed in a
Quarterly Business Review prior to being implemented.

,'vfarket Share: The percentage obtained from the fraction with outstanding principal and interest
at a given agency in a given segment as the numerator and total principal and interest within that
segment as the denominator.

NCO Agreement: The Default Services and Collection Services Agreement dated March 1, 2009
and amended on June 15, 2012 and September 7, 2012 between NCO Financial Systems (NCO).
First ~farblehead Education Resources and U.S. Bank.

Pe,jcmnance Progression Plan (PPP) - A document that is created by NCO and agreed to by an
OCA which identifies areas of sub-par performance by an OCA, steps which will be taken to
improve performance and address NCO's concerns. and defines how and when performance
improvements will be measured.

Pre-default: Any account which is less than 180 days delinquent.

Primary Pre-Default. Loans that are 61-120 days past due.

Primary Posr-Default: Loans that have been placed at 1 OCA including the current OCA.

OCA: A third party collection agency retained by NCO to perform any of the Services (other
than Collection Agency Yianagement Services), and NCO.

Secondary Pre-De/emit: Loans that are 121-180 days past due.

Secondary Post-Defcw!t: Loans that have been placed at 2 OCAs including the current OCA

Scorecard Requirements: An internal scorecard developed by NCO which measures call quality
based upon length and disposition of calls, FDCPA compliance, and other factors.

Settlement Loans: Loans that are being fully retired at less than face value per a pre-determined
agreement with the borrower.

Settlement Percentage: The percentage obtained from the fraction with gross dollars collected on
Settlement Loans as the numerator and the total principal and interest on same Settlement Loans
as the denominator.

Segment: A functional area. Pre-default consists of Early, Primary, and Secondary. Post-default
consists of Primary, Secondary, Tertiary, Warehouse, Litigation and others to be created.


14101092'




                                           JA568
      Case: 22-1864        Document: 80        Page: 100        Date Filed: 11/22/2022




Services: The defined services in the NCO Agreement.

Six Afonth Batch Rollup: The sum of the last six monthly vintages which have moved into a post-
default status.

Special Subservicing Agreement: The agreement dated September 7, 2012 between e.s. Bank
National Association (U.S. Bank) and Goal.

Tertiary: Loans that have been worked by a total of 3 OCAs including the current OCA

Total Delinquent Accounts: The total principal and interest of all accounts which have been
placed at an OCA for pre-default collection activity.

Transition Date: October 15 th 2012 or such other date on which NCO assumes all operational
duties previously performed by First Marblehead Education Resources.

Warehouse: Loans that have been through Primary Post-Default Secondary Post-Default and
Tertiary Post-Default and do not meet the Litigation Criteria

Section] : Afarket slwre limitations:


       a. Pre-default: each OCA will have no more than 70% Market Share in a given
          Segment. Once total staffing levels for pre-default services are <8 FTE in any
          Segment, the market share limitation shall no longer apply.
       b. Post-default: each OCA will have no more than 70% Market Share in a given
          Segment. Market share limitations will not apply to loans in the Warehouse Segment
          or loans in a litigation status.
       c. Segment Generally: As an account moves to different post-default Segments, the
          OCA responsible for collecting on the account must change. For example, an account
          placed at an OCA responsible for primary collections could not be placed at the same
          OCA for secondary collections. This limitation shall not apply to loans which move
          into the Warehouse Segment or into a litigation status.

Section 2: OCA Performance Measurement:


       a.   Pre-default: Each OCA's performance in each Segment will be measured against
            both the Indexed Cure Rate and Indexed Cash Cure Rate. Should any OCA's cure
            rate be less than 80% of the Indexed Cure Rate or Indexed Cash Cure Rate for 3
            consecutive months, the OCA will be placed on a Performance Progression Plan. If
            the cure rate does not return to at least 80% of the Indexed Cure Rate within the
            timeframe established in the Performance Progression Plan, the OCA will be eligible
            for a market share reduction as described in Section 3 d.




                                         JA569
         Case: 22-1864           Document: 80        Page: 101        Date Filed: 11/22/2022




             b.   Post-default: Each OCA's performance in each Segment will be measured against
                  the Indexed Liquidation Rate. Should any OCA's Liquidation Rate be less than 80%
                  of the Indexed Liquidation Rate for 3 consecutive months, the OCA will be place on
                  a Performance Progression Plan. If the Liquidation Rate does not return to at least
                  80% of the Indexed Liquidation Rate within the timeframe established in the
                  Performance Progression Plan, the OCA will be eligible for a market share reduction
                  as described in Section 3d.
             c.   New OCAs: As new OCAs are introduced into a segment there will he insufficient
                  performance data to calculate the metrics used to measure OCA performance. For
                  this reason, OCAs with less than 3 months of pre-default performance history or 6
                  months of post-default performance history will be excluded from the Indexed Cure
                  Rate. Perfom1ance of new OCAs will be included in the Quarterly Business Review.

Section 3: '.\1arket share allocation and adjustments:

             a. Initial Period
                   1.    All market share allocations. adjustments, and measurements defined herein
                         will not apply to the Initial Period
                  11.    During the Initial Period, Market Share allocated to NCO will not exceed the
                         following limitations:
                              • Pre-Default- 35%
                              • Post-Default Primary Placement -25% of the current month
                                placements and 12.5% in aggregate
                              • Post-Default Secondary Placement-40% of the current month
                                placements and 30% in aggregate
                              • Post-Default Tertiary Placements -50% of the current month
                                placements and 40% in aggregate
                              • Aggregate Post-Default Market Share 45%

             b. Minimum Performance Standards - Pre-Default: In order to be eligible for Market
                Share increases, an OC A working pre-default accounts must maintain the following
                requirements:
                       • Cash Cure Rate - Early must be at least 72%
                        •   Cash Cure Rate - Primary must he at least 70%
                        •   Cash Cure Rate - Secondary must be at least 60%
                        •   Call quality - Calls must both be made in a timely manner and satisfy the
                            Scorecard Requirements.

             Failure to meet all minimum thresholds for 3 consecutive months would make the OC A
             eligible for a market share reduction. Additionally each OCA must perform to the
             standards established in their contract. Evaluation of OCAs will incorporate operational



14101092 7




                                               JA570
         Case: 22-1864            Document: 80         Page: 102         Date Filed: 11/22/2022




             feedback from NCO including the timeliness and accuracy of reporting, placement and
             recall of accounts, and litigation monitoring.

             c. :\1inimum Perfom,ance Standards - Post Defaults: In order to be eligible for market
                share increases, an OCA working post-default accounts must maintain the following
                requirements:
                         •   Settlement Percentage, Primary - The average rate must be at least 80%
                             with no individual settlements below 65%
                         •   Settlement Percentage, Secondary - The average rate must be at least
                             65% with no individual settlements below 50%
                         •   Settlement Percentage, Tertiary The average rate must be at least 55%
                             with no individual settlements below 40%
                         •   Settlement Percentage - Warehouse must be at least 55% with no
                             individual settlements below 45%
                         •   Call quality- Calls must both be provided in a timely manner and satisfy
                             the Scorecard Requirements. 3 consecutive months would make the OCA
                             eligible for a market share reduction.

             Failure to meet all minimum thresholds for 3 consecutive months would make the OCA
             eligible for a market share reduction. Additionally each OCA must perform to the
             standards established in their contract. Evaluation of OCAs will incorporate operational
             feedback from NCO including the timeliness and accuracy of reporting, placement and
             recall of accounts, and litigation monitoring.

             d. :\1arket share adjustments:
                    1.   Up to 10% of market share in any segment can be allocated at NCO's
                        discretion to new OCAs and for testing purposes at any time.
                   11.  Any OCA which fails to meet the minimum performance standards defined
                        herein will be eligible for a reduction in :\1arket Share of up to 15%.
                  111.   Any OCA which exceeds the performance standards defined herein shall be
                        eligible for an increase in Market Share of up to 15%.
                  1v.   Upon the creation of a new Segment, the initial allocation to any OCA will
                        not be subject to the limitations in established in Section d ii and iii, provided
                        that the total market share allocated to any OCA does not exceed [70%]. No
                        new Segment shall be created without the consent of all parties to this
                        agreement.
                   v.   ~1arket share adjustments will generally occur in conjunction with a QBR,
                        however NCO has the right to make market share adjustments at any time if
                        circumstances \Varrant.




14101092 7




                                                 JA571
              Case: 22-1864         Document: 80         Page: 103     Date Filed: 11/22/2022




       Section 4 - Ouarterlv Business Review:

       Goal will be responsible for scheduling the Quarterly Business Review (QBR) as provided
       for in the Special Subservicing Agreement. Each QBR will discuss the following items:

                   •   NCO adherence to the Operating Guidelines
                   •   Staffing levels by segment and corresponding ACRs
                   •   SSA reimbursement limits, projections, and staffing changes
                   •   Prior quarter OCA performance and operational changes
                           o Hire/ fire of OCAs
                           o Market Share adjustments
                           o Inventory changes
                   •   Portfolio reporting - actual vs. forecast
                           o Delinquency rate
                           o Forbearance rate
                          o Default rate
                   •   Quality and Compliance Report
                   •   Pending legislation (both debtors and others)
                   •   Review of NCO pre and post-default performance (as performing in the OCA
                       capacity)
                   •   Strategy review
                   •   Such other matters designated by Goal or NCO

      Section 5 - OCA Management:

              a.   NCO will perform a QBR with any OCA who receives >$125k in quarterly
                   compensation and provide the associated documentation to Goal. For agencies
                   receiving more than $250k in quarterly revenue, NCO will conduct a site visit at
                   least once per year in conjunction with a regularly scheduled OCA Audit.
              b.   Goal will be responsible for monitoring and auditing the performance of NCO in its
                   capacity as an OCA in conjunction \vith the QBR and as specified in the Special
                   Subservicing Agreement.

      Section 6 - OCA Eligibility and ~etwork Design:

      NCO will be responsible for the selection of new OCAs for potential inclusion into the
      NCSL T network design. NCO will perform all necessary due diligence, including a site
      visit.




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                                                   JA572
                 Case: 22-1864       Document: 80         Page: 104        Date Filed: 11/22/2022




        Any new OCA must meet the following criteria prior to being added to the OCA network:

                    •   Performed work in either student loan or consumer bank card asset classes within
                        last year
                    •   Actively licensed in all states.where they will be performing collections activities.
                    •   Have a recent SAS 70, Type II or equivalent that can be provided; PCI
                        Certification
                    •   Is in good financial standing and is able to provide two years of audited financials
                    •   Pass a basic background check of their company and principals
                    •   FDCPA training program, as well as a dedicated Quality Assurance team that
                        monitors

        Any addition of an OCA is subject to the notice and consent requirements established in
        Section 2.12 of the NCO agreement, it being understood that no consent will be unreasonably
        withheld so long as the above criteria have been met.

        Section 7 - Updates and Revisions to the Operating Guidelines

        Any proposed changes or revisions to the Operating Guidelines will be discussed during a
        Quarterly Business Review. Changes to the Operating Guidelines will be effective with the
        written consent of NCO, Goal, and U.S. Bank.




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                                                    JA573
      Case: 22-1864   Document: 80   Page: 105   Date Filed: 11/22/2022




                      CERTIFICATE OF SERVICE

     I hereby certify that, on November 22, 2022, the foregoing was filed

with the Clerk of the United States Court of Appeals for the Third Circuit

using the appellate CM/ECF system, which will also serve counsel of

record.


                                     /s/ Jonathan Y. Ellis
                                     Jonathan Y. Ellis
